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 5
 6    Attorneys for Defendant, Counter-Complainant, and Cross-Complainant
      HALLIBURTON AFFILIATES, LLC
 7
 8
                          UNITED STATES DISTRICT COURT
 9
                    CENTRAL DISTRICT COURT OF CALIFORNIA
10
11
                                               Case No. 2:14-CV-06456-GW (Ex)
12    ARCONIC INC., et al.,                    Assigned to Honorable George H. Wu
13                   Plaintiffs,
                                               SEPARATE STATEMENT OF
14             v.                              UNCONTROVERTED FACTS ISO
15                                             CROSS MOTIONS FOR SUMMARY
      APC INVESTMENT CO., et al.,
16                                             JUDGMENT [PATSOURAS
                       Defendants.             PROPERTY]
17
18                                             Hearing Date:    May 26, 2022
                                               Time:            8:30 a.m.
19                                             Place:           Courtroom 9D, 9th
20                                                              Floor, 350 W. 1st
                                                                Street, Los Angeles,
21     AND RELATED CROSS ACTIONS,                               CA 90012
22     COUNTERCLAIMS AND THIRD-
                                               Judge:           Hon. George H. Wu
       PARTY COMPLAINTS
23
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                              SSUFS [PATSOURAS PROPERTY]
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 1             In connection with the property-specific summary judgment hearings
 2   regarding CERCLA liability, the Court made the following request:
 3                   For the upcoming site-specific summary judgment hearings,
 4                   please provide courtesy copies to the Court of all briefing
 5                   and supplemental briefing relevant to each specific hearing.
 6                   Please also include and file an updated Separate Statement of
 7                   Uncontroverted Facts that contain only the relevant
 8                   uncontroverted facts for that hearing.
 9   Dkt. 1035 (Text-Only Entry).
10             The Patsouras Property Defendants are Halliburton Affiliates, LLC;
11   Interveners Fireman’s Fund Insurance Company and Federal Insurance Company,
12   as Insurers for Palley Supply Company; and Kekropia, Inc. (hereinafter “The
13   Patsouras Defendants”). Courtesy copies of The Patsouras Defendants’ briefing
14   and supplemental briefing will be provided to the Court shortly.
15             Attached hereto as Exhibit A is a copy of the previously-filed Separate
16   Statement of Uncontroverted Facts as to The Patsouras Defendants’ affirmative
17   Motion for Partial Summary Judgment for the Patsouras Property which includes
18   Plaintiffs’ Response and The Patsouras Defendants’ Reply (Dkt. 959, excerpts).
19   Facts relevant to the Patsouras Property are Fact Nos. 200 to 261.
20             Attached hereto as Exhibit B is a copy of the previously-filed Separate
21   Statement of Uncontroverted Facts as to Plaintiffs’ affirmative Motion for Partial
22   Summary Judgment for the Patsouras Property (against Defendant Kekropia, Inc.
23   only) which includes Defendant Kekropia, Inc.’s Response and Plaintiffs’ Reply
24   (Dkt. 974, excerpts). Facts relevant to the Patsouras Property are Fact Nos. 33 to
25   36 (Plaintiff’s original facts) and Fact Nos. 500 to 571 (Kekropia, Inc.’s additional
26   facts).
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 1    Date: May 2, 2022             WACTOR & WICK LLP
 2
                                          /S/ WILLIAM D. WICK
 3
                                    By:____________________________________
 4                                     William D. Wick
 5
                                       Attorneys for Defendant Halliburton
 6                                     Affiliates, LLC
 7
 8
      Date: May 2, 2022             EDLIN, GALLAGHER, HUIE & BLUM LLP
 9
10                                       /S/ FARHEENA A. HABIB
11                                  By:____________________________________
                                       Farheena A. Habib
12
13                                     Attorneys for Interveners Fireman’s Fund
14                                       Insurance Company and Federal
                                         Insurance Company, as Insurers for
15                                       Palley Supply Company
16
17
      Date: May 2, 2022             OTTEN LAW, PC
18
19                                       /S/ VICTOR OTTEN
20                                  By:____________________________________
21                                     Victor Otten
22                                     Attorneys for Defendant, Kekropia, Inc.
23
24
25
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18
19                            III. Patsouras Source Property
20        Moving Defendants: Halliburton Affiliates, LLC; Intervenors Fireman’s
21       Fund Insurance Company and Federal Insurance Company, as Insurers of
                      Palley Supply Company; and Kekropia, Inc.
22
23     200. On November 1, 2016, Plaintiffs Response: Undisputed.
       filed a Fifth Amended Complaint
24     (“FAC”) against Defendants
25     Halliburton Affiliates, LLC; Kekropia,
       Inc.;
26     William K. Palley, an individual; and
27     Palley Supply Company (the “Patsouras
       Property Defendants”) alleging that
28
                                                       MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1            Exhibit A
                                                        STATEMENT OF GENUINE DISPUTES
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 2     UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
 3        SUPPORTING EVIDENCE
       each was a “covered person” within the
 4
       meaning of 42 U.S.C. § 9607(a)(1)-(4).
 5
       Supporting Evidence: FAC ¶ 398; Ex.
 6
       A to the Declaration of William D.
 7     Wick
 8
 9     200. Moving Parties’ Response
10              No Response as Paragraph 200 is undisputed.
11     201. EPA concluded that certain                Response: Undisputed, but immaterial.
12     parties were potentially responsible
       parties (“PRPs”) for the contamination         Evidence: Plaintiffs object to
13     of OU-2 groundwater, and sent Special          paragraph 201 as immaterial for
14     Notice Letters to them.                        purposes of deciding this summary
                                                      judgment because it does not bear on
15     Supporting Evidence: FAC ¶ 4; Ex. A            whether Plaintiffs can meet their
16     to the Declaration of William D. Wick          burden to demonstrate the Patsouras
                                                      Property is a CERCLA facility; (2)
17                                                    Defendants Halliburton Affiliates,
18                                                    LLC, Palley Supply Company and
                                                      Kekropia, Inc. (collectively, the
19                                                    “Patsouras Defendants”) are one of the
20                                                    four classes of persons that are liable
                                                      under CERCLA; and (3) whether there
21
                                                      has been a “release” or “threatened
22                                                    release” of hazardous substances from
                                                      the Patsouras Property into OU-2
23
                                                      Groundwater (as defined in Footnote 1
24                                                    above). Fresno Motors, LLC v.
                                                      Mercedes Benz USA, LLC, 771 F.3d
25
                                                      1119, 1125 (9th Cir. 2014); Falkner v.
26                                                    Gen. Motors LLC, 393 F. Supp. 3d 927,
                                                      930 (C.D. Cal. 2018) (“A material fact
27
                                                      for purposes of summary judgment is
28                                                    one that might affect the outcome of the
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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          MOVING DEFENDANTS’
                                                       PLAINTIFFS’ RESPONSE AND
 2     UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
 3        SUPPORTING EVIDENCE
                                                     suit under the applicable law.”)
 4
                                                     (citation omitted).
 5
 6     201. Moving Parties’ Response
 7
              Contrary to Plaintiff’s response, the evidence is material. It is material
 8     because it demonstrates that the US EPA, the governing regulatory agency,
       conducted its own analysis of which properties overlying the Omega Plume may
 9
       have contributed to the groundwater contamination. EPA’s policy is to issue
10     notice letters “to all parties where there is sufficient evidence to make a
11     preliminary determination of potential liability under §107 of CERCLA.” 53 Fed.
       Reg. 5298, 5301 (Feb. 23, 1988)(emphasis added). EPA issued notice letters to
12     42 owners or operators of properties overlying the Omega Plume, but did NOT
13     issue a notice letter to any of the Patsouras Property Defendants, indicating that
       there was not sufficient evidence to make a preliminary determination that the
14     Patsouras Property Defendants were potentially liable.
15
       202. EPA has not sent a Special Notice        Response: Undisputed, but immaterial.
16     Letter to any of the Patsouras Property
       Defendants.                                   Evidence: Plaintiffs do not dispute
17                                                   EPA has not sent a Special Notice
18     Supporting Evidence: FAC, p. 18               Letter to any of the Patsouras Property
       (“Non-Notice Letter Defendants                Defendants to date. Declaration of
19                                                   William D. Wick (“Wick Decl.”), Ex.
       PRPS,”), ¶ 93-96; Ex. A to the
20     Declaration of William D. Wick                A (Docket No. 526, Fifth AC, ¶¶ 68,
                                                     93-96 (alleging each defendant
21
                                                     received a SNL, GNL or has not yet
22                                                   received a notice letter)).
23                                                   The OU-2 Remedial Investigation
24                                                   Report (“OU-2 RI”), portions of which
                                                     the Patsouras Defendants cite below,
25                                                   plainly states that EPA recognizes its
26                                                   investigations to date “may not have
                                                     identified all sources of contamination
27                                                   within the OU2 area, and the EPA may
28                                                   conduct additional investigations in the
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1              Exhibit A
                                                               STATEMENT OF GENUINE DISPUTES
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          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
 2     UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
 3        SUPPORTING EVIDENCE
                                                      future.” See Hagstrom Decl., Ex. A, at
 4
                                                      6 (Docket No. 902-47, at # 17799)
 5                                                    (OMEGA OU-2 RI/FS, at 8-4). EPA
                                                      could issue a GNL or SNL to the
 6
                                                      Patsouras Defendants in the future.
 7
                                                      Under CERCLA, EPA is not required
 8                                                    to send notice letters to all entities that
 9                                                    contributed contamination to OU-2
                                                      Groundwater and the Agency has not
10                                                    done so. EPA acknowledges there are
11                                                    state-led actions to clean up known
                                                      source properties that are continuing to
12                                                    contribute to the OU-2 Groundwater
13                                                    contamination and that those actions
                                                      must work in parallel with the EPA
14                                                    OU-2 Groundwater containment
15                                                    remedy. See Docket No. 770-2, at
                                                      #14433, #14440-14441 (Ex. A, 17, 24-
16                                                    25) (OU-2 ROD, at 1-2, 2-4 to 2-5).
17
                                                      Though strong circumstantial evidence
18                                                    of Defendants’ liability, EPA’s
19                                                    issuance of a notice letter to the
                                                      Patsouras Defendants would not
20                                                    directly prove any of the elements of
21                                                    the Patsouras Defendants’ liability
                                                      under CERCLA and is, therefore,
22                                                    immaterial. See Plaintiffs’ Response to
23                                                    Patsouras Defendants’ paragraph 201.
                                                      Plaintiffs incorporate their Response to
24                                                    paragraph 201 herein by reference.
25
26     202. Moving Parties’ Response

27            Contrary to Plaintiff’s response, the evidence is material. The fact remains
       that following many years of investigation, the EPA has not issued a Special
28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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 2     UNCONTROVERTED FACTS AND
                                                       SUPPORTING EVIDENCE
 3        SUPPORTING EVIDENCE
       Notice Letter to any of the Patsouras Property Defendants, and, as stated in the
 4
       Response to Paragraph 201, it is a material fact for the Court to consider.
 5     Plaintiffs provide mere conjecture that the EPA may identify additional sources of
       contamination to OU-2, it may conduct additional investigations in the future, and
 6
       that it could issue either a General or Special Notice Letter to the Patsouras
 7     Property Defendants but this is pure conjecture on Plaintiff’s part (especially
       considering the LARWQCB has issued the Patsouras Property a No Further
 8
       Action letter). The fact that cannot be disputed is that EPA has been issuing
 9     notice letters for 15 years relating to the properties overlying the Omega Plume
       and has not issued any letters to the Patsouras Property Defendants. The only
10
       actual evidence for the Court to consider is that the EPA has not issued these
11     letters to the Patsouras Property Defendants and has not named them as PRPs
       with regard to OU-2 contamination. Moving parties incorporate their Response to
12
       paragraph 201 by reference.
13
14     203. EPA concluded that certain parties Response: Undisputed, but immaterial.
15     were potentially responsible parties
                                               Evidence: Plaintiffs incorporate their
       (“PRPs”) for the contamination of OU-
16                                             response to paragraph 201 herein.
       2 groundwater warranting receipt of a
17     General Notice Letter (“GNL”) from
       EPA and sent GNLs to them.
18
19     Supporting Evidence: FAC ¶ 5; Ex. A
       to the Declaration of William D. Wick
20
21
       203. Moving Parties’ Response
22
             This fact is material. See responses to Paragraph 201 and 202 incorporated
23     by reference herein.
24
       204. EPA has not sent a General Notice Response: Undisputed, but immaterial.
25     Letter to any of the Patsouras Property
       Defendants.                             Evidence: Plaintiffs incorporate their
26
                                               responses to paragraphs 201, 202 and
27     Supporting Evidence: FAC, p. 18         203 herein.
       (“Non-Notice Letter Defendants
28
                                                          MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1              Exhibit A
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                                                        PLAINTIFFS’ RESPONSE AND
 2     UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
 3        SUPPORTING EVIDENCE
       PRPS,”), ¶ 93-96; Ex. A to the
 4
       Declaration of William D. Wick
 5
 6     204. Moving Parties’ Response
 7
             This fact is material. See responses to Paragraph 201, 202 and 203
 8     incorporated by reference herein.
 9     205. The Patsouras Property is located         Response: Undisputed.
10     at 11630-11700 Burke Street, Santa Fe
       Springs, CA.
11
12     Supporting Evidence: FAC ¶ 343,
       Ex. A to the Declaration of William D.
13     Wick
14
15     205. Moving Parties’ Response
16              No Response as Paragraph 200 is undisputed.
17
       206. From 1968 to 1972, Globe Oil              Response: Disputed.
18     Tools Company operated on the
19     Patsouras Property, manufacturing and
                                                 Evidence: Globe Oil operated on the
       treating oil well drilling equipment and
20                                               Property from at least 1941, and
       tools.
                                                 perhaps as early as the 1930’s. Opp’n
21                                               RFJN, Exs. 15-A, at 117-125 (building
       Supporting Evidence: Los Angeles
22                                               permits for oil tool manufacturing plant
       Regional Water Quality Board Letter,
                                                 on Sorenson Lane); Valenzuela Decl.,
23     Jan. 4, 2017, Ex. B to the Declaration of
                                                 Exs. 8, at 66_(Environmental Audit,
       William D. Wick
24                                               Inc., Supplemental Subsurface
                                                 Investigation, Mar. 3, 1997, at 3), 19, at
25     AIG Consultants, Inc. Phase I
                                                 190-191 (Letter dated Mar. 19, 1959
       Environmental Site Assessment, June
26                                               addressed to Mr. John Bertaina” of
       30, 1994, pp. 10-11 (PTFS00024775-
                                                 Globe Oil Tool at “11630 Burke, Santa
27     PTFS00024804); Ex. C to the
                                                 Fe Springs, Calif.”); Mutch Report, Jan.
       Declaration of William D. Wick
28                                               14, 2021, at 7-18 & Figs. 7-1, 7-12
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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  2    UNCONTROVERTED FACTS AND
                                                      SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                              (Docket No. 903-210 (1928 map
  4
       Environmental Audit, Inc. Updated Site indicating Burke Street used to be
  5    Conceptual Model and Request for Low named Sorenson Lane & 1938 aerial
       Risk Closure, June 17, 2010, p. 1      photograph)).
  6
       [which corrects a typo in a March 3,
  7    1997 EAI report which stated that
       operations began in
  8
       “1958”](PTFS00024509-
  9    PTFS00024643); Ex. D to the
       Declaration of William D. Wick
 10
 11
       206. Moving Parties’ Response
 12
 13           Undisputed. The date that Globe began operations is not material.
       Plaintiffs’ Fifth Amended Complaint alleged that operations began in 1958. The
 14    Regional Board, AIG, and EAI all stated that Globe began operations in 1968.
 15    Only recently did Plaintiffs argue that operations began at least as of 1941.
       Patsouras Property Defendants have not had an opportunity to assess Plaintiffs’
 16    most recent allegations, but do not dispute that operations could have begun
 17    earlier than 1968.

 18    207. On March 20,1970, the Los           Response: Undisputed.
       Angeles County Engineer issued a
 19    notice to Globe Oil Tools Company
 20    alleging that “the discharge of liquid
       waste from your rinse operation to
 21
       ground” is in violation of Section #6301
 22    of Santa Fe Springs City Ordinance No.
       79 because the concentration of
 23
       dissolved solids exceeded the allowable
 24    limitation.
 25
       Supporting Evidence: PTFS00022295,
 26    PTFS00023219-20; Ex. E to the
       Declaration of William D. Wick
 27
 28
                                                         MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4    207. Moving Parties’ Response
  5
                No Response as Paragraph 207 is undisputed.
  6
       208. The County alleged that a sample Response: Undisputed.
  7    of the liquid waste taken on March 9,
  8    1970 showed “a concentration of
       dissolved solids that greatly exceeds the
  9    allowable limitation.” The sample form
 10    indicated that “Chromium, hexavalent”
       was measured at a concentration of 19.5
 11    parts per million.
 12
       Supporting Evidence: PTFS00022295,
 13    PTFS00023219-20; Ex. E to the
 14    Declaration of William D. Wick
 15
 16    208. Moving Parties’ Response

 17             No Response as Paragraph 208 is undisputed.
 18    209. After receiving a copy of the             Response: Undisputed.
 19    notice, the Globe plant manager “stated
       that he would have discharge
 20    discontinued at once.”
 21
       Supporting Evidence: PTFS00022293;
 22    Ex. E to the Declaration of William D.
 23    Wick

 24
       209. Moving Parties’ Response
 25
 26             No Response as Paragraph 209 is undisputed.
 27    210. On March 24, 1970, Globe                  Response: Undisputed.
 28    submitted a formal application to the
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       County Engineer for approval of an
  4
       industrial waste disposal system to be
  5    installed on the Property in which liquid
       waste would flow into the sewer after
  6
       passing through two interceptors.
  7
       Supporting Evidence: PTFS00022294;
  8
       Ex. E to the Declaration of William D.
  9    Wick
 10
 11    210. Moving Parties’ Response
 12             No Response as Paragraph 210 is undisputed.
 13    211. The Globe plant manager “stated Response: Undisputed.
 14    that all liquid waste would be collected
       in impervious containers and not
 15    discharged to ground until sewer system
 16    is completed.”
 17    Supporting Evidence: PTFS00022293;
 18    Ex. E to the Declaration of William D.
       Wick
 19
 20
       211. Moving Parties’ Response
 21
                No Response as Paragraph 211 is undisputed.
 22
 23    212(a). On June 19, 1970, the                  Response: Disputed as incomplete.
       government determined that Globe’s
 24    Industrial waste facilities were               Evidence: The referenced exhibit states
       “constructed according to cleared              that “the facilities constructed [to
 25
       plans.”                                        address Globe’s violation of waste
 26                                                   water disposal standards] were
                                                      constructed according to cleared plans.”
 27
                                                      Wick Decl., Ex. E (Docket No. 902-80,
 28
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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                                                       PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       Supporting Evidence: PTFS00022291;            at #18397) (City of Santa Fe Springs,
  4
       Ex. E to the Declaration of William D.        Industrial Waste Survey of Globe Oil
  5    Wick                                          Tool Co. (June 19, 1970)). However,
                                                     the referenced plans were only put into
  6
                                                     place after Globe was ordered to “cease
  7                                                  and desist” from discharging liquid
                                                     waste to ground that contained
  8
                                                     dissolved solids that “greatly
  9                                                  exceed[ed] the allowable limitation.”
                                                     Id. at # 18392 (Cnty. of Los Angeles,
 10
                                                     Dept. of Cnty. Eng’r, Notice of
 11                                                  Violation & Order to Comply to Globe
                                                     Oil Tools Co. (Mar. 20, 1970)).
 12
 13                                                  Globe Oil conducted tooling and heat
                                                     treating of oil tools, bits, and device,
 14                                                  manufacturing hundreds of devices and
 15                                                  pieces of equipment each month. Id. at
                                                     # 18397 (City of Santa Fe Springs,
 16                                                  Industrial Waste Survey of Globe Oil
 17                                                  Tool Co. (June 19, 1970)). The metal
                                                     heat treating operations generated
 18                                                  wastewater heavily contaminated with
 19                                                  hexavalent chromium. Id. at #18393
                                                     (Cnty. of Los Angeles, Dept. of Cnty.
 20                                                  Eng’r, Industrial Waste Division,
 21                                                  Chemical Analysis, Job No. 3240.10
                                                     (Mar. 17, 1970)); see also RFJN, Ex.
 22                                                  93 (City of Santa Fe Springs, Industrial
 23                                                  Waste Disposal Permit Application
                                                     (May 18, 1970)).
 24
 25                                                  Globe Oil used a degreaser and steam
                                                     cleaned newly manufactured parts and
 26                                                  equipment, which created waste
 27                                                  streams contaminated with hazardous
                                                     substances. Valenzuela Decl., Ex. 8, at
 28
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1              Exhibit A
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          MOVING DEFENDANTS’
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  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    66 (Environmental Audit, Inc.,
  4
                                                    Supplemental Subsurface Investigation
  5                                                 (Mar. 3, 1997) at 3); Wick Decl., Ex. E
                                                    (Docket No. 902-80, at #18397) (City
  6
                                                    of Santa Fe Springs, Industrial Waste
  7                                                 Survey of Globe Oil Tool Co. (June 19,
                                                    1970)). This waste undoubtedly
  8
                                                    included chlorinated solvents, given the
  9                                                 common usage of those solvents in the
                                                    metal fabricating industry during the
 10
                                                    pertinent time.
 11
                                                    After 1970, the waste streams were run
 12                                                 through permeable concrete or brick
 13                                                 subsurface clarifiers, units now known
                                                    to commonly result in subsurface
 14                                                 releases, to settle out solids before
 15                                                 being discharged to the public sewer
                                                    system. Valenzuela Decl., Exs. 8, at 66
 16                                                 (Environmental Audit, Inc.,
 17                                                 Supplemental Subsurface Investigation
                                                    (Mar. 3, 1997) at 3), 4, at 28 (AIG
 18                                                 Consultants, Inc., Phase 1
 19                                                 Environmental Assessment (June. 30,
                                                    1994) at 18). Sewer pipes made of
 20                                                 vitrified clay, the common material
 21                                                 used during the early and middle part of
                                                    the 20th century, also invariably leak,
 22                                                 either through cracks, pipe joints, or
 23                                                 simply via exfiltration. See Mutch
                                                    Report, Jan. 14, 2021, at 5-9 to 5-11, 5-
 24                                                 30. Given the permeability of these
 25                                                 units and infrastructure, contaminated
                                                    waste water carried through those
 26
                                                    systems is virtually certain to reach the
 27                                                 environment. Id.
 28
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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          MOVING DEFENDANTS’
                                                           PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                             SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                         In March 1970, Globe Oil was issued a
  4
                                                         Notice of Violation for discharging
  5                                                      industrial waste to the ground. Wick
                                                         Decl., Ex. E (Docket No. 902-80, at
  6
                                                         #18392-18393) (Los Angeles Cnty.,
  7                                                      Dept. of Cnty. Eng’r, Notice of
                                                         Violation & Order to Comply (Mar. 20,
  8
                                                         1970) & Cnty. of Los Angeles, Dept. of
  9                                                      Cnty. Eng’r, Industrial Waste Division,
                                                         Chemical Analysis, Job No. 3240.10
 10
                                                         (Mar. 17, 1970)). The discharge
 11                                                      included rinse water from the heat-
                                                         treating operations containing
 12
                                                         hexavalent chromium at 19.5 parts per
 13                                                      million, a level 975,000 times higher
 14                                                      than the current level considered
                                                         protective in groundwater. Id. at
 15                                                      #18393 (Cnty. of Los Angeles, Dept. of
 16                                                      Cnty. Eng’r, Industrial Waste Division,
                                                         Chemical Analysis, Job No. 3240.10
 17                                                      (Mar. 17, 1970)); Mutch Report, Jan.
 18                                                      14, 2021, at 7-7.

 19
       212(a).            Moving Parties’ Response
 20
               Plaintiffs’ response that Paragraph 212 is “incomplete” is without merit.
 21    Moving parties proffered a straightforward piece of evidence which demonstrates
 22    that as of June 19, 1970, the government had deemed Globe’s Industrial waste
       facilities were “constructed according to cleared plans.” Plaintiffs do not dispute
 23    that fact, but go on to make irrelevant and unsubstantiated statements about other
 24    matters. Plaintiffs’ non-responsive statement should be stricken and disregarded
       by the Court. The Moving Parties’ evidence remains undisputed and complete.
 25
 26    212(b). On August 23, 1971, the City              Response: Undisputed.
       of Santa Fe Springs issued Industrial
 27    Waste Disposal Permit No. 4485 to
 28    Globe to discharge into the sewer
                                                                  MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                  Exhibit A
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          MOVING DEFENDANTS’
                                                           PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                             SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       washdown and wastes from
  4
       manufacturing and processing oil well
  5    drilling tools.
  6
       Supporting Evidence: PTFS00022288;
  7    Ex. E to the Declaration of William D.
       Wick
  8
  9
       212(b).            Moving Parties’ Response
 10
 11             No Response as Paragraph 212(b) is undisputed.

 12    213. In 1972, William D. Palley and               Response: Undisputed.
       Defendant William K. Palley acquired
 13    the Patsouras Property from Rucker. In
 14    1973, Defendant William K. Palley
       obtained sole ownership of the
 15    property.
 16
       Supporting Evidence: FAC ¶ 345; Ex.
 17    A to the Declaration of William D.
 18    Wick
 19
 20    213. Moving Parties’ Response

 21             No Response as Paragraph 213 is undisputed.
 22    214. During Palley’s ownership, the               Response: Disputed as incomplete.
 23    Property was occupied by a government
       surplus order house, by industrial                Evidence: Palley’s use of the Property
 24    auctioneers, by a paper box company,              was not simply as a “government
 25    and by a plastic reprocessing business.           surplus order house.” Instead, this
                                                         business involved hydraulics and
 26    Supporting Evidence: Los Angeles                  hydraulic equipment maintenance,
 27    Regional Water Quality Board Letter,              aircraft, government surplus, and
                                                         warehousing. Valenzuela Decl., Exs. 9,
 28
                                                                  MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                  Exhibit A
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       Jan. 4, 2017, Ex. B to the Declaration of at 77-78 (Environmental Audit, Inc.,
  4
       William D. Wick                           Summary of Site Assessments, Mar.
  5                                              2009, at 1-2), 14, at 140-142 (W. Palley
                                                 Dep. Tr. at 20:9 to 21:5; 69:19-23).
  6
  7
       214. Moving Parties’ Response
  8
              Plaintiffs’ response that Paragraph 214 is incomplete is without merit.
  9
       Paragraph 214 does not state that the Property was used during Palley’s
 10    ownership solely as a “government surplus order house” and clearly states that the
 11    property was used by a paper box company and by a plastic reprocessing
       business. Plaintiffs improperly insert additional evidence in response to this fact
 12    which remains undisputed. The Court should disregard Plaintiffs’ assertion that
 13    this fact is disputed.

 14    215. On May 18, 1988, the Santa Fe      Response: Undisputed.
       Springs Fire Department issued a notice
 15    of violation alleging that “oil from 2
 16    clarifiers spilled out onto Master Box
       Co. access/loading area.”
 17
 18    Supporting Evidence: EAI00897, Ex. F
       to the Declaration of William D. Wick
 19
 20
       215. Moving Parties’ Response
 21
                No Response as Paragraph 215 is undisputed.
 22
 23    216. On May 19, 1988, the Santa Fe      Response: Undisputed.
       Springs Fire Department issued a notice
 24    of violation alleging that two
 25    abandoned clarifiers contained
       “excessive oil and grease.”
 26
 27    Supporting Evidence: EAI00896, Ex. F
       to the Declaration of William D. Wick
 28
                                                           MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4
  5    216. Moving Parties’ Response
  6             No Response as Paragraph 216 is undisputed.
  7    217. Palley disposed of waste from the         Response: Disputed as incomplete.
  8    clarifiers and drums and the clarifiers
       were subsequently abandoned-in-place    Evidence: The cited authority does not
  9    by filling with cement.                 state that Palley disposed of waste from
 10                                            the clarifiers and drums—unless Palley
       Supporting Evidence: AIG                is referring to his criminal prosecution
 11    Consultants, Inc. Phase I Environmental in July 1988 for illegally transporting
 12    Site Assessment, June 30, 1994, p. 18;  and disposing of hazardous waste.
       (PTFS00024775-PTFS00024804); Ex. Valenzuela Decl., Ex. 4, at 29 (AIG
 13    C to the Declaration of William D.      Consultants, Inc., Phase I
 14    Wick                                    Environmental Site Assessment (June
                                               30, 1994, at 19). In 1987, the County of
 15                                            Los Angeles Department of Health
 16                                            Services filed a criminal complaint
                                               against Palley Supply’s owner for
 17                                            maintaining two subsurface structures
 18                                            containing a black oily liquid
                                               resembling waste oil. Valenzuela Decl.,
 19                                            Ex. 8, at 66 (Environmental Audit, Inc.,
 20                                            Supplemental Subsurface Investigation,
                                               Mar. 3, 1997, at 3). A year later, on
 21
                                               May 18, 1988, an inspection report
 22                                            noted that the abandoned clarifiers were
                                               filled with trash and oil, and that during
 23
                                               a rainstorm, “industrial waste” was
 24                                            overflowing and discharging to the
                                               street. Id.; RFJN, Ex. 101 (Inspection
 25
                                               Record for Talco Plastics, May 18,
 26                                            1988.) Palley received two more
                                               notices of violation on the same day,
 27
                                               one for excessive waste in two
 28                                            abandoned clarifiers and another notice
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    of violation for overflow from a sump
  4
                                                    and two abandoned clarifiers, due to a
  5                                                 plugged sewer line, that was
                                                    discharging to ground at the property’s
  6
                                                    access and loading area. Opp’n RFJN,
  7                                                 Exs. 17, at_141 (Santa Fe Springs Fire
                                                    Dept. (“SFSFD”), Notice of Violation
  8
                                                    No. 74 (May 18, 1988)), 18, at 142
  9                                                 (SFSFD, Notice of Violation No. 75
                                                    (May 18, 1988).
 10
 11                                                 Industrial waste from steam cleaning
 12                                                 operations by Palley was discharged to
                                                    the sanitary sewer through one or more
 13                                                 clarifiers that had been present on the
 14                                                 property since Globe Oil Tools
                                                    operated there. Valenzuela Dec., Ex._9,
 15                                                 at 77-78 (Environmental Audit, Inc.,
 16                                                 Summary of Site Assessments, Mar.
                                                    2009, at 1-2). Clarifiers leak and are
 17                                                 common sources of groundwater
 18                                                 contamination. See Mutch Report, Jan.
                                                    14, 2021, at 2-6, 3-5.
 19
 20                                                 This statement is further disputed to the
                                                    extent it suggests that Palley properly
 21                                                 and fully remediated all sources of
 22                                                 contamination from the Property—this
                                                    is not the case. In addition to 2 brick
 23                                                 clarifiers which were historically used
 24                                                 to store waste oil and solvents at the
                                                    Property, there are also 3 USTs on the
 25                                                 Property—one of which is not
 26                                                 registered and regulatory agencies were
                                                    not aware of its presence. Valenzuela
 27                                                 Decl., Ex. 4, at 27-28 (AIG
 28                                                 Consultants, Inc., Phase I
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    Environmental Site Assessment (June
  4
                                                    30, 1994, at 17-18). There was no
  5                                                 documentation of the condition of the
                                                    clarifiers or surrounding soil before
  6
                                                    they were abandoned in place or of the
  7                                                 unregistered UST and surrounding soil
                                                    that remains on the Property. Id. at 30
  8
                                                    (AIG Consultants, Inc., Phase I
  9                                                 Environmental Site Assessment (June
                                                    30, 1994, at 20).
 10
 11                                                 This statement fails to recognize the
                                                    contamination caused by the 2 clarifiers
 12
                                                    before (and after) they were
 13                                                 purportedly “abandoned in place.” In
 14                                                 an August 18, 1988 letter, the County
                                                    of Los Angeles Department of Health
 15                                                 expressed great concern “over potential
 16                                                 problems with two existing
                                                    underground storage structures located
 17                                                 on the west section of the site. We have
 18                                                 observed two brick “clarifiers” built
                                                    prior World War II which possibly
 19                                                 contain[] waste oil or a similar material
 20                                                 We also feel that these structures have
                                                    long since lost their integrity to
 21                                                 withhold any of its contents.” RFJN,
 22                                                 Ex. 87 (L.A. County DHS Letter to C.
                                                    Sjoberg (Aug. 18, 1988)). These brick
 23                                                 clarifiers pre-dated the connection of
 24                                                 the property to the sewer system in
                                                    1970 and discharged to lagoons present
 25                                                 on the Property. See Mutch Report, Jan.
 26                                                 14, 2021, at 7-27 to 7-28. No
                                                    meaningful investigation of the role the
 27                                                 lagoons had upon the nature and extent
 28                                                 of the contamination of the Property
                                                             MOVING DEFENDANTS’ RESPONSE TO
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                                                       PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                     was ever completed. Id. The lagoons
  4
                                                     have been present on the Property from
  5                                                  at least 1938 – 1973, but, inexplicably,
                                                     have never been a major focus of
  6
                                                     investigation. Id.
  7
                                                     On November 28, 1995, the Los
  8
                                                     Angeles County Fire Department
  9                                                  ordered Kekropia to “determine the
                                                     nature, concentration, and the vertical
 10
                                                     and lateral extent of contamination”
 11                                                  and submit a “site characterization
                                                     plan” by the end of December, noting
 12
                                                     that there had been “releases” at the
 13                                                  Property. RFJN, Ex. 84 (T. Klinger,
 14                                                  Supervisor, Los Angeles County Fire
                                                     Dept., Health / HazMat Div., Letter to
 15                                                  L. Patsouras, Kekropia, Nov. 28, 1995).
 16
                                                     The Los Angeles County Fire
 17                                                  Department concluded that the
 18                                                  locations of clarifiers and a storage
                                                     shed on the eastern parcel of the
 19                                                  Patsouras Property were impacted with
 20                                                  volatile organic compounds, such as
                                                     PCE and TCE, and needed to be
 21                                                  remediated. See RFJN, Ex. 92 (Los
 22                                                  Angeles County Fire Dept.,
                                                     Memorandum, Jan. 9, 1996, at 1-2).
 23
 24
       217. Moving Parties’ Response
 25
              Plaintiffs’ response to Paragraph 217 is non-responsive to the simple
 26    factual statement that “Palley disposed of waste from the clarifiers and drums and
 27    the clarifiers were subsequently abandoned-in-place by filling with cement,”
       which is supported by the proffered evidence. Plaintiffs make a litany of
 28
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1              Exhibit A
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  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       irrelevant and unsubstantiated statements that do not controvert this fact or
  4
       demonstrate any evidence that contaminants in the soil migrated to the
  5    groundwater. Palley Supply Company received notices of violation but they were
       “paper violations” - - that is, Palley was cited for not having applied for the
  6
       applicable waste discharge permits. Plaintiffs list a litany of facts to confuse the
  7    Court as to the simple fact that the clarifiers were abandoned in place. Critically,
       none of the statements listed by Plaintiffs support any fact regarding contribution
  8
       to groundwater contamination by Palley’s operations. The Court should disregard
  9    Plaintiffs’ assertion that this fact is disputed.
 10    218. In 1994, AIG Environmental                 Response: Disputed as incomplete
 11    Consultants performed a Phase I
       Environmental Site Assessment of the    Evidence: The statement is necessarily
 12    Property. AIG concluded that “the       qualified by the failure of AIG to
 13    greatest potential risk to the subject  investigate other sources of potential
       property” was the total of 37 sites lesscontamination. The AIG assessment
 14    than ¼ mile away whose potential off-   specifically identified numerous other
 15    site contamination may have impacted    potential sources of contamination
       the Property, and AIG also              (including the unregistered UST,
 16    recommended additional investigation    potentially hazardous materials in
 17    of the Property itself.                 storage containers and 55-gallon drums
                                               located at the Property, and dark-
 18    Supporting Evidence: AIG                stained soil in the area of “Bay Traps”),
 19    Consultants, Inc. Phase I Environmental stated that AIG did not investigate
       Site Assessment, June 30, 1994, p. 3;   these other sources, and recommended
 20    (PTFS00024782); Ex. C to the            that these other potential sources be
 21    Declaration of William D. Wick          investigated and evaluated to determine
                                               their potential impact to the soil and
 22                                            groundwater. Mutch Rebuttal Report,
 23                                            Mar. 4, 2021, at § 3. AIG states that,
                                               based on the results of its inspection of
 24
                                               the Property and its historical records
 25                                            of land use and regulatory inquiries,
                                               “there is evidence of past activity at the
 26
                                               Site which may represent
 27                                            environmental risks and/or liabilities.
                                               The extent of these environmental risks
 28
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                      could possibly be determined with
  4
                                                      further investigation. Therefore, AIG
  5                                                   recommends that additional
                                                      investigation be performed to further
  6
                                                      evaluate the potential for impact to the
  7                                                   soil, air, and/or ground water at the
                                                      Site.” Id. at 3.
  8
  9
       218. Moving Parties’ Response
 10
 11          Plaintiffs’ response is not responsive to the evidence provided in Paragraph
       218. Plaintiffs’ averment that Paragraph 218 is incomplete is without merit.
 12
              There can be no dispute that AIG concluded that “the greatest potential risk
 13    to the subject property” was the total of 37 sites less than ¼ mile away whose
 14    potential off-site contamination may have impacted the Property, and AIG also
       recommended additional investigation of the Property itself.
 15
 16           Plaintiffs cannot dispute this evidence and instead discuss what
       investigation was or was not done on the Patsouras Property, which is not relevant
 17    to the statement in Paragraph 218. Further, Moving Parties included the
 18    statement by AIG recommending additional investigation on the Property,
       therefore Plaintiffs’ response is wholly without merit. The Court should disregard
 19    Plaintiffs’ assertion that this fact is disputed.
 20    219. In 1995, Kekropia, Inc. acquired  Response: Undisputed.
 21    the Patsouras Property from William K.
       Palley. In 1997, El Greco Wholesale
 22
       Grocers, Inc. and its owner Larry
 23    Patsouras began operating on the
       Property as a wholesale grocery
 24
       warehouse.
 25
       Supporting Evidence: FAC ¶ ¶ 347,
 26
       350; Ex. A to the Declaration of
 27    William D. Wick
 28
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4    219. Moving Parties’ Response
  5
                No Response as Paragraph 219 is undisputed.
  6
       220. Kekropia continues to own the              Response: Undisputed.
  7    Property today, which is still used for a
  8    wholesale grocery warehouse and a
       tattoo artist supply business.
  9
 10    Supporting Evidence: Los Angeles
       Regional Water Quality Board Letter,
 11    Jan. 4, 2017, Ex. B to the Declaration of
 12    William D. Wick
 13
 14    220. Moving Parties’ Response

 15             No Response as Paragraph 220 is undisputed.
 16    221. Kekropia retained Environmental
       Audit, Inc. (EAI) to perform an                 Response: Partially disputed.
 17
       environmental investigation of the
 18                                                    Evidence: Plaintiffs do not dispute that
       Property. EAI’s investigation indicated
                                                       Kekropia retained EAI to perform an
 19    that “the majority of the soil
                                                       investigation of the Patsouras Property.
       contamination is heavy end petroleum
 20                                                    Wick Decl., Ex. H, Docket No. 902-83
       product.” EAI considered a variety of
                                                       at #18469 (Envtl. Audit, Inc., Remedial
 21    in-situ technologies for remediation of
                                                       Action Plan (June 16, 1997) at 3
       the heavy end petroleum hydrocarbons
 22                                                    (PTFS0002242)). Plaintiffs do not
       in the soil, but determined that they
                                                       dispute that EAI purported to
 23    were impracticable “for the relatively
                                                       investigate the Patsouras Property,
       small volume of contaminated soil at
 24                                                    however, the remedial action chosen at
       the Site, and therefore recommended
                                                       the property was excavation of a
 25    excavation and off-site disposal of the
                                                       significant amount of contaminated
       impacted soil.
 26                                                    soil. Valenzuela Decl., Ex. 16, at 175
                                                       (Los Angeles Regional Water Quality
 27    Supporting Evidence: Environmental
                                                       Board Letter, Jan. 4, 2017, at 2) (noting
       Audit, Inc., “Remedial Action Plan,
 28                                                    soil removal actions in 1998, 2006,
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       11630-11700 Burke Street,” June 16,             2010 and 2014). In addition, the
  4
       1997, at PTSF00022451, 22453; Ex. H             selected remedial action did not test for
  5    to the Declaration of William D. Wick           hexavalent chromium. Mutch Report,
                                                       Jan. 14, 2021, at 7-11 to 7-13.
  6
  7                                                    Plaintiffs do not dispute the report
                                                       discusses considering in-situ
  8                                                    technologies, but Plaintiffs dispute
  9                                                    there was a relatively small volume of
                                                       contaminated soil in light of the fact
 10                                                    that a significant amount of soil was
 11                                                    excavated. Wick Decl., Ex. H, Docket
                                                       No. 902-83 at #18478 (Envtl. Audit,
 12                                                    Inc., Remedial Action Plan (June 16,
 13                                                    1997) at 10 (PTFS00022451));
                                                       Valenzuela Decl., Ex. 16, at 175 (Los
 14                                                    Angeles Regional Water Quality Board
 15                                                    Letter, Jan. 4, 2017, at 2) (noting soil
                                                       removal actions in 1998, 2006, 2010
 16                                                    and 2014).
 17
 18    221. Moving Parties’ Response
 19           Plaintiffs mischaracterize the statements made in the January 4, 2017 Los
 20    Angeles Regional Water Quality Control Board Letter (Valenzeula Decl., Ex. 16
       at 175). While the letter does refer to soil removal during the years 1998, 2006,
 21    2010 and 2014, it does not provide, anywhere in the letter, the volume of soil
 22    removed. It simply states that these removal actions “removed the majority of
       Wastes at the Site.” Plaintiffs’ conflation of the number of times an unknown
 23    quantity of soil was excavated with the actual volume of soil excavated is
 24    misleading and incorrect. Rather, the evidence in the EAI RAP that a “relatively
       small volume of soil” at the Patsouras Property was contaminated is the only valid
 25    evidence regarding the volume of contaminated soil at the Patsouras Property.
 26    Plaintiffs’ partial dispute is without merit and should be disregarded by the Court.
       The Court should disregard Plaintiffs’ assertion that this fact is partially disputed.
 27
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       222. In 2006, Biophysics                        Response: Undisputed.
  4
       Environmental Assessments, Inc.
  5    (“BEA”) performed confirmation
       testing and removal of environmentally
  6
       impacted soil identified in previous site
  7    testing.
  8
       Supporting Evidence: Biophysics
  9    Environmental Assessments, Inc., Soil
       Remediation Report of Findings for El
 10
       Greco, Inc., Sept. 14, 2006;
 11    (PTFS00023600-PTFS00023663); Ex.
       G to the Declaration of William D.
 12
       Wick
 13
 14    222. Moving Parties’ Response
 15
                No Response as Paragraph 222 is undisputed.
 16
       223. BEA concluded that the sampling            Response: Disputed.
 17    results “showed no threat to
 18    groundwater since boring B-7                    Evidence: Testing performed at the B-
       demonstrated vertical attenuation of            7 boring was incomplete and failed to
 19    both PCE and TCE to non-detect at               take into account the soil composition
 20    termination depth of 35’ below grade            and the water table at the location. The
       surface (bgs).”                                 data from samples taken from 15, 20,
 21                                                    25, and 35 feet bgs “can by no means
 22    Supporting Evidence: Id. at                     be taken to indicate that the maximum
       PTFS00023604                                    depth of PCE penetration was limited
 23                                                    to 25 feet at B-7” because:
 24
                                                       1. No sample was taken at 30 feet, and
 25                                                    it may have contained PCE. Mutch
 26                                                    Report, Jan. 14, 2021, at 7-11.
 27                                                    2. The testing done by BEA, EAI and
 28                                                    any others of this area only tested for
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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          MOVING DEFENDANTS’
                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    “vertical” migration when “[i]t is well-
  4
                                                    recognized that infiltrating moisture in
  5                                                 the vadose zone can follow complex
                                                    pathways because of capillary action
  6
                                                    and complex lithologies.” Id.
  7                                                 “Assuming purely vertically-downward
                                                    migration in the vadose zone is a
  8
                                                    perilous and often incorrect
  9                                                 assumption.” Id. “[O]ne cannot reliably
                                                    define the vertical extent of
 10
                                                    contamination in the vadose zone with
 11                                                 a single boring. What may appear in a
                                                    single borehole to be the base of the
 12
                                                    contamination may simply indicate that
 13                                                 the plume has been diverted laterally
 14                                                 due to lithologic variability and is now
                                                    outside the vertical trajectory of the
 15                                                 boring.” Id.
 16
                                                    3. The 35-foot sample was taken from a
 17                                                 clay stratum. Id. at 7-11. It is probable
 18                                                 that the PCE plume migrating
                                                    downward through the vadose zone
 19                                                 diverted around this low permeability
 20                                                 stratum. Id.

 21                                                 4. In the late 1990s, the groundwater
 22                                                 table was approximately 32 to 36 feet
                                                    bgs. Id. Thus, the water table was
 23                                                 above the 35-foot sample location. Id.
 24                                                 Thus, the PCE plume migrating
                                                    vertically-downward through the
 25                                                 vadose zone was intercepted by
 26                                                 laterally flowing groundwater in the
                                                    upper part of the saturated zone and not
 27                                                 carried further downward to the 35-foot
 28                                                 depth. Id. Groundwater would have
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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          MOVING DEFENDANTS’
                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    been contaminated in this location by
  4
                                                    PCE migrating downward through the
  5                                                 vadose zone. Id. The Los Angeles
                                                    County Fire Department found that soil
  6
                                                    and groundwater contaminated with
  7                                                 VOCs at the Property and indicated that
                                                    VOCs in the eastern portion of the
  8
                                                    Property “have been found to extend to
  9                                                 GW [i.e., groundwater].” RFJN, Ex. 92
                                                    (Los Angeles County Fire Department
 10
                                                    Memorandum re Palley Property, Jan.
 11                                                 1996). They further observed that the
                                                    “clarifier area” at the Property is
 12
                                                    “contaminated to GW with VOCs.” Id.
 13
 14                                                 PCE was also continuously detected in
                                                    boring E-9, near a storage shed, at
 15                                                 depths of 10, 15, 20, 24, and 30 feet at
 16                                                 concentrations between 23 and 104
                                                    ug/kg. Mutch Report, Jan. 14, 2021, at
 17                                                 7-11. This data indicates that PCE was
 18                                                 transported through the vadose zone to
                                                    the historic elevation of the
 19                                                 groundwater table and impacted the
 20                                                 groundwater with PCE. Id.

 21                                                 This statement is also disputed because
 22                                                 it rests on the faulty premise that testing
                                                    showed there was no PCE
 23                                                 contamination. On the contrary, tests do
 24                                                 not show the presence of PCE, TCE,
                                                    hexavalent chromium or other VOCs
 25                                                 because they were not tested for these
 26                                                 substances. In the report cited as
                                                    support for this statement, BEA clearly
 27                                                 states that it was hired solely to remove
 28                                                 soil from 2 areas identified by other
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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          MOVING DEFENDANTS’
                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    investigations in 1994 and 1997.
  4
                                                    Valenzuela Decl., Exs. 17, at 180
  5                                                 (Biophysics Environmental
                                                    Assessments, Inc., Soil Remediation
  6
                                                    Report, Sept. 14, 2006, at 1). BEA did
  7                                                 not test any other areas of the Property
                                                    to determine whether they were
  8
                                                    contaminated by PCE, TCE, hexavalent
  9                                                 chromium or other VOCs. Id. Despite
                                                    evidence of discharge of waste
 10
                                                    containing 975,000 times more than the
 11                                                 health-protective level amounts of
                                                    hexavalent chromium (19.5 ppm), no
 12
                                                    follow up testing was ever done. Mutch
 13                                                 Report, Jan. 14, 2021, at 7-7. No testing
 14                                                 of the soil or groundwater was ever
                                                    completed beneath the storm drain or
 15                                                 the flood control channel where
 16                                                 Globe—for decades—disposed of
                                                    industrial waste before sewers were
 17                                                 installed at the Property. Id. In 1988,
 18                                                 the clarifiers were filled with trash and
                                                    oil and waste was discharging to the
 19                                                 street; however, no testing was done in
 20                                                 these areas for TCE, PCE, or other
                                                    VOCs. Mutch Report, Jan. 14, 2021, at
 21                                                 7-8. RFJN, Ex. 101 (Inspection Record
 22                                                 for Talco Plastics, May 18, 1988).
                                                    Stained ground surface was noted in the
 23                                                 southwest corner of the Property in the
 24                                                 area of four partially-filled 55-gallon
                                                    drums; but, still, no testing for TCE,
 25                                                 PCE, or other VOCs was completed.
 26                                                 Valenzuela Decl., Ex. 4, at 31 (AIG
                                                    Consultants, Phase I Environmental
 27                                                 Site Assessment, June 30, 1994, at 21).
 28                                                 No meaningful investigation of the role
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                       the lagoons had upon the nature and
  4
                                                       extent of the contamination of the
  5                                                    Property has ever been completed. See
                                                       Mutch Report, Jan. 14, 2021, at 7-27 59
  6
                                                       7-28. The lagoons have been present on
  7                                                    the Property from at least 1938 – 1973,
                                                       but, inexplicably, have never been a
  8
                                                       major focus of investigation. Id.
  9
 10    223. Moving Parties’ Response
 11
             This a simply a statement of BEA’s conclusion. The BEA document says
 12    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
 13    re-argue their Opposition. The fact that BEA’s report says what it says is
       undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
 14    disputed and their response should be stricken.
 15    224. BEA concluded that “no threat              Response: Disputed.
 16    exists to groundwater from metals,
       solvents, and total petroleum                   Evidence: Because minimal testing
 17    hydrocarbons, based upon the low level          was done for TCE, PCE, hexavalent
 18    and isolated low volume of all                  chromium or other VOCs, it is
       potentially hazardous materials                 impossible to say that there is “no
 19    identified in initial testing by EAI in         threat” from such substances. Mutch
 20    1994.”                                          Report, Jan. 14, 2021, at 7-11. Total
                                                       chromium measured in Phase II
 21
       Supporting Evidence: Id. at                     samples ranged from below detection
 22    PTFS00023607                                    limits (200 ug/kg) to 71,100 ug/kg,
                                                       with the highest levels at B-8 which lies
 23
                                                       in a stained soil area identified in
 24                                                    historical photos on the eastern parcel.
                                                       Id. Hexavalent chromium was not
 25
                                                       tested for on these samples. Id.
 26                                                    Supplemental assessments in1994,
                                                       1996, and 1999 tested samples from 31
 27
                                                       locations across the Property. Of these
 28                                                    31 locations, only 1 was tested for total
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    chromium. Id. at 7-12. None were
  4
                                                    tested for hexavalent chromium. Id.
  5                                                 The samples taken by BEA in its 2006
                                                    assessment were not tested for
  6
                                                    hexavalent chromium though total
  7                                                 chromium ranged between 18 and 62
                                                    mg/kg. Id.
  8
  9                                                 EAI closed 5 subsurface units in 2009,
                                                    but did not collect samples for 2 of the
 10
                                                    units. Id. Samples from the other 3
 11                                                 units were tested for total chromium,
                                                    but were not tested for hexavalent
 12
                                                    chromium. Id. The “stockpile” of soil
 13                                                 removed from these 3 units was tested
 14                                                 for total chromium only, and was found
                                                    to have the second highest
 15                                                 concentration on the entire Property
 16                                                 (224 mg/kg)—but, this soil was not
                                                    tested for hexavalent chromium. Id.
 17
 18                                                 The failure to test for hexavalent
                                                    chromium is inexplicable—particularly
 19                                                 when there are at least 2 documented
 20                                                 discharges of hexavalent chromium to
                                                    the soil and/or groundwater of the
 21                                                 Property. Mutch Report, Jan. 14, 2021,
 22                                                 at 7-13 (citing 1970 discharge of waste
                                                    containing 975,000 times more than the
 23                                                 health-protective level amounts of
 24                                                 hexavalent chromium and 1988
                                                    discharge from clarifiers to the street).
 25                                                 Contaminated waste water from the
 26                                                 clarifiers and other sources were
                                                    disposed of—for decades—to a storm
 27                                                 drain/flood control channel before the
 28                                                 Property was connected to sewers.
                                                             MOVING DEFENDANTS’ RESPONSE TO
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    Mutch Report, Jan. 14, 2021, at 7-7.
  4
  5                                                 The ESL for arsenic in soil was
                                                    exceeded at several locations at the
  6
                                                    Property from 2 feet to 35 feet bgs,
  7                                                 which is indicative of release of arsenic
                                                    from operations on the Property to the
  8
                                                    subsurface. Id. at 7-13. Because of the
  9                                                 inadequacy and sparseness of the
                                                    monitoring well network at the
 10
                                                    Property, arsenic impacts to
 11                                                 groundwater may not be identifiable.
                                                    Id. at 7-14.
 12
 13                                                 Despite minimal investigations on the
 14                                                 Property, the data that was obtained
                                                    reveals the extent of groundwater
 15                                                 contamination. Id. at 7-14. PCE was
 16                                                 found in monitoring wells in the
                                                    vicinity of the clarifiers, where vadose
 17                                                 zone soil samples showed penetration
 18                                                 of PCE to the depth of the groundwater
                                                    table. Id. This indicates a contribution
 19                                                 of PCE to groundwater from the
 20                                                 Property. Id. Additionally, some higher
                                                    levels of hexavalent chromium were
 21                                                 found in MW-1, MW-1D, and MW-3
 22                                                 in the middle of the Property near the
                                                    clarifiers than in MW-2, establishing
 23                                                 releases of hexavalent chromium from
 24                                                 the clarifiers, resulting in groundwater
                                                    contamination. Id. at 7-14 and 7-17.
 25                                                 TCE, a “daughter” product of PCE, is
 26                                                 found in concentrations higher in MW-
                                                    1D, MW-3, and MW-4 than in MW-2.
 27                                                 Id. at 7-17. Concentrations exceeding
 28                                                 groundwater ESLs were measured for
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    1,1-dichloroethene, carbon
  4
                                                    tetrachloride, chloroform,
  5                                                 tetrachloroethene (PCE), trans-1,2-
                                                    dichloroethene, trichloroethene (TCE),
  6
                                                    chromium (total), chromium VI, nickel,
  7                                                 and vanadium. Id.
  8
                                                    Soil gas concentrations in excess of soil
  9                                                 gas ESL values were noted for benzene,
                                                    carbon tetrachloride, chloroform, PCE
 10
                                                    and TCE. Id. The spatial distribution of
 11                                                 the PCE and TCE soil gas
                                                    contamination, along with the shallow
 12
                                                    soil contamination, indicates that the
 13                                                 PCE and TCE came from releases on
 14                                                 the Property and not from off-gassing
                                                    from the underlying groundwater. Id.
 15                                                 Thus, the contaminated soil gas would
 16                                                 serve as a source of OU2 groundwater
                                                    contamination as it partitioned from the
 17                                                 soil gas to recharging groundwater. Id.
 18
                                                    PCE, TCE, and chromium, as well as
 19                                                 other hazardous substances, have all
 20                                                 been identified as present in the
                                                    subsurface at levels about soil
 21                                                 screening levels, meaning that these
 22                                                 substances are present in soils at the
                                                    Patsouras Property at levels that exceed
 23                                                 those considered protective of
 24                                                 groundwater. See Valenzuela Decl.,
                                                    Exs. 5, at 43-45 (Professional Service
 25                                                 Industries, Phase II Preliminary
 26                                                 Contamination Assessment, Aug. 18,
                                                    1994, at 13 & Table 3); 9, at 85-88
 27                                                 (Environmental Audit, Inc., Summary
 28                                                 of Site Assessments, Mar. 2009, Table
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    1); 10, at 98-103 (Environmental Audit,
  4
                                                    Inc., Ground Water Samples,
  5                                                 Confirmation Soil Samples, Aug. 6,
                                                    2013, Table 1); Mutch Report, Jan. 14,
  6
                                                    2021, Tables 3-1, 7-4.
  7
                                                    The Santa Fe Springs Fire Department,
  8
                                                    Environmental Services Division,
  9                                                 found that “historic Palley site
                                                    operations contamination probably
 10
                                                    contributed to the VOC portion “ of
 11                                                 groundwater contamination at the
                                                    property. See Opp’n RFJN, Ex. 21, at
 12
                                                    146-147 (Steve Chase, Santa Fe
 13                                                 Springs Fire Department,
 14                                                 Environmental Services Division,
                                                    Memorandum to Dave Klunk, Director,
 15                                                 Environmental Services Division, Santa
 16                                                 Fe Springs Fire Department, Sept. 29,
                                                    1997). Mr. Chase further advised that
 17                                                 groundwater at the property was first
 18                                                 encountered at 35 feet bgs, and “PCE
                                                    was found in a [soil] column” from 10
 19                                                 feet bgs to 35 feet bgs. Id.
 20
                                                    Even Defendants’ expert admits that
 21                                                 contamination to groundwater from
 22                                                 1970 hexavalent chromium discharge
                                                    to ground may have moved off property
 23                                                 by now). See Valenzuela Decl., Ex. 15,
 24                                                 at 172 (J. Kulla Dep. Tr. at 119: 5-21).

 25                                                 Chromium, PCE, and TCE have been
 26                                                 detected in the subsurface soils at the
                                                    Property, and these same substances are
 27                                                 in OU-2 Groundwater below and
 28                                                 downgradient of the Property. See
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                       Valenzuela Decl., Exs. 5, at 43-45 __
  4
                                                       (Professional Service Industries, Phase
  5                                                    II Preliminary Contamination
                                                       Assessment, Aug. 18, 1994, at 13 &
  6
                                                       Table 3); 9, at 85-88 (Environmental
  7                                                    Audit, Inc., Summary of Site
                                                       Assessments, Mar. 2009, Table 1); 10,
  8
                                                       at 98-103 (Environmental Audit, Inc.,
  9                                                    Ground Water Samples, Confirmation
                                                       Soil Samples, Aug. 6, 2013, Table 1);
 10
                                                       11, at 109-114 (Environmental Audit,
 11                                                    Inc., Third Quarter 2013 Ground Water
                                                       Monitoring Report, Oct. 23, 2013,
 12
                                                       Tables 2, 3); Mutch Report, Jan. 14,
 13                                                    2021, Tables 3-1, 7-4 and 7-5.
 14
                                                       The entire OU-2 Groundwater area lies
 15                                                    in a recharge area defined as an area
 16                                                    where water from precipitation and
                                                       other shallow water sources, such as
 17                                                    leaking sewers and clarifiers, reaches
 18                                                    the underlying groundwater from
                                                       surface infiltration. See Mutch Report,
 19                                                    Jan. 14, 2021, 2-4 to 2-8.
 20
 21    224. Moving Parties’ Response
 22          This a simply a statement of BEA’s conclusion. The BEA document says
 23    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
       re-argue their Opposition. The fact that BEA’s report says what it says is
 24    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
 25    disputed and their response should be stricken.

 26    225. BEA concluded that the                     Response: Disputed.
       concentrations of petroleum and
 27
       solvents identified in 1994 “had                Evidence: As discussed in response to
 28    insufficient mass for vertical migration,       #223, “[i]t is well-recognized that
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       with sorption and desorption, in excess         infiltrating moisture in the vadose zone
  4
       of a few feet.”                                 can follow complex pathways because
  5                                                    of capillary action and complex
       Supporting Evidence: Id.                        lithologies.” Mutch Report, Jan. 14,
  6
                                                       2021, at 7-11. “Assuming purely
  7                                                    vertically-downward migration in the
                                                       vadose zone is a perilous and often
  8
                                                       incorrect assumption.” Id. “[O]ne
  9                                                    cannot reliably define the vertical
                                                       extent of contamination in the vadose
 10
                                                       zone with a single boring. What may
 11                                                    appear in a single borehole to be the
                                                       base of the contamination may simply
 12
                                                       indicate that the plume has been
 13                                                    diverted laterally due to lithologic
 14                                                    variability and is now outside the
                                                       vertical trajectory of the boring.” Id.
 15
 16                                                    Additionally, such a determination is
                                                       impossible to make due to the
 17                                                    inadequate testing and investigation of
 18                                                    hazardous substances in the soil, as set
                                                       out in Plaintiffs’ responses to
 19                                                    Defendant’s statements ## 223-224
 20                                                    which are incorporated herein by
                                                       reference.
 21
 22
 23    225. Moving Parties’ Response
 24
             This a simply a statement of BEA’s conclusion. The BEA document says
 25    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
 26    re-argue their Opposition. The fact that BEA’s report says what it says is
       undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
 27    disputed and their response should be stricken.
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       226. BEA concluded that “intrinsic              Response: Disputed.
  4
       biodegradation and weathering has
  5    removed all measurable solvents and             Evidence: The entire OU-2
       continues to remove the petroleum               Groundwater area lies in a recharge
  6                                                    area defined as an area where water
       hydrocarbons.”
  7                                                    from precipitation and other shallow
       Supporting Evidence: Id.                        water sources, such as leaking sewers
  8                                                    and clarifiers, reaches the underlying
  9                                                    groundwater from surface infiltration.
                                                       See Mutch Report, Jan. 14, 2021, 2-4 to
 10                                                    2-8.
 11
                                                       Defendants’ expert admits that
 12                                                    contamination to groundwater from
 13                                                    1970 hexavalent chromium discharge
                                                       to ground may have moved off property
 14                                                    by now. See Valenzuela Decl., Ex. 15,
 15                                                    at 172 (J. Kulla Dep. Tr. at 119: 5-21).
 16
 17    226. Moving Parties’ Response

 18          This a simply a statement of BEA’s conclusion. The BEA document says
       what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
 19    re-argue their Opposition. The fact that BEA’s report says what it says is
 20    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
       disputed and their response should be stricken.
 21
 22    227. BEA concluded that “no mass of             Response: Disputed.
       petroleum hydrocarbons and no
 23    measurable mass of chlorinated                  Evidence: Such a determination is
 24    solvents are present in the soil column         impossible to make due to the
       with capability for migration to the            inadequate testing and investigation of
 25    groundwater by moisture migration               hazardous substances in the soil, as set
 26    through adsorption and partitioning.”           out in Plaintiffs’ responses to
                                                       Defendant’s statements ## 223-224
 27    Supporting Evidence: Id.                        which are incorporated herein by
 28                                                    reference.
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4    227. Moving Parties’ Response
  5
             This a simply a statement of BEA’s conclusion. The BEA document says
  6    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
       re-argue their Opposition. The fact that BEA’s report says what it says is
  7
       undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
  8    disputed and their response should be stricken.
  9    228. BEA concluded that “[N]o further           Response: Disputed.
 10    action is recommended based upon the
       very low levels of hazardous materials          Evidence: Such a determination is
 11    identified in site testing in 1994 and          impossible to make due to the
 12    confirmed in 2006.”                             inadequate testing and investigation of
                                                       hazardous substances in the soil, as set
 13    Supporting Evidence: Id.                        out in Plaintiffs’ responses to
 14                                                    Defendant’s statements ## 223-224
                                                       which are incorporated herein by
 15                                                    reference.
 16
 17    228. Moving Parties’ Response
 18          This a simply a statement of BEA’s conclusion. The BEA document says
 19    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
       re-argue their Opposition. The fact that BEA’s report says what it says is
 20    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
 21    disputed and their response should be stricken.
 22    229. EAI concluded that the majority of Response: Disputed.
 23    the soil contamination at the Patsouras
       Property “is heavy end petroleum        Evidence: Such a determination is
 24    product.”                               impossible to make due to the
 25                                            inadequate testing and investigation of
       Supporting Evidence: Environmental      hazardous substances in the soil, as set
 26    Audit, Inc., “Remedial Action Plan,     out in Plaintiffs’ responses to
 27    11630-11700 Burke Street,” June 16,     Defendant’s statements ## 223-224
                                               which are incorporated herein by
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                          PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                            SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       1997, at PTSF00022451; Ex. H to the              reference.
  4
       Declaration of William D. Wick
  5
  6    229. Moving Parties’ Response
  7
             This a simply a statement of EAI’s conclusion. The EAI document says
  8    what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
       re-argue their Opposition. The fact that EAI’s report says what it says is
  9
       undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
 10    disputed and their response should be stricken. .
 11    230. EAI concluded that “TGPH-G,                 Response: Disputed.
 12    TPH-D, and TPH-O have never been
       identified in ground water” at the               Evidence: Such a determination is
 13    Patsouras Property. “Chlorinated                 impossible to make due to the
 14    compounds are not generally identified           inadequate testing and investigation of
       in soil at the Site but are present in           hazardous substances in the soil, as set
 15    ground water at concentrations that are          out in Plaintiffs’ responses to
 16    consistent with the regional impact to           Defendant’s statements ## 223-224
       ground water (see Section 3.0). In               which are incorporated herein by
 17    EAI’s opinion the chlorinated                    reference.
 18    compounds detected in ground water at
       the Site are not the result of former site       PCE and TCE have been identified in
 19    activities.”                                     the groundwater at the Property. Wick
 20                                                     Decl., Ex. I, at 1 (Covenant and
       Supporting Evidence: Environmental               Environmental Restriction on Property
 21
       Audit, Inc., “Updated Site Conceptual            recorded Oct. 12, 2016).
 22    Model and Request for Low Risk
       Closure,” June 17, 2010, at p. 21, at            The hexavalent chromium on the
 23
       PTFS00024533; Ex. D to the                       Property is not derived from
 24    Declaration of William D. Wick                   groundwater from other properties.
                                                        Mutch Report, Jan. 14, 2021, at 7-16.
 25
                                                        In the first hexavalent chromium water
 26                                                     analysis performed (February 2009),
                                                        the highest levels of hexavalent
 27
                                                        chromium were found in monitoring
 28                                                     wells in the middle of the Patsouras
                                                                 MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                 Exhibit A
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                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                       Property. Id. The nearest monitoring
  4
                                                       wells from adjacent properties are
  5                                                    cross-gradient and were non-detect for
                                                       hexavalent chromium, indicating that
  6
                                                       the hexavalent chromium on the
  7                                                    Property did not migrate from other
                                                       properties. Id.
  8
  9
       230. Moving Parties’ Response
 10
 11          This a simply a statement of EAI’s conclusion. The EAI document says
       what it says, and Plaintiffs do not dispute that it says what it says. Instead, they
 12    re-argue their Opposition. The fact that EAI’s report says what it says is
 13    undisputed. The Court should disregard Plaintiffs’ assertion that this fact is
       disputed and their response should be stricken.
 14
       231. On Sept. 15, 2016, Regional                Response: Undisputed.
 15    Board Executive Officer Samuel Unger
 16    executed the Covenant and
       Environmental Restriction on Property
 17    for the Patsouras Property.
 18
       Supporting Evidence: Covenant and
 19    Environmental Restriction; Ex. I to the
 20    Declaration of William D. Wick
 21
 22    231. Moving Parties’ Response

 23             No Response as Paragraph 231 is undisputed.
 24    232. The Covenant and Environmental             Response: Disputed as incomplete.
 25    Restriction approved by and for the
       benefit of the Regional Board stated as         Evidence: The cited document states
 26    follows: “Chlorinated solvent                   that the Regional Board “has
 27    compounds present in the groundwater            determined that the [Patsouras]
       beneath the Site appear to be consistent        Property is not suitable for unrestricted
 28
                                                                 MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       with the site area regional chlorinated        use and that a land use restriction is
  4
       solvent impacts; no dissolved or free          necessary for the protection of present
  5    phase total petroleum hydrocarbons             or future human health, safety, or the
       have been detected in the groundwater.”        environment as a result of the presence
  6
                                                      of hazardous materials as defined in
  7    Supporting Evidence: Id.                       Section 25260 of the Health and Safety
                                                      Code in the soil, soil gas, and
  8
                                                      groundwater at the [Patsouras]
  9                                                   Property.” Wick Decl., Ex. I at 1
                                                      (Covenant and Environmental
 10
                                                      Restriction on Property recorded Oct.
 11                                                   12, 2016). This Covenant also notes
                                                      that both PCE and TCE have been
 12
                                                      found in groundwater sampling on the
 13                                                   property. Id. at 3. In fact, it states that
 14                                                   PCE was found in the groundwater at
                                                      the level of 18.2 ug/L, more that three
 15                                                   times higher than that allowed by the
 16                                                   California Maximum Contaminant
                                                      Level of 5 ug/L. Id.
 17
       232. Moving Parties’ Response
 18
 19          Plaintiffs’ do not dispute that the quoted statement from the Covenant and
       Environmental Restriction is in the document. Instead, they add additional
 20    statements from the document. Thus, Plaintiffs’ “disputed” response is without
 21    merit. Moving Parties cite an accurate excerpt from the Covenant and
       Environmental Restriction approved by the Regional Water Quality Control
 22    Board. Plaintiffs insert extraneous and irrelevant additional information to
 23    confuse and mislead the Court. These additional statements should be stricken.
       The Court should disregard Plaintiffs’ assertion that this fact is disputed.
 24
       233. On October 12, 2016, the                  Response: Undisputed.
 25
       Covenant and Environmental
 26    Restriction was recorded in the Official
       Records of the Los Angeles County
 27
       Recorder’s Office.
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       Supporting Evidence: Id.
  4
  5
       233. Moving Parties’ Response
  6
                No Response as Paragraph 233 is undisputed.
  7
  8    234. On Jan. 4, 2017, the Regional             Response: Undisputed but immaterial.
       Board issued a “No Further Action”
  9    Letter to Kekropia for the Patsouras      Evidence: While it is uncontroverted
 10    Property.                                 that the referenced letter was sent to
                                                 Kekropia, the Regional Board limited
 11    Supporting Evidence: Los Angeles          the findings that it made. Specifically,
 12    Regional Water Quality Board Letter,      the referenced letter states: “Please note
       Jan. 4, 2017; Ex. B to the Declaration of that by issuing this NFA letter, the
 13    William D. Wick                           Regional Board has not made a
 14                                              determination as to whether discharges
                                                 of waste to regional groundwater
 15                                              occurred as a result of historical
 16                                              activities at the Site.” Valenzuela Decl.,
                                                 Ex. 16, at 176 (Los Angeles Regional
 17                                              Water Quality Board Letter, Jan. 4,
 18                                              2017, at 3).
 19
 20    234. Moving Parties’ Response

 21           Plaintiffs’ response is without merit. This is a statement of the Regional
       Board’s action. The evidence stands that the Regional Water Quality Control
 22
       Board issued a “No Further Action” letter for the Patsouras Property and
 23    instructed the property owner to remove the monitoring wells on the site
       indicating that it did not expect any further investigation or remediation at the
 24
       Property. Plaintiffs insert extraneous and irrelevant statements to confuse the
 25    Court and the additional statement should be stricken.
 26    235. The Regional Board concluded              Response: Undisputed but immaterial.
 27    that the activities at the Patsouras
       Property resulted “in the cleanup or
 28
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       abatement of wastes to assure                   Evidence: CH2M Hill also concluded
  4
       protection of human health and the              that “because [OU-2] flows under a
  5    waters of the State at and near the Site        densely developed commercial –
       for their beneficial use.”                      industrial area, there are additional
  6
                                                       facilities whose releases of hazardous
  7    Supporting Evidence: Id. at p.3.                substances have reached groundwater
                                                       and become commingled with the
  8
                                                       Omega contamination.” Hagstrom
  9                                                    Decl., Dkt. 902-47, Ex. A, at 6 (CH2M
                                                       HILL, Final Remediation
 10
                                                       Investigation/Feasibility Study Reports,
 11                                                    Aug. 2010, at 8-4).
 12
 13
 14    235. Moving Parties’ Response
 15           Plaintiffs’ response is without merit and is irrelevant. This is a statement of
 16    the Regional Board’s conclusion. The evidence stands that the Regional Board
       reached a conclusion that cleanup and abatement has occurred at the Patsouras
 17    Property to assure protection of human health and the waters of the State.
 18    Plaintiffs insert extraneous and irrelevant statements to confuse the Court and the
       additional statement should be stricken.
 19
       236. The Regional Board determined              Response: Undisputed.
 20    that there was no reason to monitor
 21    groundwater at the Property and
       required Kekropia to decommission,
 22
       abandon, and destroy all monitoring
 23    wells on the Property.
 24
       Supporting Evidence: Id.
 25
 26    236. Moving Parties’ Response
 27
                No Response as Paragraph 236 is undisputed.
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       237. EPA’s consultant, CH2M Hill,               Response: Undisputed, but immaterial.
  4
       concluded that the former Omega
  5    Chemical facility is the main source of         Evidence: CH2M Hill also concluded
       groundwater contamination at OU2.               that “because [OU-2] flows under a
  6
                                                       densely developed commercial –
  7    Supporting Evidence: Final                      industrial area, there are additional
       Remediation Investigation/Feasibility           facilities whose releases of hazardous
  8
       Study Reports Omega Chemical                    substances have reached groundwater
  9    Corporation Superfund Site Operable             and become commingled with the
       Unit 2 Los Angeles County, California,          Omega contamination. Hagstrom Decl.,
 10
       Volume 1, CH2M HILL, Aug. 2010, §               Dkt. 902-47, Ex. A, at 6 (CH2M HILL,
 11    8.1.2, p. 8-4; Ex. J to the Declaration of      Final Remediation Investigation
       William D. Wick                                 /Feasibility Study Reports, Aug. 2010).
 12
 13
       237. Moving Parties’ Response
 14
 15           This is a statement of EPA’s consultant’s conclusion. Plaintiffs’ response
       and additional supporting evidence is non-responsive to the evidence provided by
 16    the moving party. The evidence stands that EPA’s consultant has concluded that
 17    the Omega Facility is the main source of groundwater contamination at OU-2.
       Plaintiffs cannot dispute this, so they respond with additional, irrelevant
 18    statements that should be disregarded and stricken by the Court.
 19    238. The Final Remedial Investigation Response: Undisputed but immaterial.
 20    Report by the US EPA environmental
       consultant, CH2M Hill, identified
 21
       properties located over the OU-2
 22    groundwater plume which were sources
       of chlorinated VOCs (PCE, TCE, 1,1,-
 23
       DCE) to groundwater, but did not not
 24    identify the Patsouras Property as an
       on-going or historical source of these
 25
       VOCs to the groundwater.
 26
       Supporting Evidence: Id., § 5.5, pp. 5-
 27
       12 to 5-30.
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4    238. Moving Parties’ Response
  5
             This evidence is not immaterial. EPA’s own consultant did not include the
  6    Patsouras Property as an on-going or historical source of VOCs to the OU-2
       groundwater. This fact does not become immaterial simply because Plaintiffs
  7
       deem it so.
  8
       239. The Final Remedial Investigation Response: Undisputed.
  9    Report by the US EPA environmental
 10    consultant, CH2M Hill, identified
       properties located over the OU-2
 11    groundwater plume which were sources
 12    of non-chlorinated VOCs to
       groundwater, but did not identify the
 13    Patsouras Property as an on-going or
 14    historical source of these VOCs to the
       groundwater.
 15
 16    Supporting Evidence: Id., § 5.5, pp. 5-
       12 to 5-30.
 17
 18
       239. Moving Parties’ Response
 19
                No Response as Paragraph 239 is undisputed.
 20
 21    240. From 1994 through 2010, at least          Response: Disputed.
       123 soil samples were taken on the
 22    West Parcel of the Patsouras Property.   Evidence: This statement is supported
 23                                             solely by the report of Defendants’
       Supporting Evidence: Expert Report of “expert,” Dr. J. Kulla. However, Dr.
 24    Dr. Jean Kulla; Ex. K to the Declaration Kulla’s opinions are unreliable, as she
 25    of William D. Wick                       appears not to be aware of, or have
                                                evaluated, critical facts that might have
 26                                             informed her opinion. She testified that
 27                                             she knew PCE and TCE were in the
                                                soil at the Patsouras Property, but she
 28
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
                                                               STATEMENT OF GENUINE DISPUTES
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          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                      does not know how those substances
  4
                                                      came to be located in the soil or ever
  5                                                   analyzed this issue. See Valenzuela
                                                      Decl., Ex. 15, at 156-158 (J. Kulla Dep.
  6
                                                      Tr. at 69:24-70:11; 72:11-21). She did
  7                                                   not even analyze whether
                                                      contamination from historic Palley site
  8
                                                      operations may have contributed VOCs
  9                                                   to OU-2 Groundwater contamination or
                                                      whether Globe Oil released hazardous
 10
                                                      substances on the Patsouras property.
 11                                                   Id., at 152-153,_167 (J. Kulla, Dep. Tr.
                                                      at 50:17-51:2; 83:11-23).
 12
 13                                                   Dr. Kulla was similarly
 14                                                   unknowledgeable about Globe Oil’s
                                                      operations. She did not know how
 15                                                   Globe handled waste water or what was
 16                                                   in it. Id., at 150-151 (J. Kulla, Dep. Tr.
                                                      at 46:12-20; 49:11-13). Dr. Kulla also
 17                                                   believed that Globe Oil operated at the
 18                                                   property for only four years, from 1968
                                                      to 1972. Id., at 146 (J. Kulla, Dep. Tr.
 19                                                   at 37:3-9). She did not know that Globe
 20                                                   Oil had been operating at the property
                                                      for over thirty years. See Plaintiffs’
 21                                                   response to Defendants’ statement
 22                                                   #206, which is incorporated herein by
                                                      reference. Such holes in Dr. Kulla’s
 23                                                   knowledge of the property leads her to
 24                                                   flawed and unreliable conclusions.

 25
       240. Moving Parties’ Response
 26
 27          Plaintiffs’ “Evidence” is non-responsive to the uncontroverted fact stated in
       Paragraph 240 which refers to factual data regarding the number of soil samples
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
                                                                 STATEMENT OF GENUINE DISPUTES
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  1
          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       taken at the Patsouras Property. Plaintiffs’ response and the extraneous
  4
       statements are irrelevant to this fact, are confusing, misleading and should be
  5    disregarded and stricken by the Court. The Court should disregard Plaintiffs’
       assertion that this fact is disputed.
  6
  7    241. No PCE, TCE, chloroform, or 1-            Response: Disputed.
       1-dichloroethene were detected in any
  8    of the 123 soil samples taken on the           Evidence: As stated in the responses
  9    West Parcel between 1994 and 2010.             to #223 and #224 (which are
                                                      incorporated herein), testing performed
 10    Supporting Evidence: Id.                       at the Property was inadequate and,
 11                                                   largely, did not test for VOCs or
                                                      hexavalent chromium. Though
 12                                                   insufficient, testing at the B-7 and E-9
 13                                                   borings found PCE and TCE. Mutch
                                                      Report, Jan. 14, 2021, at 7-9 to 7-14.
 14                                                   The data indicates that PCE and TCE
 15                                                   were transported through the vadose
                                                      zone to the historic elevation of the
 16                                                   groundwater table and impacted the
 17                                                   groundwater. Id. Any tests that are
                                                      claimed not to have shown the presence
 18                                                   of TCE, PCE, hexavalent chromium or
 19                                                   other VOCs, did not test for these
                                                      substances—despite evidence of
 20                                                   significant releases of hazardous
 21                                                   substances to the soil of the Property.
                                                      Id.
 22
 23                                                   Further, the sole basis of this statement
                                                      is an opinion of Dr. Kulla, whose lack
 24
                                                      of information about the property and
 25                                                   its historic uses causes her opinions to
                                                      be flawed and unreliable, as set out in
 26
                                                      Plaintiffs’ response to Defendants’
 27                                                   statement # 240 which is incorporated
                                                      herein by reference.
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
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  1
          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4
  5    241. Moving Parties’ Response
  6           Paragraph 241 states a simple factual statement based on actual data.
       Plaintiffs cannot dispute this so they include non-responsive and irrelevant
  7
       statements regarding the adequacy of testing at the Patsouras Property and
  8    improperly call in to question Dr. Kulla’s opinions. In fact, this is not an opinion
       of Dr. Kulla’s but a factual statement based on data which Plaintiffs cannot
  9
       dispute.
 10
              Moving Parties also include their response to Paragraphs 223, 224 and 240
 11    as though incorporated herein. The Court should disregard Plaintiffs’ assertion
 12    that this fact is disputed.
 13    242. CAM metals in soils, including             Response: Disputed.
 14    total chromium, were within
       background levels for regional soils            Evidence: Dr. Kulla opines that 71.1
 15    (i.e., within the range of concentrations       mg/kc for total chromium is only
 16    normally found in natural,                      “slightly above background levels”—
       uncontaminated soil) in all of the 123          though she never says what the
 17    samples taken on the West Parcel                “background levels” are. See Jean B.
 18    between 1994 and 2010.                          Kulla, Expert Opinion on the Patsouras
                                                       Property (“Kulla Report”), at 3.
 19    Supporting Evidence: Id.                        According to the U.S. Geological
 20                                                    Survey, background levels of total
                                                       chromium roughly range from 30 to 36
 21                                                    mg/kg. See Smith, D.B. et al.,
 22                                                    U.S.G,.S., Geochemical and
                                                       Mineralogical Data for Soils of the
 23                                                    Conterminous United States: U.S.
 24                                                    Geological Survey Data Series 801, 19.
                                                       Defendant’s consultant reported
 25                                                    background levels of total chromium at
 26                                                    and near defendant Phibro-Tech, Inc.’s
                                                       facility were 20 to 24 mg/kg. See
 27                                                    Cohen Decl., Ex. 18, at 343_ (Camp
 28                                                    Dresser & McKee Inc., RCRA Facility
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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  1
          MOVING DEFENDANTS’
                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                    Investigation Phase II Report, Apr. 23,
  4
                                                    1993, Table 4-1). It reports background
  5                                                 levels of hexavalent chromium at and
                                                    near its facility range from 1 to 2
  6
                                                    mg/kg. Id.
  7
                                                    Additionally, such a determination is
  8
                                                    impossible to make due to the
  9                                                 inadequate testing and investigation of
                                                    hazardous substances in the soil, as set
 10
                                                    out in Plaintiffs’ responses to
 11                                                 Defendant’s statements ## 223-224
                                                    which are incorporated herein by
 12
                                                    reference.
 13
 14                                                 Patsouras’ expert misstates the
                                                    background levels for arsenic. Kulla
 15                                                 contends that the level of arsenic which
 16                                                 is “characteristic of background for
                                                    regional soils” is 55 mg/kg. See Kulla
 17                                                 Report, at 3. According to the
 18                                                 California Department of Toxic
                                                    Substances Control, the background
 19                                                 level for arsenic is several times lower,
 20                                                 namely, 12 mg/kg. See G. Chernoff et
                                                    al., Dept. of Toxic Substances Control,
 21                                                 Determination of a Southern California
 22                                                 Regional Background Arsenic
                                                    Concentration in Soil, at 1. The ESL for
 23                                                 arsenic in soil was exceeded at several
 24                                                 locations at the Property from 2 feet to
                                                    35 feet bgs, which is indicative of
 25                                                 release of arsenic from operations on
 26                                                 the Property to the subsurface. Id. at 7-
                                                    13. Because of the inadequacy and
 27                                                 sparseness of the monitoring well
 28                                                 network at the Property, arsenic
                                                             MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                      impacts to groundwater may not be
  4
                                                      identifiable. Id. at 7-14.
  5
                                                      Soil gas concentrations in excess of soil
  6
                                                      gas ESL values were noted for PCE and
  7                                                   TCE. See Valenzuela Decl., Ex. 9, at
                                                      82, 89-93 (Environmental Audit, Inc.,
  8
                                                      Summary of Site Assessments, Mar.
  9                                                   2009, at 11 & Tables 8, 9); Mutch
                                                      Report, Jan. 14, 2021, Table 7-6.
 10
                                                      Sampling of soil vapor shows a pattern
 11                                                   of elevated concentrations of soil gas
                                                      PCE, as well as other chlorinated VOCs
 12
                                                      such as TCE (a daughter product of
 13                                                   PCE), that are localized in a part of the
 14                                                   Property with high PCE soil levels,
                                                      signifying a definitive onsite source of
 15                                                   these hazardous substances. Mutch
 16                                                   Report, Jan. 14, 2021, at 7-17 to 7-18.

 17                                                   Further, the sole basis of this statement
 18                                                   is an opinion of Dr. Kulla, whose lack
                                                      of information about the property and
 19                                                   its historic uses causes her opinions to
 20                                                   be flawed and unreliable, as set out in
                                                      Plaintiffs’ response to Defendants’
 21                                                   statement # 240 which is incorporated
 22                                                   herein by reference.

 23
       242. Moving Parties’ Response
 24
 25           The Regional Water Quality Control Board determined that metals in soils
       at the Property were within background levels and chromium and arsenic were
 26    dropped as contaminants of concern.
 27
                Chromium concentrations in all samples were within the background
 28
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       concentration levels normally found in uncontaminated soil, except for one
  4
       sample. That one outlier sample was found at two feet and was only slightly
  5    above the background level. Moreover, because the heavy petroleum residues in
       Property soil have rendered the soil anoxic, the resulting reducing conditions
  6
       convert any hexavalent chromium into trivalent chromium (a harmless substance
  7    consumed safely and often by humans). Wick Decl., Exh. C (Dr. Kulla Rebuttal
       of Mutch Expert Report at 7).
  8
  9          The arsenic concentrations found in the soil were within background levels
       for regional soils as well. EAI so concluded, using the EPA-approved software to
 10
       determine that the 95% confidence level for arsenic detected in soil at the
 11    Property was 12.99 mg/kg, which “is very close to (within the range of) the 12
       mg/kg background concentration determined acceptable by DTSC for LAUSD
 12
       school sites, one of DTSC’s most sensitive (restrictive) land uses.” (Wick Decl.,
 13    Exh. B, excerpt from EAI, 2010 Updated Site Conceptual Model,
 14    PTDS00024525-26.)

 15           These facts are undisputed and Plaintiffs’ response should be stricken.
       Plaintiffs’ response about PCE is immaterial to this material fact, which is only
 16    about metals.
 17
       243. From 1994 through 2010, at least Response: Undisputed.
 18    137 soil samples were taken on the East
 19    Parcel of the Patsouras Property.

 20    Supporting Evidence: Id.
 21
 22    243. Moving Parties’ Response
 23             No Response as Paragraph 243 is undisputed.
 24
       244. PCE and TCE were detected in              Response: Disputed.
 25    only a couple of soil samples at very
       low concentrations in the 137 soil             Evidence: As stated in the responses to
 26
       samples taken on the East Parcel               ## 223-224 and 241-242, testing
 27    between 1994 and 2010.                         performed at the Property was
                                                      inadequate and, largely, did not test for
 28
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
                                                                STATEMENT OF GENUINE DISPUTES
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          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       Supporting Evidence: Id.                       VOCs or hexavalent chromium. For
  4
                                                      sake of brevity, Plaintiffs incorporate
  5                                                   by reference their responses to ## 223-
                                                      224 and 241-242, as though set forth
  6
                                                      fully herein.
  7
                                                      Further, the sole basis of this statement
  8
                                                      is an opinion of Dr. Kulla, whose lack
  9                                                   of information about the property and
                                                      its historic uses causes her opinions to
 10
                                                      be flawed and unreliable, as set out in
 11                                                   Plaintiffs’ response to Defendants’
                                                      statement # 240 which is incorporated
 12
                                                      herein by reference.
 13
       244. Moving Parties’ Response
 14
 15           Plaintiffs’ response is not responsive to Paragraph 244. Paragraph 244 is a
       statement of fact based on data about PCE and TCE in Property soil samples.
 16    Plaintiffs do not dispute the factual statement in their response. Plaintiffs’
 17    response about extraneous issues should be stricken.

 18          Moving Parties incorporate their responses to Paragraphs 223-224 and 241-
       242 herein. The Court should disregard Plaintiffs’ assertion that this fact is
 19    disputed.
 20
       245. The maximum concentration of              Response: Disputed.
 21    PCE was 0.51 mg/kg and of TCE was
 22    0.27 mg/kg in the 137 soil samples             Evidence: As stated in the responses to
       taken on the East Parcel between 1994          ## 223-224 and 241-242 and 244,
 23    and 2010.                                      testing performed at the Property was
 24                                                   inadequate and, largely, did not test for
       Supporting Evidence: Id.                       VOCs or hexavalent chromium. For
 25                                                   sake of brevity, Plaintiffs incorporate
 26                                                   by reference their responses to ## 223-
                                                      224 and 241-242, and 244 as though set
 27                                                   forth fully herein.
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                       Further, the sole basis of this statement
  4
                                                       is an opinion of Dr. Kulla, whose lack
  5                                                    of information about the property and
                                                       its historic uses causes her opinions to
  6
                                                       be flawed and unreliable, as set out in
  7                                                    Plaintiffs’ response to Defendants’
                                                       statement # 240 which is incorporated
  8
                                                       herein by reference.
  9
 10    245. Moving Parties’ Response
 11
              Plaintiffs’ response is not responsive to Paragraph 245. Paragraph 245 is a
 12    statement of fact based on data about the maximum concentrations of PCE and
 13    TCE detected in Property soil samples. Plaintiffs do not dispute the factual
       statement in their response. Plaintiffs’ response about extraneous issues should
 14    be stricken.
 15          Moving Parties incorporate their responses to Paragraphs 223-224 and 241-
 16    242 herein. The Court should disregard Plaintiffs’ assertion that this fact is
       disputed.
 17
 18    246. No chloroform or 1,1-                      Response: Undisputed.
       dichloroethene (1,1-DCE) were
 19    detected in the 137 soil samples taken
 20    on the East Parcel between 1994 and
       2010.
 21
 22    Supporting Evidence: Id.

 23
       246. Moving Parties’ Response
 24
 25             No Response as Paragraph 246 is undisputed.
 26    247. CAM metals in soils were within            Response: Undisputed.
       background levels for regional soils
 27
       (i.e., within the range of concentrations
 28
                                                                 MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       normally found in natural,
  4
       uncontaminated soil) in all of the 137
  5    samples taken on the East Parcel
       between 1994 and 2010, with the
  6
       exception of one chromium sample
  7    slightly above background levels (71.1.
       mg/kg) found at two feet below ground
  8
       surface and lead found in some
  9    stockpiled soil.
 10
       Supporting Evidence: Id.
 11
 12    247. Moving Parties’ Response
 13
                No Response as Paragraph 247 is undisputed.
 14
       248. Methylene chloride (8.27 mg/kg),          Response: Disputed.
 15    naphthalene (4.31 mg/kg), and lead
 16    (51,600 mg/kg) were found in one
       stockpiled soil sample, and the                Evidence: The sole basis of this
 17    stockpiled soil has been removed from          statement is an opinion of Dr. Kulla,
 18    the Property.                                  whose lack of information about the
                                                      property and its historic uses causes her
 19    Supporting Evidence: Id.                       opinions to be flawed and unreliable, as
 20                                                   set out in Plaintiffs’ response to
                                                      Defendants’ statement # 240 which is
 21
                                                      incorporated herein by reference.
 22
 23    248. Moving Parties’ Response
 24
             Plaintiffs’ response is wholly non-responsive to the uncontroverted fact and
 25    supporting evidence in Paragraph 248. Paragraph 248 simply provides a factual
       statement based on actual data. Plaintiffs’ statement that this fact is based solely
 26
       on Dr. Kulla’s opinion is incorrect and baseless. Plaintiffs cannot credibly
 27    dispute this fact. The Court should disregard Plaintiffs’ assertion that this fact is
 28
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       disputed.
  4
  5    249. There is no evidence that the very Response: Disputed.
       low concentrations of PCE, TCE or
  6    other hazardous substances found in
  7    soil have migrated at least 35 feet to the Evidence: Such a determination is
       OU-2 groundwater.                          impossible to make due to the
  8                                               inadequate testing and investigation of
  9    Supporting Evidence: Id.                   hazardous substances in the soil, as set
                                                  out in Plaintiffs’ responses to
 10                                               Defendant’s statements ## 223-224
 11                                               which are incorporated herein by
                                                  reference.
 12
 13                                                    Further, the sole basis of this statement
                                                       is an opinion of Dr. Kulla, whose lack
 14                                                    of information about the property and
 15                                                    its historic uses causes her opinions to
                                                       be flawed and unreliable, as set out in
 16                                                    Plaintiffs’ response to Defendants’
 17                                                    statement # 240 which is incorporated
                                                       herein by reference.
 18
 19
       249. Moving Parties’ Response
 20
             Plaintiffs’ response to uncontroverted fact is without merit and non-
 21
       responsive this fact. Testing and data at the Patsouras Property supports the fact
 22    in Paragraph 249. Further, Plaintiffs’ statements regarding the validity of Dr.
       Kulla’s opinions is without merit.
 23
 24          Moving Parties incorporate their responses to Paragraphs 223-224 and 240
       herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
 25
       250. Groundwater monitoring was                 Response: Disputed.
 26
       performed on the Property from 1995
 27    through 2013 for petroleum                      Evidence: Such a determination is
       hydrocarbons, VOCs, and metals.                 impossible to make due to the
 28
                                                                 MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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          MOVING DEFENDANTS’
                                                       PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                         SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                     inadequate testing and investigation of
  4
       Supporting Evidence: Id.                      hazardous substances in the soil, as set
  5                                                  out in Plaintiffs’ responses to
                                                     Defendant’s statements ## 223-224
  6
                                                     which are incorporated herein by
  7                                                  reference.
  8
                                                     Further, the sole basis of this statement
  9                                                  is an opinion of Dr. Kulla, whose lack
                                                     of information about the property and
 10
                                                     its historic uses causes her opinions to
 11                                                  be flawed and unreliable, as set out in
                                                     Plaintiffs’ response to Defendants’
 12
                                                     statement # 240 which is incorporated
 13                                                  herein by reference.
 14
 15    250. Moving Parties’ Response
 16           Plaintiffs’ response and supporting “evidence” is wholly meritless.
 17    Paragraph 250 states the simple fact that groundwater monitoring was performed
       on the Patsouras Property in a certain date range. Plaintiffs do not dispute that
 18    fact. Plaintiffs’ “dispute” is without merit and should not be considered by the
 19    Court.

 20          Moving Parties incorporate their response to Paragraph 240 herein. The
       Court should disregard Plaintiffs’ assertion that this fact is disputed.
 21
 22    251. No petroleum hydrocarbon                 Response: Disputed.
       compounds have been found in
 23    groundwater beneath the Property even         Evidence: Such a determination is
 24    though petroleum hydrocarbons were            impossible to make due to the
       detected in Property soil.                    inadequate testing and investigation of
 25                                                  hazardous substances in the soil, as set
 26    Supporting Evidence: Id.                      out in Plaintiffs’ responses to
                                                     Defendant’s statements ## 223-224
 27                                                  which are incorporated herein by
 28                                                  reference.
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1              Exhibit A
                                                                STATEMENT OF GENUINE DISPUTES
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  1
          MOVING DEFENDANTS’
                                                        PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                          SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE

  4
                                                      Further, the sole basis of this statement
  5                                                   is an opinion of Dr. Kulla, whose lack
                                                      of information about the property and
  6
                                                      its historic uses causes her opinions to
  7                                                   be flawed and unreliable, as set out in
                                                      Plaintiffs’ response to Defendants’
  8
                                                      statement # 240 which is incorporated
  9                                                   herein by reference.
 10
 11    251. Moving Parties’ Response
 12          Plaintiffs’ response and supporting “evidence” is wholly meritless.
 13    Paragraph 251 states the simple fact that no petroleum hydrocarbon compounds
       have been found in groundwater beneath the Patsouras Property. This is a fact
 14    based on data that Plaintiffs cannot dispute and do not actually dispute in their
 15    response. Plaintiffs’ “dispute” is without merit and should not be considered by
       the Court.
 16
             Moving Parties incorporate their response to Paragraph 240 herein. The
 17    Court should disregard Plaintiffs’ assertion that this fact is disputed.
 18
       252. Toluene and xylene were detected          Response: Undisputed.
 19    in only trace amounts (below their
 20    respective Maximum Contaminant
       Levels) only in one well in one
 21    sampling episode.
 22
       Supporting Evidence: Id.
 23
 24
       252. Moving Parties’ Response
 25
                No Response as Paragraph 252 is undisputed.
 26
       253. All metals detected in                    Response: Disputed.
 27
       groundwater were below their
 28
                                                                MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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          MOVING DEFENDANTS’
                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       respective MCLs, including arsenic and
  4
       hexavalent chromium, with the                Evidence: Despite minimal
  5    exception of one sample of 11.8 ug/L         investigations on the Property, the data
       hexavalent chromium (slightly above          that was obtained reveals the extent of
  6
       the 10 ug/L conservative MCL used by         groundwater contamination. Mutch
  7    California).                                 Report, at 7-14. PCE was found in
                                                    monitoring wells in the vicinity of the
  8
       Supporting Evidence: Id.                     clarifiers, where vadose zone soil
  9                                                 samples showed penetration of PCE to
                                                    the depth of the groundwater table. Id.
 10
                                                    This indicates a contribution of PCE to
 11                                                 groundwater from the Property. Id.
                                                    Additionally, some higher levels of
 12
                                                    hexavalent chromium were found in
 13                                                 MW-1, MW-1D, and MW-3 in the
 14                                                 middle of the Property near the
                                                    clarifiers than in MW-2, establishing
 15                                                 releases of hexavalent chromium from
 16                                                 the clarifiers, resulting in groundwater
                                                    contamination. Id. at 7-14 and 7-17.
 17                                                 TCE, a “daughter” product of PCE, is
 18                                                 found in concentrations higher in MW-
                                                    1D, MW-3, and MW-4 than in MW-2.
 19                                                 Id. at 7-17. Concentrations exceeding
 20                                                 groundwater ESLs were measured for
                                                    1,1-dichloroethene, carbon
 21                                                 tetrachloride, chloroform,
 22                                                 tetrachloroethene (PCE), trans-1,2-
                                                    dichloroethene, trichloroethene (TCE),
 23                                                 chromium (total), chromium VI, nickel,
 24                                                 and vanadium. Id.

 25                                                 Further, the sole basis of this statement
 26                                                 is an opinion of Dr. Kulla, whose lack
                                                    of information about the property and
 27                                                 its historic uses causes her opinions to
 28                                                 be flawed and unreliable, as set out in
                                                              MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1             Exhibit A
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  1
          MOVING DEFENDANTS’
                                                           PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                             SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                         Plaintiffs’ response to Defendants’
  4
                                                         statement # 240 which is incorporated
  5                                                      herein by reference.
  6
  7    253. Moving Parties’ Response
  8           Plaintiffs’ response does not rebut the data that supports the fact stated in
       Paragraph 253. Paragraph 253 is a statement of fact based on data about metals
  9
       in groundwater. Plaintiffs’ response and supporting “evidence” is wholly
 10    meritless as it focuses on PCE, which is not a metal and has nothing to do with
 11    the facts in 253, and should be disregarded by the Court. The Court should strike
       Plaintiffs’ response and disregard Plaintiffs’ assertion that this fact is disputed.
 12
       254. The predominant VOC                          Response: Disputed.
 13    contaminants found in the OU-2
 14    groundwater underlying the Property at            Evidence: Such a determination is
       concentrations above their respective             impossible to make due to the
 15    MCLs were carbon tetrachloride (CT),              inadequate testing and investigation of
 16    PCE, and TCE. Other volatiles,                    hazardous substances in the soil, as set
       including chloroform and 1,1-DCE,                 out in Plaintiffs’ responses to
 17    were below their MCLs.                            Defendant’s statements ## 223-224
 18                                                      which are incorporated herein by
       Supporting Evidence: Id.                          reference.
 19
 20                                                      Further, the sole basis of this statement
                                                         is an opinion of Dr. Kulla, whose lack
 21
                                                         of information about the property and
 22                                                      its historic uses causes her opinions to
                                                         be flawed and unreliable, as set out in
 23
                                                         Plaintiffs’ response to Defendants’
 24                                                      statement # 240 which is incorporated
                                                         herein by reference.
 25
 26
       254. Moving Parties’ Response
 27
                Plaintiffs’ response does not rebut the data that supports the fact stated in
 28
                                                                   MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                  Exhibit A
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  1
          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       Paragraph 254. Plaintiffs’ response and supporting “evidence” is wholly
  4
       meritless and should be disregarded by the Court.
  5
             Moving Parties incorporate their responses to Paragraphs 223-224 and 240
  6    herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
  7
       255. A significant line of evidence in          Response: Undisputed.
  8    evaluating whether a property is a
       source of hazardous substances to
  9
       groundwater is a comparison of the
 10    concentrations of a chemical in an
 11    upgradient well with the concentrations
       in an on-property well.
 12
 13    Supporting Evidence: Id.

 14
       255. Moving Parties’ Response
 15
 16             No Response as Paragraph 255 is undisputed.

 17    256. The concentrations of carbon        Response: Undisputed.
       tetrachloride (CT) in wells upgradient
 18
       of the Patsouras Property were greater
 19    than or similar to the concentrations in
       wells on the Property in all samples in
 20
       the groundwater sampling from 2009-
 21    2013, except for a single sample of 10.4
       ug/L in 2013.
 22
 23    Supporting Evidence: Id.
 24
 25    256. Moving Parties’ Response
 26             No Response as Paragraph 256 is undisputed.
 27    257. The concentrations of PCE in               Response: Disputed.
 28    wells upgradient of the Patsouras
                                                               MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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  1
          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       Property were greater than or similar to        Evidence: Such a determination is
  4
       the concentrations in wells on the              impossible to make due to the
  5    Property in all samples in the                  inadequate testing and investigation of
       groundwater sampling from 2009-2013,            hazardous substances in the soil, as set
  6
       except for a single sample of 18.2 ug/L         out in Plaintiffs’ responses to
  7    in 2013.                                        Defendant’s statements ## 223-224
                                                       which are incorporated herein by
  8
       Supporting Evidence: Id.                        reference. Further, the sole basis of this
  9                                                    statement is an opinion of Dr. Kulla,
                                                       whose lack of information about the
 10
                                                       property and its historic uses causes her
 11                                                    opinions to be flawed and unreliable, as
                                                       set out in Plaintiffs’ response to
 12
                                                       Defendants’ statement # 240 which is
 13                                                    incorporated herein by reference.
 14
 15    257. Moving Parties’ Response
 16          Plaintiffs’ response does not rebut the data that supports the fact stated in
 17    Paragraph 257. Plaintiffs’ response and supporting “evidence” is wholly
       meritless and should be disregarded by the Court.
 18
             Moving Parties incorporate their responses to Paragraphs 223-224 and 240
 19    herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
 20
       258. The concentrations of TCE in               Response: Disputed.
 21    wells upgradient of the Patsouras
       Property were greater than or similar to        Evidence: Such a determination is
 22
       the concentrations in wells on the              impossible to make due to the
 23    Property in all samples in the                  inadequate testing and investigation of
       groundwater sampling from 2009-2013,            hazardous substances in the soil, as set
 24
       except for a single sample of 21.7 ug/L         out in Plaintiffs’ responses to
 25    in 2012.                                        Defendant’s statements ## 223-224
                                                       which are incorporated herein by
 26
       Supporting Evidence: Id.                        reference.
 27
 28
                                                                 MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                Exhibit A
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  1
          MOVING DEFENDANTS’
                                                         PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                           SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                       Further, the sole basis of this statement
  4
                                                       is an opinion of Dr. Kulla, whose lack
  5                                                    of information about the property and
                                                       its historic uses causes her opinions to
  6
                                                       be flawed and unreliable, as set out in
  7                                                    Plaintiffs’ response to Defendants’
                                                       statement # 240 which is incorporated
  8
                                                       herein by reference.
  9
 10    258. Moving Parties’ Response
 11
             Plaintiffs’ response does not rebut the data that supports the fact stated in
 12    Paragraph 258. Plaintiffs’ response and supporting “evidence” is wholly
 13    meritless and should be disregarded by the Court.

 14          Moving Parties incorporate their responses to Paragraphs 223-224 and 240
       herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
 15
 16    259. In 2009, a soil gas vapor survey           Response: Undisputed.
       was conducted on the West Parcel of
 17    the Property at depths of 5 and 15 feet
 18    below ground surface.

 19    Supporting Evidence: Id.
 20
 21    259. Moving Parties’ Response
 22             No Response as Paragraph 259 is undisputed.
 23
       260. The results of the 2009 soil gas           Response: Disputed.
 24    vapor survey showed only very minor
       amounts of PCE and TCE in soil gas,             Evidence: Such a determination is
 25
       with the lowest concentrations found in         impossible to make due to the
 26    the shallow 5-foot samples relative to          inadequate testing and investigation of
       higher concentrations in the deeper 15-         hazardous substances in the soil, as set
 27
       foot samples.                                   out in Plaintiffs’ responses to
 28
                                                                 MOVING DEFENDANTS’ RESPONSE TO
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  1
          MOVING DEFENDANTS’
                                                           PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                             SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
                                                         Defendant’s statements ## 223-224
  4
       Supporting Evidence: Id.                          which are incorporated herein by
  5                                                      reference.
  6
                                                         Further, the sole basis of this statement
  7                                                      is an opinion of Dr. Kulla, whose lack
                                                         of information about the property and
  8
                                                         its historic uses causes her opinions to
  9                                                      be flawed and unreliable, as set out in
                                                         Plaintiffs’ response to Defendants’
 10
                                                         statement # 240 which is incorporated
 11                                                      herein by reference.
 12
 13    260. Moving Parties’ Response
 14          Plaintiffs’ response does not rebut the data that supports the fact stated in
 15    Paragraph 260. Plaintiffs’ response and supporting “evidence” is wholly
       meritless and should be disregarded by the Court.
 16
             Moving Parties incorporate their responses to Paragraphs 223-224 and 240
 17    herein. The Court should disregard Plaintiffs’ assertion that this fact is disputed.
 18
       261. The data indicate that PCE, TCE,             Response: Disputed.
 19    and other minor VOCs are volatilizing
 20    off the OU-2 groundwater plume due to             Evidence: The spatial distribution of
       an upward diffusion process governed              the PCE and TCE soil gas
 21    by Fick’s law.                                    contamination, along with the shallow
 22                                                      soil contamination, indicates that the
       Supporting Evidence: EAI, 2010, at 17-            PCE and TCE came from releases on
 23    18; Ex. D and Ex. K to the Declaration            the Property and not from off-gassing
 24    of William D. Wick                                from the underlying groundwater.
                                                         Mutch Report, at 7-14 to 7-17.
 25
 26
       261. Moving Parties’ Response
 27
                Plaintiffs’ “evidence” is support its dispute against Paragraph 261 is
 28
                                                                   MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1                  Exhibit A
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  1
          MOVING DEFENDANTS’
                                                      PLAINTIFFS’ RESPONSE AND
  2    UNCONTROVERTED FACTS AND
                                                        SUPPORTING EVIDENCE
  3       SUPPORTING EVIDENCE
       without merit. As for soil gas concentrations, the spatial distribution of the PCE
  4
       and TCE soil gas, with the higher concentrations found in the 15 ft bgs samples
  5    and the lower concentrations in the shallower 5 ft bgs, indicate degassing off of a
       deeper source of contamination (i.e., the contaminated OU-2 groundwater), not
  6
       shallow soil contamination as claimed by Mr. Mutch. Second, the discrete soil
  7    testing on the West Parcel showed no signs of shallow soil contaminated with
       PCE and TCE. In fact, in numerous investigations on the West Parcel, no
  8
       chlorinated or volatile organic chemicals were detected in any of the discreet soil
  9    samples (see Table 2, Kulla Expert Report). (Id. at 8.) Additional soil vapor
       sampling was done on the West Parcel of the Patsouras Property. No volatile
 10
       organic compounds were detected in any of the discreet soil samples. (The
 11    analytical detection limit was less than 0.005 mg/kg in all samples). These results
       confirmed that there was no discreet soil source of PCE or TCE (or any other
 12
       volatile organic compound) in the soil on the West Parcel. Therefore, EAI
 13    concluded and the RWQCB agreed that the soil gas vapor measured on the West
 14    Parcel of the Patsouras Property resulted from degassing off the contaminated
       OU-2 groundwater plume. (Id. at 9.) An exceedance of the SFB ESLs in soil gas
 15    is not relevant to the evaluation of the partitioning of soil gas to groundwater as
 16    Mr. Mutch proposes. The ESLs in soil gas were derived and are relevant
       (according to SFB RWQCB) to the evaluation of the risk of soil gas vapors
 17    migrating into homes and buildings, causing toxic vapors in indoor air, and thus
 18    posing an inhalation impact to humans. On the Patsouras Property, the soil gas
       vapor survey was conducted under the direction of the RWQCB, for just for that
 19    reason—to determine if there would be a risk of soil gas vapor intrusion into a
 20    new building planned on the West Parcel. Soil gas vapor data was used in the site-
       specific model to evaluate the risk of vapor intrusion into a future building. The
 21    model information was documented and submitted to the RWQCB and the
 22    California Office of Environmental Health Hazard Assessment (OHHEA), and
       those agencies found no significant risk. (Id. at 9-10.) The Court should
 23    disregard Plaintiffs’ assertion that this fact is disputed.
 24
 25
 26
 27
 28
                                                           MOVING DEFENDANTS’ RESPONSE TO
      88151-00029/4016830.1               Exhibit A
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   1

   2

   3

   4

   5

   6

   7

   8

   9
                                  F.    Patsouras Property
  10
       33. Kekropia Inc., a California        33.        Admit.
  11
       corporation, has owned the real
  12   property at 11630 – 11700 Burke Street
       in Santa Fe Springs, California (the
  13
       “Patsouras Property”) from 1995 to the
  14   present.
  15   Supporting Evidence:
  16
       Answer of Kekropia, Inc. to Fifth Am.
  17   Compl. (Docket No. 563) ¶¶ 93, 342
  18   Lintecum Decl., Ex. 72, at pp. 4,170,
  19   4,182, 4,182, 4,186, 4,188 (L.
       Patsouras Dep. Tr. 7:13-20, 19:20-24,
  20   23:12-19, 25:4-8)
  21

  22   34. One or more hazardous               34.       Not disputed.
       substances, including chromium, PCE,
  23   and TCE, have been detected in the soil
  24   at the Patsouras Property.

  25   Supporting Evidence:
  26   Detections in soil above soil screening
  27   levels


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   1
           MOVING PLAINTIFFS’
   2                              OPPOSING DEFENDANTS’
        UNCONTROVERTED MATERIAL
                                RESPONSE TO CITED FACT AND
   3      FACTS AND SUPPORTING
                                   SUPPORTING EVIDENCE
                EVIDENCE
   4

   5   Lintecum Decl., 74, at p. 4,334-36
       (Professional Service Industries, Phase
   6   II Preliminary Contamination
   7   Assessment (Aug. 18, 1994), at 13 &
       Table 3), 78, at pp. 4,352-55
   8   (Environmental Audit, Summary of
   9   Site Assessments (Mar. 2009) Table 1),
       79, at pp. 4,363-68 (Environmental
  10   Audit, Ground Water Samples,
  11   Confirmation Soil Samples (Aug. 6,
       2013) Table 1); see also Mutch Report,
  12   Tables 3-1, 7-4
  13
       Other detections in soil
  14
       Lintecum Decl., Ex. 73, at pp. 4,328-
  15   29, 4,331 (AIG, Phase I Environmental
  16   Site Assessment (Jun. 30, 1994), at 12-
       13, 23), 76, at pp. 4,339-42 (EAI,
  17   Subsurface Investigation Report (Dec.
  18   18, 1995), at 8-9, 11-12).
  19   Detections in soil gas
  20   Lintecum Decl., Ex. 78, at pp. 4,350,
  21   4,356-60 Environmental Audit,
       Summary of Site Assessments (Mar.
  22   2009), at 11 & Tables 8, 9)
  23
       40 C.F.R. § 302.4
  24

  25   35. One or more hazardous                    35. Not disputed that one or more
       substances, including chromium, PCE,         hazardous substances, including
  26
       and TCE, have been detected in OU-2          chromium, PCE, and TCE, have been
  27   Groundwater below or downgradient of         detected in OU-2 Groundwater below
       the Patsouras Property.                      or downgradient of the Patsouras
  28

                                               Exhibit B
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   1
           MOVING PLAINTIFFS’
   2                              OPPOSING DEFENDANTS’
        UNCONTROVERTED MATERIAL
                                RESPONSE TO CITED FACT AND
   3      FACTS AND SUPPORTING
                                   SUPPORTING EVIDENCE
                EVIDENCE
   4

   5   Supporting Evidence:                    Property. Disputed that any of those
                                               hazardous substances in OU-2
   6   Lintecum Decl., Ex. 80, at pp. 4,373-78 Groundwater migrated from the
       (Environmental Audit, Third Quarter     Patsouras Property soil into the
   7
       2013 Ground Water Monitoring Report groundwater.
   8   (Oct. 23, 2013) Tables 2, 3); see also
       Mutch Report, Table 7-5
   9
  10   40 C.F.R. § 302.4
  11
       35.   Moving Plaintiffs’ Reply: UNDISPUTED
  12

  13
       Plaintiffs’ RSUMF 35 is limited to hazardous substances, including chromium,
       PCE, and TCE, that have been detected in OU-2 Groundwater below or
  14   downgradient of the Patsouras Property. Kekropia does not dispute this part of
  15
       RSUMF 35.

  16   36. There has been a plausible, if not 36. Disputed.
       completed, migration pathway between
  17                                          Fact No. 36 is irrelevant for the
       the Patsouras Property and OU-2
  18   Groundwater.                           following reasons:
  19   Supporting Evidence:                        The fact is irrelevant to this phase of
  20
                                                   the litigation.
       Mutch Report, at 2-4 to 2-8, 3-3 to 3-7,
  21   Section 7                                   Plaintiffs’ cited fact is actually a legal
                                                   conclusion which stems from section 3
  22   Soil contamination has exceeded soil        of Castaic Lake Water Agency v.
  23   screening levels                            Whittaker Corp., 272 F. Supp. 2d
                                                   1053, 1062-68 (C.D. Cal. 2003)
  24   Lintecum Decl., 74, at p. 4,334-36          entitled “Did the Release . . . Cause
  25
       (Professional Service Industries, Phase     Plaintiffs to Incur Response Costs,”
       II Preliminary Contamination                which pertains to the “response cost
  26   Assessment (Aug. 18, 1994), at 13 &         element” that the parties agreed will
  27
       Table 3), 78, at pp. 4,352-55               not be litigated in this phase of the
       (Environmental Audit, Summary of            litigation. (Dkt. 615)
  28   Site Assessments (Mar. 2009) Table 1),

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   5   79, at pp. 4,363-68 (Environmental           Defendant Kekropia made an
       Audit, Ground Water Samples,                 affirmative showing that there is no
   6   Confirmation Soil Samples (Aug. 6,           migration pathway (actual or plausible)
   7   2013) Table 1); see also Mutch Report,       between the soil at the Patsouras
       Tables 3-1, 7-4                              Property and the groundwater below.
   8
       Known historical operations at               Supporting Evidence:
   9
       Patsouras Property involving
  10   hazardous substances                         Kulla Expert Report, at pp.1-8, Tables
                                                    1-5, Figure 2-8A, Ex. K to the Decl. of
  11   Globe Oil                                    Victor Otten.
  12
       Lintecum Decl., Ex. 77, at p. 4,345          Kulla Rebuttal Expert Report, at pp. 1-
  13   (EAI, Supplemental Subsurface                12, Ex. S to the Decl. of Victor Otten.
       Investigation (Mar. 3, 1997), at 3
  14                                                Letter to Larry Patsouras of Kekropia,
       (Globe Oil manufacturing operations),
  15   75, at p. 4,337 (Grancich, J.B., Letter to   Inc. from the Executive Officer of the
       Globe Oil Tools Co. re Investigation         Los Angeles Regional Water Quality
  16                                                Control Board, dated January 4, 2017,
       (Apr. 15, 1970), at 1) (sewer system
  17   not complete prior to 1970)                  (No Further Action letter to Kekropia,
                                                    concluding that the cleanup was
  18   RFJN, Ex. 85 (LACE, Industrial Waste         complete to “assure protection of
  19   Survey (Jun. 19, 1970)) (Globe Oil           human health and waters of the State at
       manufacturing operations, waste              and near the Site for their beneficial
  20   containing hexavalent chromium, use          uses.) Ex. B to the Decl. of Victor
  21   of degreaser), 93 at 1207-1208 (City of      Otten.
       SFS IWDP Application (May 18,
  22   1970), at 1-2) (wastewater containing        Phase I Environmental Site
  23   hexavalent chromium), 94 at 1209             Assessment, AIG Consultants, Inc.,
       (Application for Approval of the             June 30, 1994, at p. 22 ¶ 6, Ex. C to the
  24                                                Decl. of Victor Otten.
       Proposed Industrial Waste Disposal
  25   System, Letter to Department of
                                                    Soil Remediation Report of Findings
       County Engineer (Mar. 24, 1970), at 1)
  26                                                for El Greco, Inc., Biophysics
       (same), 88 (LACE Notice of Violation
                                                    Environmental Assessments, Inc.,
  27   (Mar. 20, 1970)) (sewer system not
                                                    Sept. 14, 2006 (It is concluded that no
       complete prior to 1970); see also
  28                                                threat exists to groundwater from
       Mutch Report, at 7-3, 7-18 to 7-22
                                              Exhibit B
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   5   (likely extensive use of lagoons for     metals, solvents and total petroleum
       waste management)                        hydrocarbons, based upon the low
   6                                            level and isolated low volume of all
       Palley Supply Co.                        potentially hazardous materials
   7
                                                identified in initial testing by EAI in
   8   Lintecum Decl., Exs. 78, at pp. 4,348-
                                                1994.) pp. 1-7, Tables 1-3, Ex. G to the
       49 (EAI, Summary of Site Assessments
   9                                            Decl. of Victor Otten. This fact alone
       (Mar. 2009), at 1-2) (Palley Supply
                                                is evidence that there is no actual or
  10   operations, discharges and violations),
                                                plausible migration pathway between
       83, at pp. 4,600-01, 4,649 (W. Palley
  11                                            the Patsouras Property and OU-2
       Dep. Tr. 20:9 to 21:5, 69:19-23)
                                                Groundwater.
  12   (operation of Palley Supply Co. from
       1973 to at least 1986), 73, at p. 4,     See also SUMF Nos. 526-531.
  13   (AIG, Phase I Environmental
  14   Assessment (Jun. 30, 1994), at 18)       Updated Site Conceptual Model and
       (used of subsurface clarifiers)          Request for Low Risk Closure,
  15                                            Environmental Audit, Inc., June 16,
  16
       RFJN., Exs. 86 (City of Santa Fe         2010, (“Chlorinated compounds are
       Springs, Application for Business        not generally identified in soil at the
  17   Operation Tax Certificate (Aug. 20,      Site but are present in ground water at
  18
       1973)) (operation of Palley Supply), 87 concentrations that are consistent with
       (L.A. County DHS Letter to C. Sjoberg the regional impact to ground water
  19   (Aug. 18, 1988)) (use of clarifiers)     (see Section 3.0)). In EAI’s opinion the
  20                                            chlorinated compounds detected in
       Discharges of hazardous substances
                                                ground water at the Site are not the
  21                                            result of former site activities.” at pp.
       Lintecum Decl., Ex. 77, at p. 4,345
  22   (EAI, Supplemental Subsurface            3-15, 21, Tables 1-7 and 10, Ex. D to
       Investigation (Mar. 3, 1997), at 3)      the Decl. of Victor Otten. This is
  23
       (waste sent to clarifiers and sewer), 73 further evidence that there is no actual
  24   (AIG, Phase I Environmental              or plausible migration pathway
       Assessment (Jun. 30, 1994), at 18)       between the Patsouras Property and
  25
       (same), 75, at p. 4,337 (Grancich,       OU-2 Groundwater.
  26   Globe Oil Tools, Memo (Apr. 15,
                                                Remedial Action Plan, 11630-11700
  27   1970), 78, at pp. 4,348-49
                                                Burke Street, Environmental Audit,
       (Environmental Audit, Summary of
  28   Site Assessments (Mar. 2009), at 1-2

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   5   (listing various discharges and              Inc., June 16, 1997., Ex. H to the Decl.
       violations)                                  of Victor Otten.
   6
       RFJN, Exs. 87, at 1,194 (L.A. County         Covenant and Environmental
   7
       DHS Letter to C. Sjoberg (Aug. 18,           Restriction on Property, 11630-11700
   8   1988), at 1) (use of deteriorating           Burke Street, Santa Fe Springs, CA,
       clarifiers installed before WWII), 88, at    recorded on October 12, 2016, in the
   9
       p. 1,196 (LACE Notice of Violation           Los Angeles County Recorder’s
  10   (Mar. 20, 1970)) (discharge to ground),      Office, Ex. I to the Decl. of Victor
       91, at pp. 1,200, 1,202 (RWQCB-LA,           Otten.
  11
       Letter to L. Patsouras re NFA-With
  12   Environmental Restriction (Jan. 4,           Excerpts from the Final Remedial
       2017), at 1, 3), 90 (County of Los           Investigation Report, Omega Chemical
  13                                                Corporation Superfund Site, CH2M
       Angeles Department of County
  14   Engineer, Chemical Analysis (Mar. 17,        Hill, August 2010, Ex. J to the Decl. of
       1970), 93 (Inspection Record for Talco       Victor Otten.
  15
       Plastics (May 18, 1988) (clogged
                                                    See also SUMF Nos. 501-504, 519,
  16   clarifiers overflowing to street)
                                                    521-522, 524-570.
  17   Mutch Report, at 5-9 to 5-11 (noting
                                                     Soil contamination has exceeded soil
  18   permeability of sewer lines); see also
                                                               screening levels
       id., at 7-7 to 7-8 & Tables 7-2 and 7-3
  19   (noting poor housekeeping, reported          Irrelevant. “The presence of a chemical
  20   violations and known releases)               at concentrations exceeding an ESL
  21
                                                    does not necessarily indicate adverse
       40 C.F.R. § 302.4
                                                    effects on human health or the
  22   See also SUMF 34                             environment, rather that additional
  23
                                                    evaluation is warranted.” The User’s
       Hazardous substances have been               Guide: Derivation and Application of
  24   detected in shallow soils all the way        Environmental Screening Levels
  25   down to the water table                      (ESLs) Prepared by: San Francisco
                                                    Bay Regional Water Quality Control
  26   Lintecum Decl., Ex. 82, at pp. 4,453,        Board INTERIM FINAL 2019
       4,480, 4,486 (EAI, Updated Site              (Revision 1, p. ii) Ex. S to Otten Decl.,
  27
       Conceptual Model (Jun. 17, 2010), at 4       p. 4.
  28   & Tables 1 4/7, 3) (detections to water

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   5   table, estimated at 32 to 38 feet bgs),           Known historical operations at
       78, at pp. 4,352-55 (EAI, Summary of              Patsouras Property involving
   6   Site Assessments (Mar. 2009) Table 1);               hazardous substances
   7   see also Mutch Report, at 7-10 to 7-11
                                                  Globe Oil
   8   RFJN, Ex. 92, at pp. 1,204-05 (LACFD
       Memorandum re Palley Property (Jan.        There is no evidence that the degreaser
   9                                              used by Globe and the steam cleaning
       9, 1996), at 1-2 (contamination near
  10   clarifier area VOCs extend all the way     operations utilized chlorinated organic
       down to OU-2 Groundwater)                  compounds like tetrachloroethene
  11                                              (PCE) and trichloroethene (TCE).
  12   Detections of hazardous substances in      However, the contemporaneous
       soil and groundwater have aligned          evidence is to the contrary. Ex. E to
  13   with onsite sources                        Otten Decl., p. PTSF00022291 (City of
  14                                              Santa Fe Springs, 1970. Industrial
       Lintecum Decl., Exs. 81, at pp. 4,385      Waste Survey for Globe Oil Tool Co.
  15   (EAI, Removal of Clarifier Unit 6          June 19, 1970.) Ex. T to Otten Decl.,
  16
       (Mar. 9, 2010) Table 2), 79, at pp.        Mutch Dep., p. 707, lns. 12:18: “I'm
       4,369-70 (EAI, Ground Water                not seeing any indication that the
  17   Samples, Confirmation Soil Samples         degreaser or degreasing activities
  18
       (Aug. 6, 2013) Table 2), 80, at p. 4,378   necessarily contain chlorinated
       (EAI, Third Quarter 2013 Ground            solvents. I don't -- I'm not sure we had
  19   Water Monitoring Report (Oct. 23,          that definitive information.”
  20
       2013) Table 3, at 3) see also Mutch
       Report, at 7-14 to 7-18 & Table 7-5        See also SUMF 568.
  21
       RFJN, Ex. 92, at pp. 1,204-05 (LACFD       Palley Supply Co.
  22   Memorandum re Palley Property (Jan.
  23   9, 1996), at 1-2 (contamination near       There is no evidence that the waste oil
       clarifier area extends all the way down    possessed by Pally Supply or Talco
  24                                              contained chlorinated organic
       to OU-2 Groundwater)
  25                                              compounds like tetrachloroethene
       The investigation of the extent and        (PCE) and trichloroethene (TCE).
  26   nature of contamination at the             Mutch Expert Report, at §7-4. Mr.
  27   Patsouras Property has been                Mutch, opines on the presence of
       inadequate                                 chlorinated organic compounds in
  28                                              waste oil on the Patsouras Property

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   5   Mutch Report, at 7-11 to 7-12            using only a general 1984 EPA citation
                                                rather than any evidence relating to the
   6                                            Patsouras Property itself. Ex. T to
   7                                            Otten Decl., Mutch Dep., p. 713, lns.
                                                15:18: “Q: Did you research the
   8                                            historic operational data to assess the
   9                                            composition of Talco's waste oil? A: I
                                                don't believe we had the information to
  10                                            be able to do that.”
  11
                                                Ex. T to Otten Decl., Mutch Dep., p.
  12                                            709, Ins. 11-14: “Q Did your research
                                                of the historic operational data for
  13
                                                Palley Supply indicate that chlorinated
  14                                            VOCs were used in the steam cleaning
  15
                                                process? A I don't believe so, no.”

  16                                            Ex. T to Otten Decl., Mutch Dep., p.
                                                712, Ins:14-21, 24:25; 713:1: “Q Mr.
  17                                            Mutch, I'm going to try to phrase my
  18                                            question a little differently, because
                                                you're not answering my question.
  19                                            Aside from your general suspicions
  20                                            about what was done during that era,
                                                my question is: What evidence, if any,
  21                                            did you find that contradicts the
  22                                            statements made by Palley Supply
                                                about what they used in their steam
  23
                                                cleaning operation? THE WITNESS: I
  24                                            don't believe there is any evidence
                                                from 1978 as to the contents of
  25
                                                different cleaning materials that Palley
  26                                            Supply was using.
  27                                            Ex. T to Otten Decl., Mutch Dep., p.
  28                                            713 Ins. 3-7: “Q Did your research of

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   5                                            the historic operational data indicate
                                                that Talco used any chlorinated
   6                                            organic solvents at the property during
   7                                            its tenure? A I don't recall coming to
                                                that conclusion. I don't think so.”
   8
                                                See also SUMF 568 and 569.
   9
  10                                            The Plaintiffs have presented scant
                                                evidence that any hazardous
  11                                            substances were used and/or released
  12                                            on the Patsouras Property, which is
                                                consistent with the low concentrations
  13                                            and isolated detections found in the
  14                                            soil.
  15                                            Discharges of hazardous substances
  16                                            There is no evidence that the clarifiers
  17                                            on the Patsouras contained chlorinated
                                                organic compounds like
  18                                            tetrachloroethene (PCE) and
  19                                            trichloroethene (TCE). Ex. T to Otten
                                                Decl., Mutch Dep., p. 715, 16:18: “Q.
  20                                            And did the historical operational data
  21                                            you reviewed for purposes of your
                                                report identify what substances the
  22                                            clarifiers contained?” Ex. T to Otten
  23                                            Decl., Mutch Dep., p. 716, lns. 2:6:
                                                “A. Only -- I think only in the general
  24
                                                sense that it would have included
  25                                            wastewater from, you know, these
                                                cleaning operations that were going on,
  26
                                                which may or may not have included
  27                                            chlorinated solvents.”
  28

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   5                                            There is no evidence that the various
                                                discharges and violations involved
   6                                            chlorinated organic compounds like
   7                                            tetrachloroethene (PCE) and
                                                trichloroethene (TCE). (Dark-stained
   8                                            soils were present at the Southwest
   9                                            corner of the Site during the Site
                                                inspection. In addition," ponded or
  10                                            discharged liquids were observed
  11                                            historically in the vicinity of "Bay
                                                Traps” and in the central part of the
  12                                            southern margin of the Site. It is
  13                                            recommended that soils in these areas
                                                be sampled and analyzed to evaluate
  14                                            potential impact to soil or ground
  15                                            water.) Ex. C to Otten Decl., p. 3
  16                                            See also SUMF 512, 513, 532, 533,
  17
                                                534, 545, 546, 547, 548, 549, 550, 551,
                                                552, 553 and 570.
  18
                                                 Hazardous substances have not been
  19                                             detected in shallow soils all the way
  20                                                   down to the water table
  21                                            Hazardous substances have not been
  22
                                                detected in shallow soils all the way
                                                down to the water table at the
  23                                            Patsouras Property. The deepest
  24                                            samples containing low concentrations
                                                of PCE was found at 25 ft bgs in B-7
  25                                            and at 30 ft bgs in E-9. Mutch Expert
  26                                            Report, pp. 7-10, 7-11. “[B]oring E9
                                                had levels of PCE extending from --
  27                                            the shallow was ten feet, and at --
  28                                            appears to be 15 feet, 20 feet, 25 feet,

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   5                                            and 30 feet. So that would have been
                                                within, you know, five or six feet of
   6                                            the water table.” Ex. T to Otten Decl.,
   7                                            Mutch Dep., p. 739, 21:25. As Mr.
                                                Mutch shows in Table 7.4, PCE was
   8                                            found in soil boring B-7 (in 1994) at a
   9                                            concentration of 0.510 mg/kg at a
                                                depth of 25 ft bgs. The PCE in this
  10                                            soil boring is not found contacting the
  11                                            groundwater table. Id. at p. 7-9, Table
                                                4; p, 710. The soil sample taken at 35
  12                                            ft bgs in soil boring B-7 was “non-
  13                                            detect”—it had no PCE in it. Id. at p.
                                                7-10. The groundwater table, at the
  14                                            time of the investigation (in late 1994)
  15                                            was estimated at 35 ft bgs or greater at
                                                the location of the borings, according
  16                                            to EAI (EAI 1995). Ex. S to Otten
  17                                            Decl., p. 6. This is evidence that
                                                hazardous substances have not been
  18                                            detected in shallow soils all the way
  19                                            down to the water table.
  20                                            Detections of hazardous substances in
  21
                                                soil and groundwater have not aligned
                                                          with onsite sources
  22
                                                Kulla Expert Report, at pp.1-8, Tables
  23
                                                1-5, Figure 2-8A, Ex. K to the Decl. of
  24                                            Victor Otten.
  25                                            Kulla Rebuttal Expert Report, at pp. 1-
  26                                            12, Ex. S to the Decl. of Victor Otten.

  27                                            Letter to Larry Patsouras of Kekropia,
                                                Inc. from the Executive Officer of the
  28
                                                Los Angeles Regional Water Quality
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   5                                            Control Board, dated January 4, 2017,
                                                (No Further Action letter to Kekropia,
   6                                            concluding that the cleanup was
   7                                            complete to “assure protection of
                                                human health and waters of the State at
   8                                            and near the Site for their beneficial
   9                                            uses.) Ex. B to the Decl. of Victor
                                                Otten.
  10
                                                Phase I Environmental Site
  11
                                                Assessment, AIG Consultants, Inc.,
  12                                            June 30, 1994, at p. 22 ¶ 6, Ex. C to the
                                                Decl. of Victor Otten.
  13

  14                                            Soil Remediation Report of Findings
                                                for El Greco, Inc., Biophysics
  15                                            Environmental Assessments, Inc.,
  16                                            Sept. 14, 2006 (It is concluded that no
                                                threat exists to groundwater from
  17                                            metals, solvents and total petroleum
  18                                            hydrocarbons, based upon the low
                                                level and isolated low volume of all
  19                                            potentially hazardous materials
  20                                            identified in initial testing by EAI in
                                                1994.) pp. 1-7, Tables 1-3, Ex. G to the
  21                                            Decl. of Victor Otten.
  22
                                                Updated Site Conceptual Model and
  23                                            Request for Low Risk Closure,
  24                                            Environmental Audit, Inc., June 16,
                                                2010, (“Chlorinated compounds are
  25                                            not generally identified in soil at the
  26                                            Site but are present in ground water at
                                                concentrations that are consistent with
  27                                            the regional impact to ground water
  28                                            (see Section 3.0). In EAI’s opinion the

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           MOVING PLAINTIFFS’
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        UNCONTROVERTED MATERIAL
                                RESPONSE TO CITED FACT AND
   3      FACTS AND SUPPORTING
                                   SUPPORTING EVIDENCE
                EVIDENCE
   4

   5                                            chlorinated compounds detected in
                                                ground water at the Site are not the
   6                                            result of former site activities.” at pp.
   7                                            3-15, 21, Tables 1-7 and 10, Ex. D to
                                                the Decl. of Victor Otten. This is
   8                                            evidence that hazardous substances in
   9                                            the soil at the Patsouras Property have
                                                not impacted groundwater.
  10
                                                Remedial Action Plan, 11630-11700
  11
                                                Burke Street, Environmental Audit,
  12                                            Inc., June 16, 1997., Ex. H to the Decl.
                                                of Victor Otten.
  13

  14                                            Covenant and Environmental
                                                Restriction on Property, 11630-11700
  15                                            Burke Street, Santa Fe Springs, CA,
  16                                            recorded on October 12, 2016, in the
                                                Los Angeles County Recorder’s
  17                                            Office, Ex. I to the Decl. of Victor
  18                                            Otten.
  19                                            Excerpts from the Final Remedial
  20
                                                Investigation Report, Omega Chemical
                                                Corporation Superfund Site, CH2M
  21                                            Hill, August 2010, Ex. I to the Decl. of
  22
                                                Victor Otten.

  23                                              The investigation of the extent and
                                                    nature of contamination at the
  24
                                                     Patsouras Property has been
  25                                                          inadequate
  26                                            The investigation and remediation of
  27                                            the environmental conditions at the
                                                Patsouras was performed with the
  28                                            regulatory oversight and approval of

                                           Exhibit B
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   2                              OPPOSING DEFENDANTS’
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                                RESPONSE TO CITED FACT AND
   3      FACTS AND SUPPORTING
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   4

   5                                                  the LARWQCB, which issued a “No
                                                      Further Action” letter to the Patsouras
   6                                                  Property owner. Ex. L to Otten Decl.
   7                                                  and Ex. B to Otten Decl.
   8
       36.         Moving Plaintiffs’ Reply: UNDISPUTED
   9
       There is no “genuine” factual dispute. Plaintiffs address Kekropia’s statements:
  10

  11   Castaic Lake Challenge
  12         (1)     Immaterial. Kekropia states an incorrect legal conclusion in ¶ 1.
  13
                     Plaintiffs do not have to show a release or threatened release of
                     hazardous substances to OU-2 Groundwater or trace a release to
  14                 Kekropia specifically.
  15   Cited Evidence Does Not Support the Statement There Has Been a Plausible,
  16   if Not Completed Migration Pathway Between the Patsouras Property and OU-
       2 Groundwater.
  17

  18
             (2)     Kekropia admits that chromium, PCE and TCE are in the soils at the
                     Patsouras Property. RSUMF 34.
  19

  20
             (3)     Kekropia admits that chromium, PCE and TCE are in the OU-2
                     Groundwater beneath the Patsouras Property. RSUMF 35.
  21

  22         (4)     PCE, TCE and chromium present in soils at the Patsouras Property at
                     levels above ESLs. Valenzuela Opp’n Decl., Exs. 5 (Docket No. 949-
  23                 32) at 43-45), 9 (Docket No. 949-36) at 98-103, 15 at 167 (Kulla Dep.
  24                 83:11-23); Mutch Report, Tables 3-1, 7-4 (Docket No. 903-204 Page
                     ID #:25308-10, 25422); Valenzuela Decl., Ex. O, at pp. 199-200 (Kulla
  25                 Dep. 195:9-196:18, Apr. 2, 2021) (admitting default assumption is
  26                 chemicals are leaching to groundwater when soil concentrations exceed
                     soil leaching ESLs until demonstrated otherwise via site-specific
  27                 evaluation); Pls.’ RFJN, Ex. 92 (Los Angeles County Fire Dept.,
  28                 Memorandum, Jan. 9, 1996, at 1-2) (concluding VOC’s near clarifiers

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   3      FACTS AND SUPPORTING
                                   SUPPORTING EVIDENCE
                EVIDENCE
   4
                and storage shed on eastern parcel have been found to extend to
   5            groundwater); Pls.’ Opp’n RFJN, Exs. 22 (Docket No. 949-24), 19
   6            (Docket No. 949-21).

   7   Kekropia’s “Affirmative” Evidence is Flawed or Immaterial
   8      (5)   Flaws in Dr. Kulla’s Analysis: Mutch Rebuttal Report, § 3.3 (Docket
   9            No. 949-78) (groundwater monitoring wells on Pilot Chemical property
                considered by Dr. Kulla are not upgradient); Valenzuela Decl., Exs. R,
  10            at p. 220 (URS Corp., 2010 Second Semi-Annual Groundwater
  11            Contour Map, Fig. 3), S, at p. 226 (Envtl. Audit, Inc., Updated
                Conceptual Model and Request for Low Risk Closure, Fig. 7) (showing
  12            groundwater flowing southwesterly, not to west as Dr. Kulla contends);
  13            Mutch Report, at 7-16 (Docket No. 903-204); Plaintiffs incorporate
                their response to RSUMF 544.
  14

  15      (6)   Flaws in Prior Environmental Consultants’ Reports: Mutch Report,
                at 7-10 to 7-13 & Figs. 7-3, 7-7 (Docket Nos. 903-204 & 903-210)
  16            (insuffient sampling of soils and groundwater); Pls.’ RFJN, Ex. 92 (Los
  17            Angeles County Fire Department Memorandum re Palley Property
                (Jan. 1996)) (Docket No. 903-96) (concluding VOC’s in eastern portion
  18            of property extend to groundwater; clarifier is contaminated to
  19            groundwater with VOC’s); Plaintiffs’ incorporate their responses to
                RSUMF 527, 531 and 546.
  20

  21      (7)   Otten Decl., Ex. B (Docket No. 931-2 Page ID #26229-30) (Los
                Angeles Regional Water Quality Board Letter (Jan. 4, 2017) at 1-2)
  22            (“Historical Site use for industrial activities resulted in discharges of
  23            waste to the subsurface, including total petroleum hydrocarbons (TPH),
                volatile organic compounds (VOCs), and metals listed in Title 22 of the
  24            California Code of Regulations. Specifically, the wastes discharged to
  25            the subsurface at the Site has been associated with storage and use of
                petroleum products, solvents, metal product manufacturing/fabrication,
  26            and use of multiple clarifiers.”). See also Mutch Rebuttal Report, § 3.5
  27            (Docket No. 949-78).

  28

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3          UNCONTROVERTED                        RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                            EVIDENCE
4        SUPPORTING EVIDENCE
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11

12                             E.    Patsouras Property

13   500. On November 1, 2016, Plaintiffs 500. Undisputed.
14   filed a Fifth Amended Complaint
     (“Fifth AC”) against Defendants
15   Halliburton Affiliates, LLC; Kekropia,
16   Inc.; William K. Palley, an individual;
     and Palley Supply Company (the
17   “Patsouras Property Defendants”)
18   alleging that each was a “covered
     person” within the meaning of 42
19   U.S.C. § 9607(a)(1)-(4).
20
     Supporting Evidence:
21
     FAC ¶ 398; Ex. A to the Declaration
22   of Victor Otten
23

24
     501. EPA concluded that certain           501. Undisputed but immaterial.
     parties were potentially responsible
25   parties (“PRPs”) for the contamination    Supporting Evidence:
26
     of OU-2 groundwater and sent Special
                                               S. California Water Co. v. Aerojet-Gen.
     Notice Letters to them.
27
                                               Corp., No. CV 02-6340ABCRCX,
     Supporting Evidence:                      2003 WL 25537163, at *5 (C.D. Cal.
28                                             Apr. 1, 2003) (whether the EPA has

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3          UNCONTROVERTED                          RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                              EVIDENCE
4        SUPPORTING EVIDENCE
5

6
     FAC ¶ 4; Ex. A to the Declaration of        named a particular party a PRP or
     Victor Otten                                sought recovery from a party is
7                                                immaterial to the party’s status under
8
                                                 CERCLA).

9
     502. EPA has not sent a Special             502. Undisputed but immaterial.
10   Notice Letter to any of the Patsouras
     Property Defendants.                        Supporting Evidence:
11
     Supporting Evidence:                  Plaintiffs do not dispute EPA has not
12
                                           sent a Special Notice Letter to any of
13   FAC, p. 18 (“Non-Notice Letter        the Patsouras Property Defendants to
     Defendants PRPS,”), ¶ 93-96; Ex. A to date. Declaration of Victor Otten
14
     the Declaration of Victor Otten       (“Otten Decl.”), Ex. A (Fifth AC, ¶¶
15                                         68, 93-96) (Docket No. 931-1 Page ID
                                           #:26136, 26145-46).
16

17                                               Plaintiffs incorporate their Response to
                                                 RSUMF 501 herein by reference.
18

19   503. EPA concluded that certain             503. Undisputed but immaterial.
20
     parties were potentially responsible
     parties (“PRPs”) for the contamination      Supporting Evidence:
21   of OU-2 groundwater warranting
                                                 Plaintiffs incorporate their response to
22
     receipt of a General Notice Letter
                                                 RSUMF 501 herein.
     (“GNL”) from EPA and sent GNLs to
23   them.
24
     Supporting Evidence:
25
     FAC ¶ 5; Ex. A to the Declaration of
26   Victor Otten
27

28

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3          UNCONTROVERTED                          RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                              EVIDENCE
4        SUPPORTING EVIDENCE
5

6
     504. EPA has not sent a General             504. Undisputed but immaterial.
     Notice Letter to any of the Patsouras
7    Property Defendants.                        Supporting Evidence:
8                                                Plaintiffs incorporate their response to
     Supporting Evidence:
9
                                                 RSUMF 501 herein.
     FAC, p. 18 (“Non-Notice Letter
10   Defendants PRPS,”), ¶ 93-96; Ex. A to
11   the Declaration of Victor Otten

12
     505. The Patsouras Property is              505. Undisputed but immaterial.
13   located at 11630-11700 Burke Street,
     Santa Fe Springs, CA.
14

15   Supporting Evidence:

16   FAC ¶ 343,
17   Ex. A to the Declaration of Victor
18   Otten
19
     506. From 1968 to 1972, Globe Oil        506. Disputed.
20   Tools Company operated on the
21
     Patsouras Property, manufacturing and Supporting Evidence:
     treating oil well drilling equipment and
22
                                              Globe Oil operated on the Property
     tools.
                                              from at least 1941, and perhaps as early
23   Supporting Evidence:                     as the 1930’s. Opp’n RFJN, Exs. 15-A,
24
                                              at 117-25 (building permits for oil tool
     Los Angeles Regional Water Quality       manufacturing plant on Sorenson
25   Board Letter, Jan. 4, 2017, Ex. B to the Lane); Valenzuela Opp’n Decl., Exs. 8,
26   Declaration of Victor Otten              at 66 (Envtl. Audit, Inc., Supplemental
                                              Subsurface Investigation (Mar. 3, 1997)
27   AIG Consultants, Inc. Phase I            at 3), 19, at 190-191 (Letter dated Mar.
     Environmental Site Assessment, June 19, 1959 addressed to Mr. John
28
     30, 1994, pp. 10-11 (PTFS00024775-
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3          UNCONTROVERTED                           RESPONSE AND SUPPORTING
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4        SUPPORTING EVIDENCE
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6
     PTFS00024804); Ex. C to the                  Bertaina of Globe Oil Tool at 11630
     Declaration of Victor Otten                  Burke, Santa Fe Springs, Calif.); Mutch
7                                                 Report, at 7-18 to 7-19 & Figs. 7-1, 7-
     Environmental Audit, Inc. Updated            12 (Docket Nos. 903-204 & 903-210
8    Site Conceptual Model and Request            (1928 map indicating Burke Street used
9    for Low Risk Closure, June 17, 2010,         to be named Sorenson Lane & 1938
     p. 1 [which corrects a typo in a March       aerial photograph)).
10
     3, 1997 EAI report which stated that
11   operations began in
     “1958”](PTFS00024509-
12
     PTFS00024643); Ex. D to the
13   Declaration of Victor Otten
14
     507. On March 20,1970, the Los               507. Undisputed.
15   Angeles County Engineer issued a
16   notice to Globe Oil Tools Company
     alleging that “the discharge of liquid
17   waste from your rinse operation to
18   ground” is in violation of Section
     #6301 of Santa Fe Springs City
19   Ordinance No. 79 because the
20   concentration of dissolved solids
     exceeded the allowable limitation.
21
     Supporting Evidence:
22

23   PTFS00022295, PTFS00023219-20;
     Ex. E to the Declaration of Victor
24   Otten
25

26   508. The County alleged that a               508. Undisputed.
     sample of the liquid waste taken on
27   March 9, 1970 showed “a
28   concentration of dissolved solids that

                                              Exhibit B
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3          UNCONTROVERTED                         RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                             EVIDENCE
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5

6
     greatly exceeds the allowable
     limitation.” The sample form indicated
7    that “Chromium, hexavalent” was
8
     measured at a concentration of 19.5
     parts per million.
9
     Supporting Evidence:
10

11   PTFS00022295, PTFS00023219-20;
     Ex. E to the Declaration of Victor
12   Otten
13
     509. After receiving a copy of the         509. Undisputed.
14
     notice, the Globe plant manager
15   “stated that he would have discharge
     discontinued at once.”
16

17   Supporting Evidence:
18   PTFS00022293; Ex. E to the
     Declaration of Victor Otten
19

20   510. On March 24, 1970, Globe           510. Undisputed.
21   submitted a formal application to the
     County Engineer for approval of an
22   industrial waste disposal system to be
23   installed on the Property in which
     liquid waste would flow into the sewer
24
     after passing through two interceptors.
25
     Supporting Evidence:
26
     PTFS00022294; Ex. E to the
27
     Declaration of Victor Otten
28

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3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                           EVIDENCE
4        SUPPORTING EVIDENCE
5

6
     511. The Globe plant manager             511. Undisputed.
     “stated that all liquid waste would be
7    collected in impervious containers and
8
     not discharged to ground until sewer
     system is completed.”
9
     Supporting Evidence:
10

11   PTFS00022293; Ex. E to the
     Declaration of Victor Otten
12

13   512. On June 19, 1970, the               512. Disputed as incomplete.
     government determined that Globe’s
14                                            Supporting Evidence:
     Industrial waste facilities were
15   “constructed according to cleared
                                              The referenced exhibit states that “the
     plans.”
16                                            facilities constructed [to address
     Supporting Evidence:                     Globe’s violation of waste water
17
                                              disposal standards] were constructed
18   PTFS00022291; Ex. E to the               according to cleared plans.” Otten
     Declaration of Victor Otten              Decl., Ex. E (Docket No. 931-5 Page
19
                                              ID #:26406) (City of Santa Fe Springs,
20                                            Indus. Waste Survey of Globe Oil Tool
                                              Co. (June 19, 1970)). However, the
21
                                              referenced plans were only put into
22                                            place after Globe was ordered to “cease
                                              and desist” from discharging liquid
23
                                              waste to ground that contained
24                                            dissolved solids that “greatly
25
                                              exceed[ed] the allowable limitation.”
                                              Id. at Page ID#:26401-03 (Cnty. of Los
26                                            Angeles, Dept. of Cnty. Eng’r, Notice
27
                                              of Violation & Order to Comply to
                                              Globe Oil Tools Co. (Mar. 20, 1970)).
28

                                          Exhibit B
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4        SUPPORTING EVIDENCE
5

6
                                            Globe Oil conducted tooling and heat
                                            treating of oil tools, bits, and device,
7                                           manufacturing hundreds of devices and
8
                                            pieces of equipment each month. Id. at
                                            Page ID#:26406 (City of Santa Fe
9                                           Springs, Industrial Waste Survey of
10                                          Globe Oil Tool Co. (June 19, 1970)).
                                            The metal heat treating operations
11                                          generated wastewater heavily
12                                          contaminated with hexavalent
                                            chromium. Id. at Page ID#:26402
13                                          (Cnty. of Los Angeles, Dept. of Cnty.
14                                          Eng’r, Industrial Waste Division,
                                            Chemical Analysis, Job No. 3240.10
15                                          (Mar. 17, 1970)); see also Pls.’ RFJN,
16                                          Ex. 93 (City of Santa Fe Springs,
                                            Industrial Waste Disposal Permit
17                                          Application (May 18, 1970)) (Docket
18                                          No. 903-97).

19                                          Globe Oil used a degreaser and steam
                                            cleaned newly manufactured parts and
20
                                            equipment, which created waste
21                                          streams contaminated with hazardous
                                            substances. Valenzuela Opp’n Decl.,
22
                                            Ex. 8, at 66 (Docket No. 949-35)
23                                          (Envtl. Audit, Inc., Supplemental
                                            Subsurface Investigation (Mar. 3, 1997)
24
                                            at 3); Otten Decl., Ex. E (Docket No.
25                                          931-5, at #26406) (City of Santa Fe
                                            Springs, Industrial Waste Survey of
26
                                            Globe Oil Tool Co. (June 19, 1970)).
27                                          This waste undoubtedly included
                                            chlorinated solvents, given the common
28

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3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
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4        SUPPORTING EVIDENCE
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6
                                            usage of those solvents in the metal
                                            fabricating industry during the pertinent
7                                           time.
8                                           After 1970, the waste streams were run
9                                           through permeable concrete or brick
                                            subsurface clarifiers, units now known
10
                                            to commonly result in subsurface
11                                          releases, to settle out solids before
                                            being discharged to the public sewer
12
                                            system. Valenzuela Opp’n Decl., Exs.
13                                          8, at 66 (Docket No. 949-35) (Envtl.
                                            Audit, Inc., Supplemental Subsurface
14
                                            Investigation (Mar. 3, 1997) at 3), 4, at
15                                          28 (Docket No. 949-31) (AIG
                                            Consultants, Inc., Phase 1 Envtl.
16
                                            Assessment (June 30, 1994) at 18).
17                                          Sewer pipes made of vitrified clay, the
                                            common material used during the early
18
                                            and middle part of the 20th century,
19                                          also invariably leak, either through
                                            cracks, pipe joints, or simply via
20
                                            exfiltration. See Mutch Report, at 5-9 to
21                                          5-11, 5-30 (Docket No. 903-204 Page
                                            ID #:25356-58, 25377). Given the
22
                                            permeability of these units and
23                                          infrastructure, contaminated waste
                                            water carried through those systems is
24
                                            virtually certain to reach the
25                                          environment. Id.
26                                          In March 1970, Globe Oil was issued a
27                                          Notice of Violation for discharging
                                            industrial waste to the ground. Otten
28                                          Decl., Ex. E (Docket No. 931-5, at
                                        Exhibit B
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4        SUPPORTING EVIDENCE
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6
                                             #26401-02) (Los Angeles Cnty., Dept.
                                             of Cnty. Eng’r, Notice of Violation &
7                                            Order to Comply (Mar. 20, 1970) &
8
                                             Cnty. of Los Angeles, Dept. of Cnty.
                                             Eng’r, Industrial Waste Division,
9                                            Chemical Analysis, Job No. 3240.10
10                                           (Mar. 17, 1970)). The discharge
                                             included rinse water from the heat-
11                                           treating operations containing
12                                           hexavalent chromium at 19.5 parts per
                                             million, a level 975,000 times higher
13                                           than the current level considered
14                                           protective in groundwater. Id. at
                                             #26402 (Cnty. of Los Angeles, Dept. of
15                                           Cnty. Eng’r, Industrial Waste Division,
16                                           Chemical Analysis, Job No. 3240.10
                                             (Mar. 17, 1970)); Mutch Report, at 7-7
17                                           (Docket No. 903-204 Page ID
18                                           #:25420).

19
     513. On August 23, 1971, the City of    513. Undisputed.
20   Santa Fe Springs issued Industrial
     Waste Disposal Permit No. 4485 to
21
     Globe to discharge into the sewer
22   washdown and wastes from
23
     manufacturing and processing oil well
     drilling tools.
24
     Supporting Evidence:
25

26
     PTFS00022288; Ex. E to the
     Declaration of Victor Otten
27

28

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1
           OPPOSING PARTIES’
2             ALLEGEDLY                             MOVING PLAINTIFFS’
3          UNCONTROVERTED                        RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                            EVIDENCE
4        SUPPORTING EVIDENCE
5

6
     514. In 1972, William D. Palley and       514. Undisputed.
     Defendant William K. Palley acquired
7    the Patsouras Property from Rucker.
8
     In 1973, Defendant William K. Palley
     obtained sole ownership of the
9    property.
10
     Supporting Evidence:
11
     FAC ¶ 345; Ex. A to the Declaration
12   of Victor Otten
13
     515. During Palley’s ownership, the       515. Disputed as incomplete.
14
     Property was occupied by a
15   government surplus order house, by        Supporting Evidence:
     industrial auctioneers, by a paper box
16                                            Palley’s use of the Property was not
     company, and by a plastic
                                              simply as a “government surplus order
17   reprocessing business.
                                              house.” Instead, this business involved
18   Supporting Evidence:                     hydraulics and hydraulic equipment
                                              maintenance, aircraft, government
19
     Los Angeles Regional Water Quality       surplus, and warehousing. Valenzuela
20   Board Letter, Jan. 4, 2017, Ex. B to the Opp’n Decl., Exs. 9, at 77-78 (Docket
     Declaration of Victor Otten              No. 949-36) (Envtl. Audit, Inc.,
21
                                              Summary of Site Assessments (Mar.
22                                            2009), at 1-2), 14, at 140-142 (Docket
                                              No. 949-41) (W. Palley Dep. 20:9-21:5,
23
                                              69:19-23).
24

25   516. On May 18, 1988, the Santa Fe        516. Undisputed.
     Springs Fire Department issued a
26
     notice of violation alleging that “oil
27   from 2 clarifiers spilled out onto
     Master Box Co. access/loading area.”
28

                                           Exhibit B
                                             86
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2             ALLEGEDLY                            MOVING PLAINTIFFS’
3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                           EVIDENCE
4        SUPPORTING EVIDENCE
5

6
     Supporting Evidence:

7    EAI00897, Ex. F to the Declaration of
     Victor Otten
8

9    517. On May 19, 1988, the Santa Fe       517. Undisputed.
10   Springs Fire Department issued a
     notice of violation alleging that two
11   abandoned clarifiers contained
12   “excessive oil and grease.”

13   Supporting Evidence:
14   EAI00896, Ex. F to the Declaration of
15   Victor Otten

16
     518. Palley disposed of waste from       518. Disputed because the cited
17   the clarifiers and drums and the         evidence does not support the statement
18
     clarifiers were subsequently             and incomplete.
     abandoned-in-place by filling with
19   cement.                                  Supporting Evidence:
20   Supporting Evidence:                     The cited authority does not state that
21
                                              Palley disposed of waste from the
     AIG Consultants, Inc. Phase I            clarifiers and drums—unless Kekropia
22   Environmental Site Assessment, June      is referring to Palley’s criminal
23
     30, 1994, p. 18; (PTFS00024775-          prosecution in July 1988 for illegally
     PTFS00024804); Ex. C to the              transporting and disposing of hazardous
24   Declaration of Victor Otten              waste. Otten Decl., Ex. C (Docket No.
25                                            931-3 Page ID #:26257) (AIG
                                              Consultants, Inc., Phase I Envtl. Site
26                                            Assessment (June 30, 1994), at 19. In
27                                            1987, the County of Los Angeles
                                              Department of Health Services filed a
28                                            criminal complaint against Palley

                                          Exhibit B
                                            87
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2             ALLEGEDLY                          MOVING PLAINTIFFS’
3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                         EVIDENCE
4        SUPPORTING EVIDENCE
5

6
                                            Supply’s owner for maintaining two
                                            subsurface structures containing a black
7                                           oily liquid resembling waste oil.
8
                                            Valenzuela Opp’n Decl., Ex. 8, at 66
                                            (Docket No. 949-35) (Envtl. Audit,
9                                           Inc., Supplemental Subsurface
10                                          Investigation (Mar. 3, 1997), at 3). A
                                            year later, on May 18, 1988, an
11                                          inspection report noted that the
12                                          abandoned clarifiers were filled with
                                            trash and oil, and that during a
13                                          rainstorm, “industrial waste” was
14                                          overflowing and discharging to the
                                            street. Id.; Pls.’ RFJN, Ex. 101 (Docket
15                                          No. 903-105) (Inspection Record for
16                                          Talco Plastics, May 18, 1988). Palley
                                            received two more notices of violation
17                                          on the same day, one for excessive
18                                          waste in two abandoned clarifiers and
                                            another notice of violation for overflow
19                                          from a sump and two abandoned
20                                          clarifiers, due to a plugged sewer line,
                                            that was discharging to ground at the
21                                          property’s access and loading area.
22                                          Opp’n RFJN, Exs. 17, at 141 (Docket
                                            No. 949-19) (SFSFD, Notice of
23                                          Violation No. 74 (May 18, 1988)), 18,
24                                          at 142 (Docket No. 949-20) (SFSFD,
                                            Notice of Violation No. 75 (May 18,
25                                          1988).
26
                                            Industrial waste from steam cleaning
27                                          operations by Palley was discharged to
                                            the sanitary sewer through one or more
28

                                        Exhibit B
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3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                         EVIDENCE
4        SUPPORTING EVIDENCE
5

6
                                            clarifiers that had been present on the
                                            property since Globe Oil Tools
7                                           operated there. Valenzuela Dec., Ex._9,
8
                                            at 77-78 (Environmental Audit, Inc.,
                                            Summary of Site Assessments, Mar.
9                                           2009, at 1-2). Clarifiers leak and are
10                                          common sources of groundwater
                                            contamination. See Mutch Report, Jan.
11                                          14, 2021, at 2-6, 3-5.
12
                                            This statement is further disputed to the
13                                          extent it suggests that Palley properly
                                            and fully remediated all sources of
14
                                            contamination from the Property—this
15                                          is not the case. In addition to 2 brick
                                            clarifiers which were historically used
16
                                            to store waste oil and solvents at the
17                                          Property, there are also 3 USTs on the
                                            Property—one of which is not
18
                                            registered and regulatory agencies were
19                                          not aware of its presence. Valenzuela
                                            Opp’n Decl., Ex. 4, at 27-28 (Docket
20
                                            No. 949-31) (AIG Consultants, Inc.,
21                                          Phase I Environmental Site Assessment
                                            (June 30, 1994), at 17-18). There was
22
                                            no documentation of the condition of
23                                          the clarifiers or surrounding soil before
                                            they were abandoned in place or of the
24
                                            unregistered UST and surrounding soil
25                                          that remains on the Property. Id. at 30
                                            (AIG Consultants, Inc., Phase I
26
                                            Environmental Site Assessment (June
27                                          30, 1994), at 20).
28

                                        Exhibit B
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2             ALLEGEDLY                          MOVING PLAINTIFFS’
3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                         EVIDENCE
4        SUPPORTING EVIDENCE
5

6
                                            This statement fails to recognize the
                                            contamination caused by the 2 clarifiers
7                                           before (and after) they were
8
                                            purportedly “abandoned in place.” In an
                                            August 18, 1988 letter, the County of
9                                           Los Angeles Department of Health
10                                          expressed great concern “over potential
                                            problems with two existing
11                                          underground storage structures located
12                                          on the west section of the site. We have
                                            observed two brick “clarifiers” built
13                                          prior World War II which possibly
14                                          contain[] waste oil or a similar material
                                            We also feel that these structures have
15                                          long since lost their integrity to
16                                          withhold any of its contents.” Pls.’
                                            RFJN, Ex. 87 (Docket No. 903-91)
17                                          (L.A. County DHS Letter to C. Sjoberg
18                                          (Aug. 18, 1988)). These brick clarifiers
                                            pre-dated the connection of the
19                                          property to the sewer system in 1970
20                                          and discharged to lagoons present on
                                            the Property.
21
                                            See Mutch Report, at 7-27 to 7-28
22
                                            (Docket No. 903-204 Page ID#:25440-
23                                          41). No meaningful investigation of the
                                            role the lagoons had upon the nature
24
                                            and extent of the contamination of the
25                                          Property was ever completed. Id. The
                                            lagoons have been present on the
26
                                            Property from at least 1938 – 1973, but,
27                                          inexplicably, have never been a major
                                            focus of investigation. Id.
28

                                        Exhibit B
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3          UNCONTROVERTED                        RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                            EVIDENCE
4        SUPPORTING EVIDENCE
5

6
                                                On November 28, 1995, the Los
                                                Angeles County Fire Department
7                                               ordered Kekropia to “determine the
8
                                                nature, concentration, and the vertical
                                                and lateral extent of contamination”
9                                               and submit a “site characterization
10                                              plan” by the end of December, noting
                                                that there had been “releases” at the
11                                              Property. Pls.’ RFJN, Ex. 84 (Docket
12                                              No. 903-88) (T. Klinger, Supervisor,
                                                Los Angeles County Fire Dept., Health
13                                              / HazMat Div., Letter to L. Patsouras,
14                                              Kekropia (Nov. 28, 1995)).

15                                              The Los Angeles County Fire
                                                Department concluded that the
16
                                                locations of clarifiers and a storage
17                                              shed on the eastern parcel of the
                                                Patsouras Property were impacted with
18
                                                volatile organic compounds, such as
19                                              PCE and TCE, and needed to be
                                                remediated. See Pls.’ RFJN, Ex. 92
20
                                                (Docket No. 903-96) (Los Angeles
21                                              County Fire Dept., Memorandum (Jan.
                                                9, 1996), at 1-2).
22

23   519. In 1994, AIG Environmental            519. Undisputed the cited document
24   Consultants performed a Phase I            includes the quoted language but
     Environmental Site Assessment of the       mischaracterizes the evidence and
25   Property. AIG concluded that “the          immaterial.
26   greatest potential risk to the subject
     property” was the total of 37 sites less   Supporting Evidence:
27   than ¼ mile away whose potential off-
                                                The statement is necessarily qualified
28   site contamination may have impacted
                                                by the failure of AIG to investigate
                                           Exhibit B
                                             91
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2             ALLEGEDLY                          MOVING PLAINTIFFS’
3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                         EVIDENCE
4        SUPPORTING EVIDENCE
5

6
     the Property, and AIG also             other sources of potential
     recommended additional investigation   contamination. The AIG assessment
7    of the Property itself.                specifically identified numerous other
8
                                            potential sources of contamination
     Supporting Evidence:                   (including the unregistered UST,
9                                           potentially hazardous materials in
     AIG Consultants, Inc. Phase I
10                                          storage containers and 55-gallon drums
     Environmental Site Assessment, June
                                            located at the Property, and dark-
11   30, 1994, p. 3; (PTFS00024782); Ex.
                                            stained soil in the area of “Bay Traps”),
     C to the Declaration of Victor Otten
12                                          stated that AIG did not investigate these
                                            other sources, and recommended that
13                                          these other potential sources be
14                                          investigated and evaluated to determine
                                            their potential impact to the soil and
15                                          groundwater. Otten Decl., Ex. C
16                                          (Docket No. 931-3 Page ID #: 26241)
                                            (AIG Consultants, Inc., Phase I
17                                          Environmental Site Assessment (June
18                                          30, 1994), at 3).

19                                          AIG states that, based on the results of
                                            its inspection of the Property and its
20
                                            historical records of land use and
21                                          regulatory inquiries, “there is evidence
                                            of past activity at the Site which may
22
                                            represent environmental risks and/or
23                                          liabilities. The extent of these
                                            environmental risks could possibly be
24
                                            determined with further investigation.
25                                          Therefore, AIG recommends that
                                            additional investigation be performed to
26
                                            further evaluate the potential for impact
27                                          to the soil, air, and/or ground water at
                                            the Site.” Id. at 3.
28

                                        Exhibit B
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3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                         EVIDENCE
4        SUPPORTING EVIDENCE
5

6
                                            See also Mutch Rebuttal Report, at § 3
                                            (Docket No. 949-78 Page ID #:30971-
7                                           77).
8                                           Immaterial because Kekropia admits it
9                                           is the current owner of the Patsouras
                                            Property, RSUMF 33, and hazardous
10
                                            substances have been detected in the
11                                          soils at the Patsouras Property and in
                                            OU-2 Groundwater beneath and
12
                                            downgradient of the Patsouras
13                                          Property, RSUMF 33, 34.
14
     520. In 1995, Kekropia, Inc. acquired 520. Undisputed.
15   the Patsouras Property from William
16   K. Palley. In 1997, El Greco
     Wholesale Grocers, Inc. and its owner
17   Larry Patsouras began operating on the
18   Property as a wholesale grocery
     warehouse.
19
     Supporting Evidence:
20

21   FAC ¶ ¶ 347, 350; Ex. A to the
     Declaration of Victor Otten
22

23   521. Patsouras sought regulatory       521. Undisputed that Patsouras sought
24   oversight from LARWQCB of the          regulatory oversight from RWQCB-LA
     assessment and cleanup of its          in 2008 but immaterial.
25   Property.
                                            Supporting Evidence:
26
     Supporting Evidence:
27                                          Otten Decl., Ex. L (Docket No. 931-12
                                            Page ID #:26607) (RWQCB-LA, Ltr. to
28                                          Larry Patsouras (Dec. 1., 2008) (stating

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3            UNCONTROVERTED                       RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                           EVIDENCE
4          SUPPORTING EVIDENCE
5

6
     Los Angeles Regional Water Quality         releases of chemicals from industrial
     Board Letter, Dec. 1, 2008, Ex. L to       uses at the site have degraded the
7    the Declaration of Victor Otten            groundwater quality and beneficial uses
8
                                                of the State’s waters and noting PCE,
                                                TCE and chromium were detected in
9                                               soils).
10
                                                Immaterial because Kekropia admits it
11                                              is the current owner of the Patsouras
                                                Property, RSUMF 33, and hazardous
12
                                                substances, including chromium, PCE
13                                              and TCE, have been detected in soils at
                                                the Patsouras Property and in OU-2
14
                                                Groundwater below or downgradient of
15                                              the Patsouras Property, RSUMF 34, 35.
16
     522. Pursuant to the cost recovery         522. Undisputed that Ex. L to the
17   program, Patsouras and his consultant      Otten Declaration states the RWQCB-
18   began the process assessing the            LA received a report titled “Remedial
     environmental conditions at the            Investigation Work Plan” dated Nov. 3,
19   Property and remediation.                  2008, prepared by Environmental
20                                              Audit, Inc. on behalf of Mr. Patsouras,
     Supporting Evidence:                       and the letter states it is being sent to
21                                              Mr. Patsouras to provide him
     Id.
22                                              information regarding costs for
                                                regulatory oversight work. Immaterial.
23

24
                                                Supporting Evidence:

25                                              Otten Decl., Ex. L (Docket No. 931-12
                                                Page ID #:26607) (RWQCB-LA, Ltr. to
26                                              Larry Patsouras (Dec. 1., 2008).
27
                                                Immaterial because Kekropia admits it
28                                              is the current owner of the Patsouras

                                            Exhibit B
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3          UNCONTROVERTED                        RESPONSE AND SUPPORTING
          MATERIAL FACTS AND                            EVIDENCE
4        SUPPORTING EVIDENCE
5

6
                                                Property, RSUMF 33, and hazardous
                                                substances, including chromium, PCE
7                                               and TCE, have been detected in soils at
8
                                                the Patsouras Property and in OU-2
                                                Groundwater below or downgradient of
9                                               the Patsouras Property, RSUMF 34, 35.
10
     523. Kekropia continues to own the         523. Undisputed. See RSUMF 33.
11
     Property today, which is still used for
12   a wholesale grocery warehouse and a
     tattoo artist supply business.
13

14   Supporting Evidence:

15   Los Angeles Regional Water Quality
     Board Letter, Jan. 4, 2017, Ex. B to the
16
     Declaration of Victor Otten
17

18   524. In 1994, AIG Environmental            524. Undisputed that Patsouras sought
     Consultants performed a Phase I            regulatory oversight from RWQCB-LA
19   Environmental Site Assessment of the       in 2008 but immaterial.
20   Property. AIG concluded that “the
     greatest potential risk to the subject     Supporting Evidence:
21   property” was not the property itself,
                                                Otten Decl., Ex. L (Docket No. 931-12
22   but the upgradient properties (the
                                                Page ID #:26607) (RWQCB-LA, Ltr. to
     “total of 37 sites less than ¼ mile away
23                                              Larry Patsouras (Dec. 1., 2008) (stating
     whose potential off-site contamination
                                                releases of chemicals from industrial
24   may have impacted the Property”) and
                                                uses at the site have degraded the
     recommended additional investigation.
25                                              groundwater quality and beneficial uses
     Supporting Evidence:                       of the State’s waters and noting PCE,
26
                                                TCE and chromium were detected in
27                                              soils).
28

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3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
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4        SUPPORTING EVIDENCE
5

6
     Phase I Environmental Site                Immaterial because Kekropia admits it
     Assessment, dated June 30. 1994, Ex.      is the current owner of the Patsouras
7    C to the Declaration of Victor Otten      Property, RSUMF 33, and hazardous
8
                                               substances, including chromium, PCE
                                               and TCE, have been detected in soils at
9                                              the Patsouras Property and in OU-2
10                                             Groundwater below or downgradient of
                                               the Patsouras Property, RSUMF 34, 35.
11

12   525. Kekropia retained                    525. Partially disputed.
     Environmental Audit, Inc. (EAI) to
13                                             Supporting Evidence:
     perform an environmental
14   investigation of the Property. EAI’s
                                               Plaintiffs do not dispute that Kekropia
     investigation indicated that “the
15                                             retained EAI to perform an
     majority of the soil contamination is
                                               investigation of the Patsouras Property.
16   heavy end petroleum product.” EAI
                                               Otten Decl., Ex. H, (Docket No. 931-8
     considered a variety of in-situ
17                                             Page ID #:26481) (Envtl. Audit, Inc.,
     technologies for remediation of the
                                               Remedial Action Plan (June 16, 1997)
18   heavy end petroleum hydrocarbons in
                                               at 3 (PTFS00022442)). Plaintiffs do not
     the soil, but determined that they were
19                                             dispute that EAI purported to
     impracticable “for the relatively small
                                               investigate the Patsouras Property,
20   volume of contaminated soil at the
                                               however, the remedial action chosen at
     Site, and therefore recommended
21                                             the property was excavation of a
     excavation and off-site disposal of the
                                               significant amount of contaminated
22   impacted soil.
                                               soil. Valenzuela Opp’n Decl., Ex. 16, at
23   Supporting Evidence:                      175 (Docket No. 949-43) (Los Angeles
24
                                               Regional Water Quality Board Letter
     Environmental Audit, Inc., “Remedial      (Jan. 4, 2017) at 2) (noting soil removal
25   Action Plan, 11630-11700 Burke            actions in 1998, 2006, 2010 and 2014).
26
     Street,” June 16, 1997, at                In addition, the selected remedial action
     PTSF00022451, 22453; Ex. H to the         did not test for hexavalent chromium.
27   Declaration of Victor Otten               Mutch Report, at 7-11 to 7-13 (Docket
28
                                               No. 903-204 Page ID #:25424-26).

                                          Exhibit B
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 4        SUPPORTING EVIDENCE
 5

 6
                                                Plaintiffs do not dispute the report
                                                discusses considering in-situ
 7                                              technologies, but Plaintiffs dispute
 8
                                                there was a relatively small volume of
                                                contaminated soil in light of the fact
 9                                              that a significant amount of soil was
10                                              excavated. Otten Decl., Ex. H (Docket
                                                No. 931-8 Page ID#:26490) (Envtl.
11                                              Audit, Inc., Remedial Action Plan (June
12                                              16, 1997) at 10 (PTFS000224451));
                                                Valenzuela Opp’n Decl., Ex. 16, at 175
13                                              (Docket No. 949-43) (Los Angeles
14                                              Regional Water Quality Board Letter,
                                                Jan. 4, 2017, at 2) (noting soil removal
15                                              actions in 1998, 2006, 2010 and 2014).
16
     526. In 2006, Biophysics                   526. Undisputed.
17
     Environmental Assessments, Inc.
18   (“BEA”) performed confirmation
     testing and removal of
19
     environmentally impacted soil
20   identified in previous site testing.
21   Supporting Evidence:
22
     Biophysics Environmental
23   Assessments, Inc., Soil Remediation
24
     Report of Findings for El Greco, Inc.,
     Sept. 14, 2006; (PTFS00023600-
25   PTFS00023663); Ex. G to the
26
     Declaration of Victor Otten

27
     527. BEA concluded that the                527. Disputed.
28   sampling results “showed no threat to

                                            Exhibit B
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 5

 6
     groundwater since boring B-7            Supporting Evidence:
     demonstrated vertical attenuation of
 7   both PCE and TCE to non-detect at       Testing performed at the B-7 boring
     termination depth of 35’ below grade    was incomplete and failed to take into
 8                                           account the soil composition and the
     surface (bgs).”
 9                                           water table at the location. Mutch
     Supporting Evidence:                    Report, at 7-10 to 7-11 & Fig. 7-7
10
                                             (Docket Nos. 903-204 Page ID
11   Id. at PTFS00023604.                    #:25423-24 & 903-210 Page ID
                                             #:25573)
12

13                                           The data from samples taken from 15,
                                             20, 25, and 35 feet bgs “can by no
14                                           means be taken to indicate that the
15                                           maximum depth of PCE penetration
                                             was limited to 25 feet at B-7” because:
16
                                             1. No sample was taken at 30 feet, and
17
                                             it may have contained PCE. Mutch
18                                           Report, at 7-11 (Docket No. 903-204
                                             Page ID #:25424).
19

20                                           2. The testing done by BEA, EAI and
                                             any others of this area only tested for
21                                           “vertical” migration when “[i]t is well-
22                                           recognized that infiltrating moisture in
                                             the vadose zone can follow complex
23                                           pathways because of capillary action
24                                           and complex lithologies.” Id.
                                             “Assuming purely vertically-downward
25                                           migration in the vadose zone is a
26                                           perilous and often incorrect
                                             assumption.” Id. “[O]ne cannot reliably
27                                           define the vertical extent of
28                                           contamination in the vadose zone with

                                         Exhibit B
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 6
                                             a single boring. What may appear in a
                                             single borehole to be the base of the
 7                                           contamination may simply indicate that
 8
                                             the plume has been diverted laterally
                                             due to lithologic variability and is now
 9                                           outside the vertical trajectory of the
10                                           boring.” Id.

11                                           3. The 35-foot sample was taken from a
                                             clay stratum. Id. at 7-11 & Fig. 3
12
                                             (Docket No. 903-210 Page ID
13                                           #:25569). It is probable that the PCE
                                             plume migrating downward through the
14
                                             vadose zone diverted around this low
15                                           permeability stratum. Id. at 7-11
                                             (Docket No. 903-204 Page ID
16
                                             #:25424).
17
                                             4. In the late 1990s, the groundwater
18                                           table was approximately 32 to 36 feet
19                                           bgs. Id. Thus, the water table was above
                                             the 35-foot sample location. Id. Thus,
20                                           the PCE plume migrating vertically-
21                                           downward through the vadose zone was
                                             intercepted by laterally flowing
22                                           groundwater in the upper part of the
23                                           saturated zone and not carried further
                                             downward to the 35-foot depth. Id.
24                                           Groundwater would have been
25                                           contaminated in this location by PCE
                                             migrating downward through the
26                                           vadose zone. Id. The Los Angeles
27                                           County Fire Department found that soil
                                             and groundwater contaminated with
28                                           VOCs at the Property and indicated that
                                         Exhibit B
                                           99
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 6
                                             VOCs in the eastern portion of the
                                             Property “have been found to extend to
 7                                           GW [i.e., groundwater].” Pls.’ RFJN,
 8
                                             Ex. 92 (Docket No. 903-96) (Los
                                             Angeles County Fire Department
 9                                           Memorandum re Palley Property (Jan.
10                                           1996). They further observed that the
                                             “clarifier area” at the Property is
11                                           “contaminated to GW with VOCs.” Id.
12
                                             PCE was also continuously detected in
13                                           boring E-9, near a storage shed, at
                                             depths of 10, 15, 20, 24, and 30 feet at
14
                                             concentrations between 23 and 104
15                                           ug/kg. Mutch Report, at 7-11 (Docket
                                             No. 903-204 Page ID #:25424). This
16
                                             data indicates that PCE was transported
17                                           through the vadose zone to the historic
                                             elevation of the groundwater table and
18
                                             impacted the groundwater with PCE.
19                                           Id.
20                                           This statement is also disputed because
21                                           it rests on the faulty premise that testing
                                             showed there was no PCE
22                                           contamination. On the contrary, tests do
23                                           not show the presence of PCE, TCE,
                                             hexavalent chromium or other VOCs
24                                           because they were not tested for these
25                                           substances. In the report cited as
                                             support for this statement, BEA clearly
26                                           states that it was hired solely to remove
27                                           soil from 2 areas identified by other
                                             investigations in 1994 and 1997. Otten
28                                           Decl., Ex. G (Docket No. 931-7 Page
                                         Exhibit B
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 6
                                             ID #:26415) (Biophysics Envtl.
                                             Assessments, Inc., Soil Remediation
 7                                           Report (Sept. 14, 2006) at 1). BEA did
 8
                                             not test any other areas of the Property
                                             to determine whether they were
 9                                           contaminated by PCE, TCE, hexavalent
10                                           chromium or other VOCs. Id. Despite
                                             evidence of discharge of waste
11                                           containing 975,000 times more than the
12                                           health-protective level amounts of
                                             hexavalent chromium (19.5 ppm), no
13                                           follow up testing was ever done. Mutch
14                                           Report, at 7-7 (Docket No. 903-204
                                             Page ID #:25420). No testing of the soil
15                                           or groundwater was ever completed
16                                           beneath the storm drain or the flood
                                             control channel where Globe—for
17                                           decades—disposed of industrial waste
18                                           before sewers were installed at the
                                             Property. Id. In 1988, the clarifiers
19                                           were filled with trash and oil and waste
20                                           was discharging to the street; however,
                                             no testing was done in these areas for
21                                           TCE, PCE, or other VOCs. Id. at 7-8;
22                                           Pls.’ RFJN, Ex. 101 (Docket No. 903-
                                             105) (Inspection Record for Talco
23                                           Plastics, May 18, 1988). Stained ground
24                                           surface was noted in the southwest
                                             corner of the Property in the area of
25                                           four partially-filled 55-gallon drums;
26                                           but, still, no testing for TCE, PCE, or
                                             other VOCs was completed. Valenzuela
27                                           Opp’n Decl., Ex. 4, at 31 (Docket No.
28                                           949-31) (AIG Consultants, Phase I

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 6
                                                 Environmental Site Assessment (June
                                                 30, 1994) at 21). No meaningful
 7                                               investigation of the role the lagoons had
 8
                                                 upon the nature and extent of the
                                                 contamination of the Property has ever
 9                                               been completed. See Mutch Report, at
10                                               7-27 to 7-28 (Docket No. 903-204 Page
                                                 ID #:25440-41). The lagoons were
11                                               present on the Property from at least
12                                               1938 – 1973, but, inexplicably, have
                                                 never been a major focus of
13                                               investigation. Id.
14
     528. BEA concluded that the                 528. Disputed.
15
     concentrations of petroleum and
16   solvents identified in 1994 “had            Supporting Evidence:
     insufficient mass for vertical
17                                               As discussed in response to RSUMF
     migration, with sorption and
                                                 527 “[i]t is well-recognized that
18   desorption, in excess of a few feet.”
                                                 infiltrating moisture in the vadose zone
19   Supporting Evidence:                        can follow complex pathways because
                                                 of capillary action and complex
20
     Id. at PTFSO0023607.                        lithologies.” Mutch Report, 7-11
21                                               (Docket No. 903-204 Page ID
                                                 #:25424). “Assuming purely vertically-
22
                                                 downward migration in the vadose zone
23                                               is a perilous and often incorrect
24
                                                 assumption.” Id. “[O]ne cannot reliably
                                                 define the vertical extent of
25                                               contamination in the vadose zone with
26
                                                 a single boring. What may appear in a
                                                 single borehole to be the base of the
27                                               contamination may simply indicate that
28
                                                 the plume has been diverted laterally

                                             Exhibit B
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 6
                                               due to lithologic variability and is now
                                               outside the vertical trajectory of the
 7                                             boring.” Id.
 8                                             Additionally, such a determination is
 9                                             impossible to make due to the
                                               inadequate testing and investigation of
10
                                               hazardous substances in the soil, as set
11                                             out in Plaintiffs’ responses to
                                               Kekropia’s RSUMF 527, 531 and 546
12
                                               which are incorporated herein by
13                                             reference.
14
     529. BEA concluded that “intrinsic        529. Disputed.
15   biodegradation and weathering has
     removed all measurable solvents and       Supporting Evidence:
16
     continues to remove the petroleum
17                                             The entire OU-2 Groundwater area lies
     hydrocarbons.”
                                               in a recharge area defined as an area
18                                             where water from precipitation and
     Supporting Evidence:
19                                             other shallow water sources, such as
     Id. at §6.0.                              leaking sewers and clarifiers, reaches
20                                             the underlying groundwater from
21                                             surface infiltration. See Mutch Report,
                                               2-4 to 2-8 (Docket No. 903-204 Page
22                                             ID #:25283-87).
23
                                               Defendants’ expert admits that
24                                             contamination to groundwater from
25
                                               1970 hexavalent chromium discharge to
                                               ground may have moved off property
26                                             by now. See Valenzuela Opp’n Decl.,
27
                                               Ex. 15, at 172 (Docket No. 949-42) (J.
                                               Kulla Dep. Tr. at 119: 5-21).
28

                                           Exhibit B
                                             103
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 6
     530. BEA concluded that “no mass          530. Disputed.
     of petroleum hydrocarbons and no
 7   measurable mass of chlorinated            Supporting Evidence:
 8
     solvents are present in the soil column
                                               Such a determination is impossible to
     with capability for migration to the
 9
                                               make due to the inadequate testing and
     groundwater by moisture migration
                                               investigation of hazardous substances
10   through adsorption and partitioning.”
                                               in the soil, as set out in Plaintiffs’
11   Supporting Evidence:                      responses to Kekropia’s RSUMF 527,
                                               531 and 546 which are incorporated
12   Id. at §7.0.                              herein by reference.
13
     531. BEA concluded that “[N]o             531. Disputed.
14
     further action is recommended based
15   upon the very low levels of hazardous     Supporting Evidence:
     materials identified in site testing in
16                                             Such a determination is impossible to
     1994 and confirmed in 2006.”
                                               make due to the inadequate testing and
17
     Supporting Evidence:                      investigation of hazardous substances
18                                             in the soil. See also Plaintiffs’
     Id.                                       responses to Kekropia’s RSUMF 527
19
                                               and 546 which are incorporated herein
20                                             by reference.
21                                             Minimal testing was done for TCE,
22                                             PCE, hexavalent chromium or other
                                               VOCs. Mutch Report, at 7-8 to 7-14
23                                             (Docket No. 903-204 Page ID #:25421-
24                                             27). Total chromium measured in Phase
                                               II samples ranged from below detection
25                                             limits (200 ug/kg) to 71,100 ug/kg, with
26                                             the highest levels at B-8 which lies in a
                                               stained soil area identified in historical
27                                             photos on the eastern parcel. Id. at 7-11.
28                                             Hexavalent chromium was not tested

                                           Exhibit B
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 6
                                             for on these samples. Id. Supplemental
                                             assessments in 1994, 1996, and 1999
 7                                           tested samples from 31 locations across
 8
                                             the Property. Id. at 7-12 & Figs. 7-2, 7-
                                             3 (Docket Nos. 903-204 & 903-210).
 9                                           Of these 31 locations, only 1 was tested
10                                           for total chromium. Id. at 7-12. None
                                             were tested for hexavalent chromium.
11                                           Id. The samples taken by BEA in its
12                                           2006 assessment were not tested for
                                             hexavalent chromium though total
13                                           chromium ranged between 18 and 62
14                                           mg/kg. Id.

15                                           EAI closed 5 subsurface units in 2009,
                                             but did not collect samples for 2 of the
16
                                             units. Id. & Fig. 7-4 (Docket Nos. 903-
17                                           204 & 903-210). Samples from the
                                             other 3 units were tested for total
18
                                             chromium, but were not tested for
19                                           hexavalent chromium. Id. The
                                             “stockpile” of soil removed from these
20
                                             3 units was tested for total chromium
21                                           only, and was found to have the second
                                             highest concentration on the entire
22
                                             Property (224 mg/kg)—but, this soil
23                                           was not tested for hexavalent
                                             chromium. Id.
24

25                                           The failure to test for hexavalent
                                             chromium is inexplicable—particularly
26                                           when there are at least 2 documented
27                                           discharges of hexavalent chromium to
                                             the soil and/or groundwater of the
28                                           Property. Id. at 7-13 (citing 1970
                                         Exhibit B
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 6
                                             discharge of waste containing 975,000
                                             times more than the health-protective
 7                                           level amounts of hexavalent chromium
 8
                                             and 1988 discharge from clarifiers to
                                             the street). Contaminated waste water
 9                                           from the clarifiers and other sources
10                                           were disposed of—for decades—to a
                                             storm drain/flood control channel
11                                           before the Property was connected to
12                                           sewers. Id. at 7-7.

13                                           The ESL for arsenic in soil was
                                             exceeded at several locations at the
14
                                             Property from 2 feet to 35 feet bgs,
15                                           which is indicative of release of arsenic
                                             from operations on the Patsouras
16
                                             Property to the subsurface. Id. at 7-13.
17                                           Because of the inadequacy and
                                             sparseness of the monitoring well
18
                                             network at the Patsouras Property,
19                                           arsenic impacts to groundwater may not
                                             be identifiable. Id. at 7-14.
20

21                                           Despite minimal investigations on the
                                             Patsouras Property, the data that was
22                                           obtained reveals the extent of
23                                           groundwater contamination. Id. PCE
                                             was found in monitoring wells in the
24                                           vicinity of the clarifiers, where vadose
25                                           zone soil samples showed penetration
                                             of PCE to the depth of the groundwater
26                                           table. Id. This indicates a contribution
27                                           of PCE to groundwater from the
                                             Patsouras Property. Id. Additionally,
28                                           some higher levels of hexavalent
                                         Exhibit B
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 6
                                             chromium were found in MW-1, MW-
                                             1D, and MW-3 in the middle of the
 7                                           Patsouras Property near the clarifiers
 8
                                             than in MW-2, establishing releases of
                                             hexavalent chromium from the
 9                                           clarifiers, resulting in groundwater
10                                           contamination. Id. at 7-14 and 7-17.
                                             TCE, a “daughter” product of PCE, is
11                                           found in concentrations higher in MW-
12                                           1D, MW-3, and MW-4 than in MW-2.
                                             Id. at 7-17. Concentrations exceeding
13                                           groundwater ESLs were measured for
14                                           1,1-dichloroethene, carbon
                                             tetrachloride, chloroform,
15                                           tetrachloroethene (PCE), trans-1,2-
16                                           dichloroethene, trichloroethene (TCE),
                                             chromium (total), chromium VI, nickel,
17                                           and vanadium. Id.
18
                                             Soil gas concentrations in excess of soil
19                                           gas ESL values were noted for benzene,
                                             carbon tetrachloride, chloroform, PCE
20
                                             and TCE. Id. The spatial distribution of
21                                           the PCE and TCE soil gas
                                             contamination, along with the shallow
22
                                             soil contamination, indicates that the
23                                           PCE and TCE came from releases on
                                             the Property and not from off-gassing
24
                                             from the underlying groundwater. Id.
25                                           Thus, the contaminated soil gas would
                                             serve as a source of OU2 groundwater
26
                                             contamination as it partitioned from the
27                                           soil gas to recharging groundwater. Id.
28                                           PCE, TCE, and chromium, as well as
                                         Exhibit B
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 6
                                             other hazardous substances, have all
                                             been identified as present in the
 7                                           subsurface at levels about soil
 8
                                             screening levels, meaning that these
                                             substances are present in soils at the
 9                                           Patsouras Property at levels that exceed
10                                           those considered protective of
                                             groundwater. See Valenzuela Opp’n
11                                           Decl., Exs. 5, at 43-45 (Professional
12                                           Service Industries, Phase II Preliminary
                                             Contamination Assessment, Aug. 18,
13                                           1994, at 13 & Table 3) (Docket No.
14                                           949-32), 9, at 85-88 (Environmental
                                             Audit, Inc., Summary of Site
15                                           Assessments, Mar. 2009, Table 1)
16                                           (Docket No. 949-36), 10, at 98-103
                                             (Environmental Audit, Inc., Ground
17                                           Water Samples, Confirmation Soil
18                                           Samples, Aug. 6, 2013, Table 1)
                                             (Docket No. 949-37); Mutch Report, at
19                                           Tables 3-1 & 7-4 (Docket No. 903-204
20                                           Page ID #:25308-09, 25417).

21                                           The Santa Fe Springs Fire Department,
                                             Environmental Services Division,
22
                                             found that “historic Palley site
23                                           operations contamination probably
                                             contributed to the VOC portion “ of
24
                                             groundwater contamination at the
25                                           property. See Opp’n RFJN, Ex. 21, at
                                             146-147 (Steve Chase, Santa Fe
26
                                             Springs Fire Department,
27                                           Environmental Services Division,
                                             Memorandum to Dave Klunk, Director,
28

                                         Exhibit B
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 6
                                             Environmental Services Division, Santa
                                             Fe Springs Fire Department, Sept. 29,
 7                                           1997) (Docket No. 949-23). Mr. Chase
 8
                                             further advised that groundwater at the
                                             property was first encountered at 35
 9                                           feet bgs, and “PCE was found in a
10                                           [soil] column” from 10 feet bgs to 35
                                             feet bgs. Id.
11
                                             Even Defendants’ expert admits that
12
                                             contamination to groundwater from
13                                           1970 hexavalent chromium discharge to
                                             ground may have moved off property
14
                                             by now). See Valenzuela Opp’n Decl.,
15                                           Ex. 15, at 172 (Kulla Dep. 119: 5-21)
                                             (Docket No. 949-42).
16

17                                           Chromium, PCE, and TCE have been
                                             detected in the subsurface soils at the
18                                           Property, and these same substances are
19                                           in OU-2 Groundwater below and
                                             downgradient of the Property. See
20                                           Valenzuela Opp’n Decl., Exs. 5, at 43-
21                                           45 (Professional Service Industries,
                                             Phase II Preliminary Contamination
22                                           Assessment, Aug. 18, 1994, at 13 &
23                                           Table 3) (Docket No. 949-32), 9, at 85-
                                             88 (Environmental Audit, Inc.,
24                                           Summary of Site Assessments, Mar.
25                                           2009, Table 1) (Docket No. 949-36),
                                             10, at 98-103 (Environmental Audit,
26                                           Inc., Ground Water Samples,
27                                           Confirmation Soil Samples, Aug. 6,
                                             2013, Table 1); 11, at 109-114
28                                           (Environmental Audit, Inc., Third
                                         Exhibit B
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 6
                                               Quarter 2013 Ground Water
                                               Monitoring Report, Oct. 23, 2013,
 7                                             Tables 2, 3) (Docket No. 949-37);
 8
                                               Mutch Report, Jan. 14, 2021, Tables 3-
                                               1, 7-4 and 7-5.
 9
                                               The entire OU-2 Groundwater area lies
10
                                               in a recharge area defined as an area
11                                             where water from precipitation and
                                               other shallow water sources, such as
12
                                               leaking sewers and clarifiers, reaches
13                                             the underlying groundwater from
                                               surface infiltration. See Mutch Report,
14
                                               at 2-4 to 2-8 (Docket No. 903-204 Page
15                                             ID #25283-87).
16
     532. EAI concluded that the majority      532. Disputed.
17   of the soil contamination at the
     Patsouras Property “is heavy end          Supporting Evidence:
18
     petroleum product.”
19                                             Such a determination is impossible to
     Supporting Evidence:                      make due to the inadequate testing and
20                                             investigation of hazardous substances
21   Environmental Audit, Inc., “Remedial      in the soil, as set out in Plaintiffs’
     Action Plan, 11630-11700 Burke            responses to Kekropia’s RSUMF 527,
22   Street,” June 16, 1997, at                531 and 546 which are incorporated
23   PTSF00022451; Ex. H to the                herein by reference.
     Declaration of Victor Otten
24

25   533. Pursuant to closure                  533. Undisputed the 2010 Updated
26   authorization issued by uhe SFSFD on      Site Conceptual Model and Request for
     Jarmary 7, 1999, the storm water          Low Risk Closure prepared by EAI 11-
27   clarifier located west of the office      years later supports this statement.
28   building situated on the West Parcel of   Immaterial.

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 6
     the Site was removed. On August 25,        Supporting Evidence:
     1999, the SFSFD issued a closure
 7   ce~fication for the storm water            Otten Decl., Ex. D (Docket No. 931-4
     clarifier.                                 Page ID #:26273) (Envtl. Audit, Inc.,
 8                                              Updated Site Conceptual Model &
 9   Supporting Evidence:                       Request for Low Risk Closure (June
                                                17, 2010) at 5).
10   Environmental Audit, Inc., “Updated
11   Site Conceptual Model and Request          Immaterial because Plaintiffs do not
     for Low Risk Closure,” June 17, 2010,      have to trace “releases” or “threatened
12   at p. 5, at PTFSO0024517; Ex. D to         releases” of hazardous substances back
13   the Declaration of Victor Otten            to a specific defendant or to a specific
                                                defendant’s period of ownership or
14                                              operation.
15

16

17   534. EAI concluded that “TGPH-G,           534. Disputed.
     TPH-D, and TPH-O have never been
18   identified in ground water” at the         Supporting Evidence:
19   Patsouras Property. “Chlorinated
                                                Such a determination is impossible to
     compounds are not generally identified
20                                              make due to the inadequate testing and
     in soil at the Site but are present in
                                                investigation of hazardous substances
21   ground water at concentrations that are
                                                in the soil, as set out in Plaintiffs’
     consistent with the regional impact to
22                                              responses to Kekropia’s RSUMF 527,
     ground water (see Section 3.0). In
                                                531 and 546 which are incorporated
23   EAI’s opinion the chlorinated
                                                herein by reference.
     compounds detected in ground water
24   at the Site are not the result of former   PCE and TCE have been identified in
25   site activities.”                          the groundwater at the Property. Otten
26
                                                Decl., Ex. I, at 1 (Docket No. 931-9
     Supporting Evidence:
                                                Page ID #:26513) (Covenant and
27   Environmental Audit, Inc., “Updated        Environmental Restriction on Property
28   Site Conceptual Model and Request          executed July 5, 2016).

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 6
     for Low Risk Closure,” June 17, 2010,      The hexavalent chromium on the
     at p. 21, at PTFS00024533; Ex. D to        Patsouras Property is not derived from
 7   the Declaration of Victor Otten            groundwater from other properties.
 8
                                                Mutch Report, at 7-16 & Fig. 7-9
                                                (Docket Nos. 903-204 Page ID #:25429
 9                                              & 903-210 Page ID#25575). In the first
10                                              hexavalent chromium water analysis
                                                performed (February 2009), the highest
11                                              levels of hexavalent chromium were
12                                              found in monitoring wells in the middle
                                                of the Patsouras Property. Id. at 7-16
13                                              The nearest monitoring wells from
14                                              adjacent properties are cross-gradient
                                                and were non-detect for hexavalent
15                                              chromium, indicating that the
16                                              hexavalent chromium on the Property
                                                did not migrate from other properties.
17                                              Id.
18
     535. On Sept. 15, 2016, Regional      535. Undisputed.
19
     Board Executive Officer Samuel
20   Unger executed the Covenant and
     Environmental Restriction on Property
21
     for the Patsouras Property.
22
     Supporting Evidence:
23

24
     Covenant and Environmental
     Restriction; Ex. I to the Declaration of
25   Victor Otten
26
     536. The Covenant and                      536. Disputed as incomplete.
27
     Environmental Restriction approved
28   by and for the benefit of the Regional     Supporting Evidence:

                                           Exhibit B
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 6
     Board stated as follows: “Chlorinated    The cited document states that the
     solvent compounds present in the         Regional Board “has determined that
 7   groundwater beneath the Site appear to   the [Patsouras] Property is not suitable
 8
     be consistent with the site area         for unrestricted use and that a land use
     regional chlorinated solvent impacts;    restriction is necessary for the
 9   no dissolved or free phase total         protection of present or future human
10   petroleum hydrocarbons have been         health, safety, or the environment as a
     detected in the groundwater.”            result of the presence of hazardous
11                                            materials as defined in Section 25260
     Supporting Evidence:                     of the Health and Safety Code in the
12
                                              soil, soil gas, and groundwater at the
13   Id.
                                              [Patsouras] Property.” Otten Decl., Ex.
14                                            I at 1 (Covenant and Environmental
                                              Restriction on Property executed July 5,
15                                            2016). This Covenant also notes that
16                                            both PCE and TCE have been found in
                                              groundwater sampling on the property.
17                                            Id. at 3. In fact, it states that PCE was
18                                            found in the groundwater at the level of
                                              18.2 ug/L, more than three times higher
19                                            than that allowed by the California
20                                            Maximum Contaminant Level of 5
                                              ug/L. Id.
21
                                              It also states the soil and soil gas at the
22
                                              Burdened Property were contaminated
23                                            by historical leaks, primarily from
                                              clarifiers and past on-site historical
24
                                              activities. Id. at 1. It also identifies
25                                            sampling locations by year/depth where
                                              residual concentrations of contaminants
26
                                              remain in soil, at depths greater than 10
27                                            feet bgs, and above soil screening
                                              levels intended for protection of
28

                                         Exhibit B
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 6
                                                groundwater quality from potential
                                                leaching of contaminates to
 7                                              groundwater. Id. at 2 (PCE: 0.51).
 8
     537. On October 12, 2016, the              537. Undisputed but immaterial.
 9
     Covenant and Environmental
10   Restriction was recorded in the            Supporting Evidence:
     Official Records of the Los Angeles
11                                              Plaintiffs incorporate their response to
     County Recorder’s Office.
                                                RSUMF 538 by reference.
12
     Supporting Evidence:
13
     Id.
14

15   538. On Jan. 4, 2017, the Regional         538. Undisputed but immaterial.
16   Board issued a “No Further Action”
     Letter to Kekropia for the Patsouras       Supporting Evidence:
17   Property.
                                                While it is uncontroverted that the
18                                              referenced letter was sent to Kekropia,
     Supporting Evidence:
19                                              the Regional Board stated the following
     Los Angeles Regional Water Quality         with respect to historical industrial
20   Board Letter, Jan. 4, 2017; Ex. B to       activities at the Patsouras Property:
21   the Declaration of Victor Otten            “Historical Site use for industrial
                                                activities resulted in discharges of
22                                              waste to the subsurface, including total
23                                              petroleum hydrocarbons (TPH), volatile
                                                organic compounds (VOCs), and
24
                                                metals listed in Title 22 of the
25                                              California Code of Regulations.
                                                Specifically, the wastes discharged to
26
                                                the subsurface at the Site has been
27                                              associated with storage and use of
                                                petroleum products, solvents, metal
28
                                                product manufacturing/fabrication, and
                                            Exhibit B
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 6
                                                use of multiple clarifiers.” Otten Decl.,
                                                Ex. B (Docket No. 931-2 Page ID
 7                                              #26229-30) (Los Angeles Regional
 8
                                                Water Quality Board Letter (Jan. 4,
                                                2017) at 1-2). It also states: “Please
 9                                              note that by issuing this NFA letter, the
10                                              Regional Board has not made a
                                                determination as to whether discharges
11                                              of waste to regional groundwater
12                                              occurred as a result of historical
                                                activities at the Site.” Id. at 3.
13
                                                Mutch Report, 7-23 to 7-29 (Docket
14
                                                No. 903-204 Page ID #:25435-42)
15                                              (describing Patsouras Property
                                                contribution to OU-2 contamination)
16

17                                              Mutch Rebuttal Report, at §§ 3.1, 3.5
                                                (Docket No. 949-78 Page ID #:30971-
18                                              72, 30975-77) (describing historic
19                                              contamination and continuing
                                                obligations imposed by environmental
20                                              covenant).
21
     539. The Regional Board concluded          539. Undisputed the Jan. 4, 2017,
22
     that the activities at the Patsouras       letter includes the quoted language but
23   Property resulted “in the cleanup or       immaterial and mischaracterizes the
24
     abatement of wastes to assure              letter.
     protection of human health and the
25   waters of the State at and near the Site   Supporting Evidence:
26
     for their beneficial use.”
                                                Plaintiffs incorporate their response to
27   Supporting Evidence:                       RSUMF 538.

28

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 6
     Id. at p.3.                             Mutch Report, 7-23 to 7-29 (Docket
                                             No. 903-204 Page ID #:25435-42)
 7                                           (describing Patsouras Property
 8
                                             contribution to OU-2 contamination)

 9                                           Mutch Rebuttal Report, at §§ 3.1, 3.5
                                             (Docket No. 949-78 Page ID #:30971-
10
                                             72, 30975-77) (describing historic
11                                           contamination and continuing
                                             obligations imposed by environmental
12
                                             covenant).
13
                                             See Otten Decl., Ex. B (Docket No.
14                                           931-2) (Los Angeles Regional Water
15                                           Quality Board Letter (Jan. 4, 2017).

16
     540. The Regional Board determined      540. Undisputed but immaterial.
17   that there was no reason to monitor
     groundwater at the Property and         Supporting Evidence:
18
     required Kekropia to decommission,
                                             Plaintiffs incorporate their response to
19   abandon, and destroy all monitoring
                                             RSUMF 538.
     wells on the Property.
20
                                             Mutch Report, 7-23 to 7-29 (Docket
21   Supporting Evidence:
                                             No. 903-204 Page ID #:25435-42)
22   Id.                                     (describing Patsouras Property
                                             contribution to OU-2 contamination)
23
                                             Mutch Rebuttal Report, at §§ 3.1, 3.5
24
                                             (Docket No. 949-78 Page ID #:30971-
25                                           72, 30975-77) (describing historic
26
                                             contamination and continuing
                                             obligations imposed by environmental
27                                           covenant).
28

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 6
                                               See Otten Decl., Ex. B (Docket No.
                                               931-2) (Los Angeles Regional Water
 7                                             Quality Board Letter (Jan. 4, 2017).
 8
     541. EPA’s consultant, CH2M Hill,         541. Undisputed but immaterial.
 9
     concluded that the former Omega
10   Chemical facility is the main source of   Supporting Evidence:
     groundwater contamination at OU2.
11                                           Immaterial because CH2M Hill also
     Supporting Evidence:                    concluded that “because [OU-2] flows
12
                                             under a densely developed commercial
13   Final Remediation                       – industrial area, there are additional
     Investigation/Feasibility Study Reports facilities whose releases of hazardous
14
     Omega Chemical Corporation              substances have reached groundwater
15   Superfund Site Operable Unit 2 Los      and become commingled with the
     Angeles County, California, Volume      Omega contamination. Otten Decl., Ex.
16
     1, CH2M HILL, Aug. 2010, § 8.1.2, p. J (Docket No. 931-10 Page ID #:26547)
17   8-4; Ex. J to the Declaration of Victor (CH2M HILL, Final Remediation
     Otten                                   Investigation /Feasibility Study Reports
18
                                             (Aug. 2010), at 8-4).
19
                                               Immaterial because the relevant
20                                             question in Plaintiffs’ Motion is
21                                             whether the Patsouras Property is also a
                                               source of OU-2 Groundwater
22                                             contamination.
23

24   542. The Final Remedial                   542. Undisputed but immaterial.
     Investigation Report by the US EPA
25   environmental consultant, CH2M Hill,      Supporting Evidence:
26   identified properties located over the
                                               Mutch Report, 7-23 to 7-29 (Docket
     OU-2 groundwater plume which were
27                                             No. 903-204 Page ID #:25435-42)
     sources of chlorinated VOCs (PCE,
28   TCE, 1,1,-DCE) to groundwater, but

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 6
     did not identify the Patsouras Property    (describing Patsouras Property
     as an on-going or historical source of     contribution to OU-2 contamination)
 7   these VOCs to the groundwater.
                                                Mutch Rebuttal Report, at §§ 3.1, 3.5
 8   Supporting Evidence:                       (Docket No. 949-78 Page ID #:30971-
 9                                              72, 30975-77) (describing historic
     Id., § 5.5, pp. 5-12 to 5-30.              contamination and continuing
10
                                                obligations imposed by environmental
11                                              covenant).
12
     543. The Final Remedial                    543. Undisputed but immaterial.
13   Investigation Report by the US EPA
     environmental consultant, CH2M Hill,       Supporting Evidence:
14
     identified properties located over the
15                                              Mutch Report, 7-23 to 7-29 (Docket
     OU-2 groundwater plume which were
                                                No. 903-204 Page ID #:25435-42)
16   sources of non-chlorinated VOCs to
                                                (describing Patsouras Property
     groundwater, but did not identify the
17                                              contribution to OU-2 contamination)
     Patsouras Property as an on-going or
18   historical source of these VOCs to the     Mutch Rebuttal Report, at §§ 3.1, 3.5
     groundwater.                               (Docket No. 949-78 Page ID #:30971-
19
                                                72, 30975-77) (describing historic
     Supporting Evidence:
20                                              contamination and continuing
     Id., § 5.5, pp. 5-12 to 5-30.              obligations imposed by environmental
21
                                                covenant).
22

23   544. From 1994 through 2010, at            544. Disputed.
     least 123 soil samples were taken on
24                                              Supporting Evidence:
     the West Parcel of the Patsouras
25   Property.
                                                This statement is supported solely by
26   Supporting Evidence:                       the report of Defendants’ “expert,” Dr.
                                                Jean Kulla. However, Dr. Kulla’s
27
                                                opinions are unreliable, as she appears
28                                              not to be aware of, or have evaluated,

                                            Exhibit B
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 6
     Expert Report of Dr. Jean Kulla; Ex. K critical facts that might have informed
     to the Declaration of Victor Otten     her opinion. She testified that she knew
 7                                          PCE and TCE were in the soil at the
 8
                                            Patsouras Property, but she does not
                                            know how those substances came to be
 9                                          located in the soil or ever analyzed this
10                                          issue. See Valenzuela Opp’n Decl., Ex.
                                            15, at 156-158 (Docket No. 949-42)
11                                          (Kulla Dep. 69:24-70:11, 72:11-21,
12                                          Feb. 25, 2021). She did not even
                                            analyze whether contamination from
13                                          historic Palley site operations may have
14                                          contributed VOCs to OU-2
                                            Groundwater contamination or whether
15                                          Globe Oil released hazardous
16                                          substances on the Patsouras property.
                                            Id., at 152-153, 167 (Kulla Dep. 50:17-
17                                          51:2; 83:11-23).
18
                                             Dr. Kulla was similarly
19                                           unknowledgeable about Globe Oil’s
                                             operations. She did not know how
20
                                             Globe handled waste water or what was
21                                           in it. Id. at 150-151 (Kulla Dep. at
                                             46:12-20, 49:11-13). Dr. Kulla also
22
                                             believed that Globe Oil operated at the
23                                           property for only four years, from 1968
                                             to 1972. Id. at 146 (Kulla Dep. 37:3-9).
24
                                             She did not know that Globe Oil had
25                                           been operating at the property for over
                                             thirty years. See Plaintiffs’ response to
26
                                             Defendants’ RSUMF 506, which is
27                                           incorporated herein by reference. Such
                                             holes in Dr. Kulla’s knowledge of the
28

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 6
                                             property leads her to flawed and
                                             unreliable conclusions.
 7

 8   545. No PCE, TCE, chloroform, or 1- 545. Disputed and immaterial.
     1-dichloroethene were detected in any
 9                                         Supporting Evidence:
     of the 123 soil samples taken on the
10   West Parcel between 1994 and 2010.
                                           As stated in the responses to RSUMF
11   Supporting Evidence:                  527, 531 and 546 (which are
                                           incorporated herein), testing performed
12
     Id.                                   at the Patsouras Property was
13                                         inadequate and, largely, did not test for
                                           VOCs or hexavalent chromium.
14
                                           Though insufficient, testing at the B-7
15                                         and E-9 borings found PCE and TCE.
                                           Mutch Report, at 7-8 to 7-14 (Docket
16
                                           No. 903-204 Page ID #:25421-27). The
17                                         data indicates that PCE and TCE were
                                           transported through the vadose zone to
18
                                           the historic elevation of the
19                                         groundwater table and impacted the
                                           groundwater. Id. at 7-10 to 7-11, Figs.
20
                                           7-2, 7-3 & 7-7 (Docket Nos. 903-204
21                                         Page ID #:25423-24 & Docket Nos.
                                           903-210 Page ID #:25568-69, 25573).
22
                                           Any tests that are claimed not to have
23                                         shown the presence of TCE, PCE,
24
                                           hexavalent chromium or other VOCs,
                                           did not test for these substances—
25                                         despite evidence of significant releases
26
                                           of hazardous substances to the soil of
                                           the Property. Id.
27
                                             Further, the sole basis of this statement
28                                           is an opinion of Dr. Kulla, whose lack
                                         Exhibit B
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 6
                                               of information about the property and
                                               its historic uses causes her opinions to
 7                                             be flawed and unreliable, as set out in
 8
                                               Plaintiffs’ response to Defendants’
                                               RSUMF 544 which is incorporated
 9                                             herein by reference.
10
                                               Immaterial because Plaintiffs do not
11                                             have to trace “releases” or “threatened
                                               releases” of hazardous substances back
12
                                               to a specific defendant or to a specific
13                                             defendant’s period of ownership or
                                               operation.
14

15   546. CAM metals in soils, including       546. Disputed and immaterial.
16   total chromium, were within
     background levels for regional soils      Supporting Evidence:
17   (i.e., within the range of
                                               Mutch Rebuttal Report, § 3.1 (Docket
18   concentrations normally found in
                                               No. 949-78 Page ID #:30971-72).
     natural, uncontaminated soil) in all of
19   the 123 samples taken on the West         Mutch Report, 7-10 to 7-13 & Fig. 7-6
20   Parcel between 1994 and 2010.             (maximum total chromium
                                               concentration of 308,000 μg/kg was
21   Supporting Evidence:
                                               measured on a sample of debris (SP-
22   Id.                                       101) from Vault 3 at the southwest
                                               corner of the property) (Docket Nos.
23
                                               903-204 & 903-210).
24
                                               Dr. Kulla opines that 71.1 mg/kc for
25                                             total chromium is only “slightly above
26                                             background levels”—though she never
                                               says what the “background levels” are.
27                                             See Otten Decl., Ex. K (Docket No.
28                                             933-11 Page ID #:26551) (Expert

                                           Exhibit B
                                             121
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 1
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 2             ALLEGEDLY                          MOVING PLAINTIFFS’
 3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
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 4        SUPPORTING EVIDENCE
 5

 6
                                             Report of Dr. Jean Kulla (Jan. 2021), at
                                             3). According to the U.S. Geological
 7                                           Survey, background levels of total
 8
                                             chromium roughly range from 30 to 36
                                             mg/kg. See Smith, D.B. et al., U.S.G.S.,
 9                                           Geochemical and Mineralogical Data
10                                           for Soils of the Conterminous United
                                             States: U.S. Geological Survey Data
11                                           Series 801, 19. A consultant reported
12                                           background levels of total chromium at
                                             nearby defendant Phibro-Tech, Inc.’s
13                                           facility were 20 to 24 mg/kg. See
14                                           Cohen Decl., Ex. 18, at 343 (Camp
                                             Dresser & McKee Inc., RCRA Facility
15                                           Investigation Phase II Report, Apr. 23,
16                                           1993, Table 4-1) (Docket No. 949-77).
                                             It reports background levels of
17                                           hexavalent chromium at and near its
18                                           facility range from 1 to 2 mg/kg. Id.

19                                           Such a determination is impossible to
                                             make due to the inadequate testing and
20
                                             investigation of hazardous substances
21                                           in the soil, as set out in Plaintiffs’
                                             responses to Kekropia’s RSUMF 527,
22
                                             531 and 546 which are incorporated
23                                           herein by reference.
24                                           Kekropia’s expert misstates the
25                                           background levels for arsenic. Dr.
                                             Kulla contends that the level of arsenic
26                                           which is “characteristic of background
27                                           for regional soils” is 55 mg/kg. See
                                             Kulla Report, at 3 (Docket No. 931-11).
28                                           According to the California Department
                                         Exhibit B
                                           122
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 1
            OPPOSING PARTIES’
 2             ALLEGEDLY                          MOVING PLAINTIFFS’
 3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                         EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
                                             of Toxic Substances Control, the
                                             background level for arsenic is several
 7                                           times lower, namely, 12 mg/kg. Mutch
 8
                                             Report, at 7-13 (Docket No. 903-204
                                             Page ID #:25426) (citing G. Chernoff et
 9                                           al., Dept. of Toxic Substances Control,
10                                           Determination of a Southern California
                                             Regional Background Arsenic
11                                           Concentration in Soil (2008), at 1). The
12                                           ESL for arsenic in soil was exceeded at
                                             several locations at the Patsouras
13                                           Property from 2 feet to 35 feet bgs,
14                                           which is indicative of release of arsenic
                                             from operations on the Property to the
15                                           subsurface. Mutch Report, at 7-13.
16                                           Because of the inadequacy and
                                             sparseness of the monitoring well
17                                           network at the Property, arsenic
18                                           impacts to groundwater may not be
                                             identifiable. Id. at 7-14.
19
                                             Soil gas concentrations in excess of soil
20
                                             gas ESL values were noted for PCE and
21                                           TCE. See Valenzuela Opp’n Decl., Ex.
                                             9, at 82, 89-93 (Envtl. Audit, Inc.,
22
                                             Summary of Site Assessments (Mar.
23                                           2009), at 11 & Tables 8, 9) (Docket No.
                                             949-36); Mutch Report, at Table 7-6
24
                                             (Docket No. 903-204 Page ID #:25430-
25                                           31). Sampling of soil vapor shows a
                                             pattern of elevated concentrations of
26
                                             soil gas PCE, as well as other
27                                           chlorinated VOCs such as TCE (a
                                             daughter product of PCE), that are
28

                                         Exhibit B
                                           123
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 1
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 3           UNCONTROVERTED                       RESPONSE AND SUPPORTING
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 4         SUPPORTING EVIDENCE
 5

 6
                                                localized in a part of the Patsouras
                                                Property with high PCE soil levels,
 7                                              signifying a definitive onsite source of
 8
                                                these hazardous substances. Mutch
                                                Report, at 7-17 to 7-18 (Docket No.
 9                                              903-204 Page ID #:25430-31).
10
                                                Further, the sole basis of this statement
11                                              is an opinion of Dr. Kulla, whose lack
                                                of information about the property and
12
                                                its historic uses causes her opinions to
13                                              be flawed and unreliable, as set out in
                                                Plaintiffs’ response to Defendants’
14
                                                RSUMF 544 which is incorporated
15                                              herein by reference.
16                                              Immaterial because Plaintiffs do not
17                                              have to trace “releases” or “threatened
                                                releases” of hazardous substances back
18                                              to a specific defendant or to a specific
19                                              defendant’s period of ownership or
                                                operation.
20

21   547. From 1994 through 2010, at            547. Undisputed.
     least 137 soil samples were taken on
22                                              But see Plaintiffs’ Response to RSUMF
     the East Parcel of the Patsouras
23   Property.                                  544.
24   Supporting Evidence:
25
     Id.
26

27   548. PCE and TCE were detected in          548. Disputed and immaterial.
     only a couple of soil samples at very
28
     low concentrations in the 137 soil
                                            Exhibit B
                                              124
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 2              ALLEGEDLY                         MOVING PLAINTIFFS’
 3           UNCONTROVERTED                    RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                        EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
     samples taken on the East Parcel        Supporting Evidence:
     between 1994 and 2010.
 7                                           Mutch Rebuttal Report, § 3.1 (Docket
     Supporting Evidence:                    No. 949-78 Page ID #:30971-72).
 8

 9   Id.                                     Mutch Report, at § 7.2.3 (pp. 7-8 to 7-
                                             14) (Docket No. 903-204).
10
                                             As stated in the responses to RSUMF
11
                                             527, 531 and 546, testing performed at
12                                           the Patsouras Property was inadequate
                                             and, largely, did not test for VOCs or
13
                                             hexavalent chromium. For sake of
14                                           brevity, Plaintiffs incorporate by
                                             reference their responses to RSUMF
15
                                             527, 531 and 546 as though set forth
16                                           fully herein.
17                                           Further, the sole basis of this statement
18                                           is an opinion of Dr. Kulla, whose lack
                                             of information about the property and
19                                           its historic uses causes her opinions to
20                                           be flawed and unreliable, as set out in
                                             Plaintiffs’ response to Defendants’
21                                           RSUMF 544 which is incorporated
22                                           herein by reference.

23                                           Immaterial because Plaintiffs do not
                                             have to trace “releases” or “threatened
24
                                             releases” of hazardous substances back
25                                           to a specific defendant or to a specific
                                             defendant’s period of ownership or
26
                                             operation.
27

28

                                         Exhibit B
                                           125
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 1
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 2              ALLEGEDLY                         MOVING PLAINTIFFS’
 3           UNCONTROVERTED                    RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                        EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
     549. The maximum concentration of       549. Disputed and immaterial.
     PCE was 0.51 mg/kg and of TCE was
 7   0.27 mg/kg in the 137 soil samples      Supporting Evidence:
 8
     taken on the East Parcel between 1994
                                             Mutch Rebuttal Report, § 3.1 (Docket
     and 2010.
 9
                                             No. 949-78 Page ID #:30971-72).
     Supporting Evidence:
10                                           Mutch Report, at § 7.2.3 (pp. 7-8 to 7-
     Id.                                     14) (Docket No. 903-204).
11

12                                           As stated in the responses to RSUMF
                                             527, 531 and 546, testing performed at
13                                           the Patsouras Property was inadequate
14                                           and, largely, did not test for VOCs or
                                             hexavalent chromium. For sake of
15                                           brevity, Plaintiffs incorporate by
16                                           reference their responses to RSUMF
                                             527, 531 and 546 as though set forth
17                                           fully herein.
18
                                             Further, the sole basis of this statement
19                                           is an opinion of Dr. Kulla, whose lack
                                             of information about the property and
20
                                             its historic uses causes her opinions to
21                                           be flawed and unreliable, as set out in
                                             Plaintiffs’ response to Defendants’
22
                                             RSUMF 544 which is incorporated
23                                           herein by reference.
24                                           Immaterial because Plaintiffs do not
25                                           have to trace “releases” or “threatened
                                             releases” of hazardous substances back
26                                           to a specific defendant or to a specific
27                                           defendant’s period of ownership or
                                             operation.
28

                                         Exhibit B
                                           126
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 1
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 2              ALLEGEDLY                          MOVING PLAINTIFFS’
 3           UNCONTROVERTED                     RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                         EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
     550. No chloroform or 1,1-               550. Undisputed but immaterial.
     dichloroethene (1,1-DCE) were
 7   detected in the 137 soil samples taken   Supporting Evidence:
 8
     on the East Parcel between 1994 and
                                              But see Plaintiffs responses to RSUMF
     2010.
 9
                                              527, 531 and 546 regarding the
     Supporting Evidence:                     inadequacy of testing for VOCs at the
10                                            Patsouras Property.
11   Id.
                                              The sole basis of this statement is an
12                                            opinion of Dr. Kulla, whose lack of
                                              information about the property and its
13
                                              historic uses causes her opinions to be
14                                            flawed and unreliable, as set out in
                                              Plaintiffs’ response to Kekropia’s
15
                                              RSUMF 544 which is incorporated
16                                            herein by reference.
17                                            Mutch Rebuttal Report, § 3.1 (Docket
18                                            No. 949-78 Page ID #:30971-72).

19                                            Mutch Report, at § 7.2.3 (pp. 7-8 to 7-
                                              14) (Docket No. 903-204).
20

21                                            Otten Decl., Ex. I (Covenant and
                                              Environmental Restriction on Property
22                                            executed July 5, 2016) (Docket No.
23                                            931-9 Page ID#:26515) (chloroform
                                              detected at 15.3 μg/L).
24
                                              Immaterial because Plaintiffs do not
25
                                              have to trace “releases” or “threatened
26                                            releases” of hazardous substances back
                                              to a specific defendant or to a specific
27

28

                                          Exhibit B
                                            127
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 1
             OPPOSING PARTIES’
 2              ALLEGEDLY                           MOVING PLAINTIFFS’
 3           UNCONTROVERTED                      RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                          EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
                                               defendant’s period of ownership or
                                               operation.
 7
                                               Immaterial because ignores releases
 8                                             from operations at the Patsouras
 9                                             Property prior to 1994.
10
     551. CAM metals in soils were             551. Disputed and immaterial.
11   within background levels for regional
     soils (i.e., within the range of          Supporting Evidence:
12
     concentrations normally found in
13                                             Plaintiffs incorporate by reference their
     natural, uncontaminated soil) in all of
                                               response to RSUMF 546 as though set
14   the 137 samples taken on the East
                                               forth fully herein.
     Parcel between 1994 and 2010, with
15   the exception of one chromium sample      Immaterial because Plaintiffs do not
16   slightly above background levels          have to trace “releases” or “threatened
     (71.1. mg/kg) found at two feet below     releases” of hazardous substances back
17   ground surface and lead found in some     to a specific defendant or to a specific
18   stockpiled soil.                          defendant’s period of ownership or
                                               operation.
19   Supporting Evidence:
20                                             Immaterial because ignores releases
     Id.
                                               from operations at the Patsouras
21                                             Property prior to 1994.
22

23
     552. Methylene chloride (8.27             552. Disputed.
     mg/kg), naphthalene (4.31 mg/kg), and
24   lead (51,600 mg/kg) were found in one     Supporting Evidence:
25   stockpiled soil sample, and the
                                               Mutch Rebuttal Report, § 3.1 (Docket
     stockpiled soil has been removed from
26                                             No. 949-78 Page ID #:30971-72).
     the Property.
27                                             Mutch Report, at § 7.2.3 (pp. 7-8 to 7-
     Supporting Evidence:
                                               14) (Docket No. 903-204).
28

                                          Exhibit B
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 1
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 2              ALLEGEDLY                         MOVING PLAINTIFFS’
 3           UNCONTROVERTED                    RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                        EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
     Id.                                     Such a determination is impossible to
                                             make due to the inadequate testing and
 7                                           investigation of hazardous substances
 8
                                             in the soil, as set out in Plaintiffs’
                                             responses to Kekropia’s RSUMF 527,
 9                                           531 and 546 which are incorporated
10                                           herein by reference.

11                                           The sole basis of this statement is an
                                             opinion of Dr. Kulla, whose lack of
12
                                             information about the property and its
13                                           historic uses causes her opinions to be
                                             flawed and unreliable, as set out in
14
                                             Plaintiffs’ response to Kekropia’s
15                                           RSUMF 544 which is incorporated
                                             herein by reference.
16

17   553. There is no evidence that the     553. Disputed.
18   very low concentrations of PCE, TCE
     or other hazardous substances found in Supporting Evidence:
19   soil have migrated at least 35 feet to
                                            Mutch Report, at 7-14 to 7-17, 7-23 to
20   the OU-2 groundwater.
                                            7-29 (Docket No. 903-204).
21   Supporting Evidence:
                                            Mutch Rebuttal Report, at §§ 3.2, 3.3
22   Id.                                    (Docket No. 949-78).
23                                           Such a determination is impossible to
24                                           make due to the inadequate testing and
                                             investigation of hazardous substances
25                                           in the soil, as set out in Plaintiffs’
26                                           responses to Kekropia’s RSUMF 527,
                                             531 and 546 which are incorporated
27                                           herein by reference.
28

                                         Exhibit B
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 1
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 3           UNCONTROVERTED                    RESPONSE AND SUPPORTING
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 4         SUPPORTING EVIDENCE
 5

 6
                                             Further, the sole basis of this statement
                                             is an opinion of Dr. Kulla, whose lack
 7                                           of information about the property and
 8
                                             its historic uses causes her opinions to
                                             be flawed and unreliable, as set out in
 9                                           Plaintiffs’ response to Defendants’
10                                           RSUMF 544 which is incorporated
                                             herein by reference.
11

12   554. Groundwater monitoring was         554. Undisputed that some
     performed on the Property from 1995     groundwater monitoring was performed
13
     through 2013 for petroleum              at the Patsouras Property from 1995
14   hydrocarbons, VOCs, and metals.         through 2013 for petroleum
                                             hydrocarbons, VOCs and metals.
15   Supporting Evidence:                    Disputed that it was adequate.
16
     Id.                                     Supporting Evidence:
17
                                             Plaintiffs incorporate their responses to
18
                                             Kekropia’s RSUMF 527, 531 and 546
19                                           herein by reference.
20                                           Mutch Report, at 7-14 to 7-17, 7-23 to
21                                           7-29 (Docket No. 903-204).
22                                           Mutch Rebuttal Report, at §§ 3.2, 3.3
                                             (Docket No. 949-78).
23

24
     555. No petroleum hydrocarbon           555. Disputed.
25   compounds have been found in
     groundwater beneath the Property        Supporting Evidence:
26
     even though petroleum hydrocarbons
                                             Otten Decl., Ex. B (Docket No. 931-2
27   were detected in Property soil.
                                             Page ID #26229) (Los Angeles
28                                           Regional Water Quality Board Letter

                                         Exhibit B
                                           130
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 1
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 2              ALLEGEDLY                         MOVING PLAINTIFFS’
 3           UNCONTROVERTED                    RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                        EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
     Supporting Evidence:                    (Jan. 4, 2017) at 1) (“Historical use for
                                             industrial activities resulted in
 7   Id.                                     discharges of waste to the subsurface,
 8
                                             including total petroleum hydrocarbons
                                             (TPH)”).
 9
10   556. Toluene and xylene were            556. Undisputed.
     detected in only trace amounts (below
11                                           Supporting Evidence:
     their respective Maximum
12   Contaminant Levels) only in one well
     in one sampling episode.                But see Plaintiffs’ responses to
13                                           Kekropia’s RSUMF 527, 531 and 546.
14   Supporting Evidence:
                                             Further, the sole basis of this statement
15   Id.                                     is an opinion of Dr. Kulla, whose lack
                                             of information about the property and
16
                                             its historic uses causes her opinions to
17                                           be flawed and unreliable, as set out in
                                             Plaintiffs’ response to Defendants’
18
                                             RSUMF 544 which is incorporated
19                                           herein by reference.
20
     557. All metals detected in             557. Disputed but immaterial.
21   groundwater were below their
     respective MCLs, including arsenic      Supporting Evidence:
22
     and hexavalent chromium, with the
23                                           Despite minimal investigations on the
     exception of one sample of 11.8 ug/L
                                             Patsouras Property, the data that was
24   hexavalent chromium (slightly above
                                             obtained reveals the extent of
     the 10 ug/L conservative MCL used by
25                                           groundwater contamination. Mutch
     California).
                                             Report, at § 7.2.4 (pp. 7-14 to 7-17)
26                                           (Docket No. 903-204); Mutch Rebuttal
     Supporting Evidence:
27                                           Report, §§ 3.2, 3.3 (Docket No. 949-
     Id.                                     78). PCE was found in monitoring
28                                           wells in the vicinity of the clarifiers,
                                         Exhibit B
                                           131
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 1
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 2             ALLEGEDLY                          MOVING PLAINTIFFS’
 3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                         EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
                                             where vadose zone soil samples
                                             showed penetration of PCE to the depth
 7                                           of the groundwater table. Id. at 7-14
 8
                                             This indicates a contribution of PCE to
                                             groundwater from the Patsouras
 9                                           Property. Id. Additionally, some higher
10                                           levels of hexavalent chromium were
                                             found in MW-1, MW-1D, and MW-3 in
11                                           the middle of the Property near the
12                                           clarifiers than in MW-2, establishing
                                             releases of hexavalent chromium from
13                                           the clarifiers, resulting in groundwater
14                                           contamination. Id. at 7-14 & 7-16.
                                             TCE, a “daughter” product of PCE, is
15                                           found in concentrations higher in MW-
16                                           1D, MW-3, and MW-4 than in MW-2.
                                             Id. at 7-17. Concentrations exceeding
17                                           groundwater ESLs were measured for
18                                           1,1-dichloroethene, carbon
                                             tetrachloride, chloroform,
19                                           tetrachloroethene (PCE), trans-1,2-
20                                           dichloroethene, trichloroethene (TCE),
                                             chromium (total), chromium VI, nickel,
21                                           and vanadium. Id.
22
                                             Further, the sole basis of this statement
23                                           is an opinion of Dr. Kulla, whose lack
                                             of information about the property and
24
                                             its historic uses causes her opinions to
25                                           be flawed and unreliable, as set out in
                                             Plaintiffs’ response to Defendants’
26
                                             RSUMF 544 which is incorporated
27                                           herein by reference.
28

                                         Exhibit B
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 3           UNCONTROVERTED                     RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                         EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
                                              Immaterial because CERCLA imposes
                                              no quantitative requirement.
 7

 8   558. The predominant VOC                 558. Disputed and immaterial.
     contaminants found in the OU-2
 9                                            Supporting Evidence:
     groundwater underlying the Property
10   at concentrations above their
                                              Immaterial because CERCLA does not
     respective MCLs were carbon
11                                            impose a quantitative requirement.
     tetrachloride (CT), PCE, and TCE.
12   Other volatiles, including chloroform    Mutch Report, at 7-14 to 7-17, 7-23 to
     and 1,1-DCE, were below their MCLs.      7-29 (Docket No. 903-204).
13

14   Supporting Evidence:                     Mutch Rebuttal Report, at §§ 3.2, 3.3
                                              (Docket No. 949-78).
15   Id.
16                                            Such a determination is impossible to
                                              make due to the inadequate testing and
17                                            investigation of hazardous substances
18                                            in the soil, as set out in Plaintiffs’
                                              responses to Kekropia’s RSUMF 527,
19                                            531 and 546 which are incorporated
20                                            herein by reference.
21                                            Further, the sole basis of this statement
                                              is an opinion of Dr. Kulla, whose lack
22
                                              of information about the property and
23                                            its historic uses causes her opinions to
                                              be flawed and unreliable, as set out in
24
                                              Plaintiffs’ response to Defendants’
25                                            RSUMF 544 which is incorporated
26
                                              herein by reference.

27
     559. A significant line of evidence in   559. Undisputed.
28   evaluating whether a property is a

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 1
             OPPOSING PARTIES’
 2              ALLEGEDLY                           MOVING PLAINTIFFS’
 3           UNCONTROVERTED                      RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                          EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
     source of hazardous substances to
     groundwater is a comparison of the
 7   concentrations of a chemical in an
 8
     upgradient well with the
     concentrations in an on-property well.
 9
     Supporting Evidence:
10

11   Id.

12
     560. The concentrations of carbon          560. Disputed and immaterial.
13   tetrachloride (CT) in wells upgradient
     of the Patsouras Property were greater     Supporting Evidence:
14
     than or similar to the concentrations in
                                                Immaterial because ignores releases
15   wells on the Property in all samples in
                                                prior to 2009 and Plaintiffs do not have
     the groundwater sampling from 2009-
16                                              to trace “releases” or “threatened
     2013, except for a single sample of
                                                releases” of hazardous substances back
17   10.4 ug/L in 2013.
                                                to a specific defendant or to a specific
18   Supporting Evidence:                       defendant’s period of ownership or
                                                operation.
19
     Id.
20                                              Mutch Report, at 7-14 to 7-17, 7-23 to
                                                7-29 (Docket No. 903-204).
21
                                                Mutch Rebuttal Report, at §§ 3.2, 3.3
22
                                                (Docket No. 949-78).
23
                                                Such a determination is impossible to
24                                              make due to the inadequate testing and
25                                              investigation of hazardous substances
                                                in the soil, as set out in Plaintiffs’
26                                              responses to Kekropia’s RSUMF 527,
27                                              531 and 546 which are incorporated
                                                herein by reference.
28

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 1
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 2              ALLEGEDLY                             MOVING PLAINTIFFS’
 3           UNCONTROVERTED                        RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                            EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
                                                 Further, the sole basis of this statement
                                                 is an opinion of Dr. Kulla, whose lack
 7                                               of information about the property and
 8
                                                 its historic uses causes her opinions to
                                                 be flawed and unreliable, as set out in
 9                                               Plaintiffs’ response to Defendants’
10                                               RSUMF 544 which is incorporated
                                                 herein by reference.
11

12   561. The concentrations of PCE in           561. Disputed and immaterial.
     wells upgradient of the Patsouras
13                                               Supporting Evidence:
     Property were greater than or similar
14   to the concentrations in wells on the
                                                 Immaterial because ignores releases
     Property in all samples in the
15                                               prior to 2009 and Plaintiffs do not have
     groundwater sampling from 2009-
                                                 to trace “releases” or “threatened
16   2013, except for a single sample of
                                                 releases” of hazardous substances back
     18.2 ug/L in 2013.
17                                               to a specific defendant or to a specific
     Supporting Evidence:                        defendant’s period of ownership or
18
                                                 operation.
19   Id.
                                                 Mutch Report, at 7-14 to 7-17, 7-23 to
20                                               7-29 (Docket No. 903-204).
21
                                                 Mutch Rebuttal Report, at §§ 3.2, 3.3
22                                               (Docket No. 949-78).
23                                               Such a determination is impossible to
24                                               make due to the inadequate testing and
                                                 investigation of hazardous substances
25                                               in the soil, as set out in Plaintiffs’
26                                               responses to Kekropia’s RSUMF 527,
                                                 531 and 546 which are incorporated
27                                               herein by reference.
28

                                             Exhibit B
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 1
             OPPOSING PARTIES’
 2              ALLEGEDLY                             MOVING PLAINTIFFS’
 3           UNCONTROVERTED                        RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                            EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
                                                 Further, the sole basis of this statement
                                                 is an opinion of Dr. Kulla, whose lack
 7                                               of information about the property and
 8
                                                 its historic uses causes her opinions to
                                                 be flawed and unreliable, as set out in
 9                                               Plaintiffs’ response to Defendants’
10                                               RSUMF 544 which is incorporated
                                                 herein by reference.
11

12   562. The concentrations of TCE in           562. Disputed and immaterial.
     wells upgradient of the Patsouras
13                                               Supporting Evidence:
     Property were greater than or similar
14   to the concentrations in wells on the
                                                 Immaterial because ignores releases
     Property in all samples in the
15                                               prior to 2009 and Plaintiffs do not have
     groundwater sampling from 2009-
                                                 to trace “releases” or “threatened
16   2013, except for a single sample of
                                                 releases” of hazardous substances back
     21.7 ug/L in 2012.
17                                               to a specific defendant or to a specific
     Supporting Evidence:                        defendant’s period of ownership or
18
                                                 operation.
19   Id.
                                                 Mutch Report, at 7-14 to 7-17, 7-23 to
20                                               7-29 (Docket No. 903-204).
21
                                                 Mutch Rebuttal Report, at §§ 3.2, 3.3
22                                               (Docket No. 949-78).
23                                               Such a determination is impossible to
24                                               make due to the inadequate testing and
                                                 investigation of hazardous substances
25                                               in the soil, as set out in Plaintiffs’
26                                               responses to Kekropia’s RSUMF 527,
                                                 531 and 546 which are incorporated
27                                               herein by reference.
28

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 2              ALLEGEDLY                           MOVING PLAINTIFFS’
 3           UNCONTROVERTED                      RESPONSE AND SUPPORTING
            MATERIAL FACTS AND                          EVIDENCE
 4         SUPPORTING EVIDENCE
 5

 6
                                               Further, the sole basis of this statement
                                               is an opinion of Dr. Kulla, whose lack
 7                                             of information about the property and
 8
                                               its historic uses causes her opinions to
                                               be flawed and unreliable, as set out in
 9                                             Plaintiffs’ response to Defendants’
10                                             RSUMF 544 which is incorporated
                                               herein by reference.
11

12   563. In 2009, a soil gas vapor survey     563. Undisputed.
     was conducted on the West Parcel of
13
     the Property at depths of 5 and 15 feet
14   below ground surface.
15   Supporting Evidence:
16
     Id.
17

18   564. The results of the 2009 soil gas     564. Disputed and immaterial.
     vapor survey showed only very minor
19   amounts of PCE and TCE in soil gas,       Supporting Evidence:
20   with the lowest concentrations found
                                               Immaterial because ignores releases
     in the shallow 5-foot samples relative
21                                             prior to 2009 and Plaintiffs do not have
     to higher concentrations in the deeper
                                               to trace “releases” or “threatened
22   15-foot samples.
                                               releases” of hazardous substances back
23   Supporting Evidence:                      to a specific defendant or to a specific
                                               defendant’s period of ownership or
24
     Id.                                       operation.
25
                                               Mutch Report, at 7-17 to 7-18 (Docket
26                                             No. 903-204 Page ID #:25430-31).
27
                                               Such a determination is impossible to
28                                             make due to the inadequate testing and

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 1
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 3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                         EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
                                             investigation of hazardous substances
                                             in the soil, as set out in Plaintiffs’
 7                                           responses to Kekropia’s RSUMF 527,
 8
                                             531 and 546 which are incorporated
                                             herein by reference.
 9
                                             Further, the sole basis of this statement
10
                                             is an opinion of Dr. Kulla, whose lack
11                                           of information about the property and
                                             its historic uses causes her opinions to
12
                                             be flawed and unreliable, as set out in
13                                           Plaintiffs’ response to Kekropia’s
                                             RSUMF 544 which is incorporated
14
                                             herein by reference.
15

16   565. The data indicate that PCE,        565. Disputed.
     TCE, and other minor VOCs are
17   volatilizing off the OU-2 groundwater   Supporting Evidence:
18   plume due to an upward diffusion
                                             The spatial distribution of the PCE and
     process governed by Fick’s law.
19                                           TCE soil gas contamination, along with
     Supporting Evidence:                    the shallow soil contamination,
20                                           indicates that the PCE and TCE came
21   EAI, 2010, at 17-18; Ex. D and Ex. K    from releases on the Property and not
     to the Declaration of Victor Otten      from off-gassing from the underlying
22                                           groundwater. Mutch Report, at 7-14 to
23                                           7-17 (Docket No. 903-204 Page ID
                                             #:25427-30).
24

25   566. While exceedances of               566. Undisputed but immaterial.
26   groundwater screening levels confirm
     the presence of impacted groundwater    Supporting Evidence:
27   at a given property, they do not
                                             Mr. Mutch did not use groundwater
28                                           ESLs standing alone to determine

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 3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                           EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
     necessarily support contribution from     whether the Patsouras Property
     the overlying property.                   contributed to OU-2 Groundwater
 7                                             contamination. Mutch Report, at 3-7, 7-
     Supporting Evidence:                      7, 7-14 to 7-17, 7-26 to 7-27 (Docket
 8
                                               No. 903-204).
 9   Mutch Expert Report, § 3.2.2

10
     567. At the Patsouras Property,           567. Disputed as unsupported by the
11   whether there was any pure phase          cited evidence.
     PCE, TCE, and other chlorinated
12                                             Supporting Evidence:
     organic chemicals was investigated
13   numerous times by the consultants and
                                             Disputed as unsupported by the cited
     regulators and not found to exist.
14                                           evidence due to inadequate testing and
     Supporting Evidence:                    investigation of hazardous substances
15
                                             in the soil, as set out in Plaintiffs’
16   Kulla Expert Report, at pp.1-8, Tables responses to Kekropia’s RSUMF 527,
     1-5, Figure 2-8A, Ex. K to the Decl. of 531 and 546 which are incorporated
17
     Victor Otten.                           herein by reference.
18
     Kulla Rebuttal Expert Report, at pp. 1- Dr. Kulla’s lack of information about
19   12, Ex. S to the Decl. of Victor Otten. the property and its historic uses cause
20                                             her opinions to be flawed and
     Letter to Larry Patsouras of Kekropia, unreliable, as set out in Plaintiffs’
21   Inc. from the Executive Officer of the response to Kekropia’s RSUMF 544,
     Los Angeles Regional Water Quality        which is incorporated herein by
22
     Control Board, dated January 4, 2017, reference.
23   (No Further Action letter to Kekropia,
     concluding that the cleanup was           Otten Decl., Ex. L (Docket No. 931-12
24
     complete to “assure protection of         Page ID #:26607) (RWQCB-LA, Ltr. to
25   human health and waters of the State      Larry Patsouras (Dec. 1., 2008), at 1)
26
     at and near the Site for their beneficial (stating releases of chemicals from
     uses.) Ex. B to the Decl. of Victor       industrial uses at the site have degraded
27   Otten.                                    the groundwater quality and beneficial
28
                                               uses of the State’s waters and noting

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 3          UNCONTROVERTED                         RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                             EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
     Phase I Environmental Site                  PCE, TCE and chromium were detected
     Assessment, AIG Consultants, Inc.,          in soils).
 7   June 30, 1994, at p. 22 ¶ 6, Ex. C to
     the Decl. of Victor Otten.                  Otten Decl., Ex. B (Docket No. 931-2
 8                                               Page ID #26229-30) (Los Angeles
 9   Soil Remediation Report of Findings         Regional Water Quality Board Letter
     for El Greco, Inc., Biophysics              (Jan. 4, 2017) at 1-2) (“Historical Site
10
     Environmental Assessments, Inc.,            use for industrial activities resulted in
11   Sept. 14, 2006 (It is concluded that no     discharges of waste to the subsurface,
     threat exists to groundwater from           including total petroleum hydrocarbons
12
     metals, solvents and total petroleum        (TPH), volatile organic compounds
13   hydrocarbons, based upon the low            (VOCs), and metals listed in Title 22 of
     level and isolated low volume of all        the California Code of Regulations.
14
     potentially hazardous materials             Specifically, the wastes discharged to
15   identified in initial testing by EAI in     the subsurface at the Site has been
     1994.) pp. 1-7, Tables 1-3, Ex. G to        associated with storage and use of
16
     the Decl. of Victor Otten.                  petroleum products, solvents, metal
17                                               product manufacturing/fabrication, and
     Updated Site Conceptual Model and           use of multiple clarifiers.”)
18   Request for Low Risk Closure,
19   Environmental Audit, Inc., June 16,         Mutch Report, 7-23 to 7-29 (Docket
     2010, (“Chlorinated compounds are           No. 903-204 Page ID #:25435-42)
20   not generally identified in soil at the     (describing Patsouras Property
21   Site but are present in ground water at     contribution to OU-2 contamination)
     concentrations that are consistent with
22   the regional impact to ground water         Mutch Rebuttal Report, at §§ 3.1, 3.2,
     (see Section 3.0). In EAI’s opinion the     3.3, 3.4, 3.5 (Docket No. 949-78 Page
23
     chlorinated compounds detected in           ID #:30971-77) (describing historic
24   ground water at the Site are not the        contamination and continuing
     result of former site activities.” at pp.   obligations imposed by environmental
25
     3-15, 21, Tables 1-7 and 10, Ex. D to       covenant).
26   the Decl. of Victor Otten.
27
     Remedial Action Plan, 11630-11700
28   Burke Street, Environmental Audit,

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 3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                           EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
     Inc., June 16, 1997., Ex. H to the Decl.
     of Victor Otten.
 7

 8   568. There is no evidence that the         568. Undisputed the quoted testimony
     degreaser used by Globe and the steam      is accurate but mischaracterizes the
 9
     cleaning operations utilized               evidence and immaterial.
10   chlorinated organic compounds like
     tetrachloroethene (PCE) and                Supporting Evidence:
11
     trichloroethene (TCE). However, the
                                              Pls.’ RFJN, Exs. 85 (Industrial Waste
12   contemporaneous evidence is to the
                                              Survey, Jun. 19, 1970) (Docket No.
     contrary.
13                                            903-89), 93 (City of Santa Fe Springs,
     Supporting Evidence:                     Industrial Waste Disposal Permit
14
                                              Application, May 18, 1970) (Docket
15   Ex. E to Otten Decl., p.                 No. 903-97); Valenzuela Opp’n Decl.,
     PTSF00022291 (City of Santa Fe           Exs. 8, at 66 (Environmental Audit,
16
     Springs, 1970. Industrial Waste          Inc., Supplemental Subsurface
17   Survey for Globe Oil Tool Co. June       Investigation, Mar. 3, 1997, at 3)
     19, 1970.) Ex. T to Otten Decl., Mutch (Docket No. 949-35), 7, at 50
18
     Dep., p. 707, lns. 15:18: “I'm not       (Environmental Audit, Inc., Subsurface
19   seeing any indication that the           Investigation Report, Dec. 18, 1995, at
     degreaser or degreasing activities       12) (Docket No. 949-34), 9 at 77-78
20
     necessarily contain chlorinated          (Environmental Audit, Inc., Summary
21   solvents. I don't -- I'm not sure we had of Site Assessments, Mar. 2009, at 1-2)
     that definitive information.”            (Docket No. 949-36), 14, at 140-142
22
                                              (W. Palley Dep. 20:9 to 21:5, 69:19-23)
23                                            (Docket No. 949-41).
24                                              Mutch Report, at 7-1 to 7-8 (Docket
25                                              No. 903-204); Mutch Rebuttal Report,
                                                at § 3.4 (Docket No. 949-78).
26

27
                                                Immaterial because the fact rests on a
                                                legal argument. Fed. R. Evid. 703.
28

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 1
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 2             ALLEGEDLY                              MOVING PLAINTIFFS’
 3          UNCONTROVERTED                         RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                             EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
                                                 Immaterial because Kekropia admits it
                                                 is the current owner of the Patsouras
 7                                               Property, RSUMF 33, and Plaintiffs do
 8
                                                 not have to trace “releases” or
                                                 “threatened releases” of hazardous
 9                                               substances back to a specific defendant
10                                               or to a specific defendant’s period of
                                                 ownership or operation.
11
                                                 Further, Kekropia admits hazardous
12
                                                 substances, including PCE and TCE,
13                                               have been detected in soils at the
                                                 Patsouras Property, RSUMF 34, and
14
                                                 hazardous substances, including PCE
15                                               and TCE, have been detected in OU-2
                                                 Groundwater below or downgradient of
16
                                                 the Patsouras Property, RSUMF 35.
17

18   569. There is no evidence that the          569. Undisputed the quoted testimony
     waste oil possessed by Pally Supply or      is accurate but mischaracterizes the
19   Talco contained chlorinated organic         evidence and immaterial.
20   compounds like tetrachloroethene
     (PCE) and trichloroethene (TCE).            Supporting Evidence:
21
     Supporting Evidence:                        Pls.’ RFJN, Exs. 85 (Industrial Waste
22                                               Survey, Jun. 19, 1970) (Docket No.
23   Mutch Expert Report, at §7-4. Mr.           903-89), 93 (City of Santa Fe Springs,
     Mutch, opines on the presence of            Industrial Waste Disposal Permit
24   chlorinated organic compounds in            Application, May 18, 1970) (Docket
25   waste oil on the Patsouras Property         No. 903-97), 92 (Los Angeles County
     using only a general 1984 EPA               Fire Department Memorandum re
26   citation rather than any evidence           Palley Property (Jan. 1996)) (Docket
27   relating to the Patsouras Property          No. 903-96) (concluding VOC’s in
     itself. Ex. T to Otten Decl., Mutch         eastern portion of property extend to
28   Dep., p. 713, lns. 15:18: “Q: Did you       groundwater; clarifier is contaminated
                                             Exhibit B
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 2             ALLEGEDLY                            MOVING PLAINTIFFS’
 3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                           EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
     research the historic operational data    to groundwater with VOC’s);
     to assess the composition of Talco's      Valenzuela Opp’n Decl., Exs. 8, at 66
 7   waste oil? A: I don't believe we had      (Environmental Audit, Inc.,
 8
     the information to be able to do that.”   Supplemental Subsurface Investigation,
                                               Mar. 3, 1997, at 3) (Docket No. 949-
 9                                             35), 7, at 50 (Environmental Audit,
10                                             Inc., Subsurface Investigation Report,
                                               Dec. 18, 1995, at 12) (Docket No. 949-
11                                             34), 9 at 77-78 (Environmental Audit,
12                                             Inc., Summary of Site Assessments,
                                               Mar. 2009, at 1-2) (Docket No. 949-
13                                             36), 14, at 140-142 (W. Palley Dep.
14                                             20:9 to 21:5, 69:19-23) (Docket No.
                                               949-41).
15
                                               Mutch Report, at 7-1 to 7-8 (Docket
16
                                               No. 903-204); Mutch Rebuttal Report,
17                                             at § 3.4 (Docket No. 949-78).
18                                             Immaterial because the fact rests on a
19                                             legal argument. Fed. R. Evid. 703.

20                                             Immaterial because Kekropia admits it
                                               is the current owner of the Patsouras
21
                                               Property, RSUMF 33, and Plaintiffs do
22                                             not have to trace “releases” or
                                               “threatened releases” of hazardous
23
                                               substances back to a specific defendant
24                                             or to a specific defendant’s period of
                                               ownership or operation.
25

26                                             Further, Kekropia admits hazardous
                                               substances, including PCE and TCE,
27                                             have been detected in soils at the
28                                             Patsouras Property, RSUMF 34, and

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 1
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 2             ALLEGEDLY                              MOVING PLAINTIFFS’
 3          UNCONTROVERTED                         RESPONSE AND SUPPORTING
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 4        SUPPORTING EVIDENCE
 5

 6
                                                 hazardous substances, including PCE
                                                 and TCE, have been detected in OU-2
 7                                               Groundwater below or downgradient of
 8
                                                 the Patsouras Property, RSUMF 35.

 9
     570. There is no evidence that the          570. Undisputed the quoted testimony
10   clarifiers on the Patsouras contained       is accurate but mischaracterizes the
     chlorinated organic compounds like          evidence and immaterial.
11
     tetrachloroethene (PCE) and
12   trichloroethene (TCE).                      Supporting Evidence:

13   Supporting Evidence:                        Pls.’ RFJN, Exs. 85 (Industrial Waste
                                                 Survey, Jun. 19, 1970) (Docket No.
14
     Ex. T to Otten Decl., Mutch Dep., p.        903-89), 93 (City of Santa Fe Springs,
15   715, lns. 16:18: “Q. And did the            Industrial Waste Disposal Permit
     historical operational data you             Application, May 18, 1970) (Docket
16
     reviewed for purposes of your report        No. 903-97), 92 ((Los Angeles County
17   identify what substances the clarifiers     Fire Department Memorandum re
     contained?” Id. at Mutch Dep., p. 716,      Palley Property (Jan. 1996)) (Docket
18
     lns. 2:6: “A. Only -- I think only in the   No. 903-96) (concluding VOC’s in
19   general sense that it would have            eastern portion of property extend to
     included wastewater from, you know,         groundwater; clarifier is contaminated
20
     these cleaning operations that were         to groundwater with VOC’s);
21   going on, which may or may not have         Valenzuela Opp’n Decl., Exs. 8, at 66
     included chlorinated solvents.”             (Environmental Audit, Inc.,
22
                                                 Supplemental Subsurface Investigation,
23                                               Mar. 3, 1997, at 3) (Docket No. 949-
24
                                                 35), 7, at 50 (Environmental Audit,
                                                 Inc., Subsurface Investigation Report,
25                                               Dec. 18, 1995, at 12) (Docket No. 949-
26
                                                 34), 9 at 77-78 (Environmental Audit,
                                                 Inc., Summary of Site Assessments,
27                                               Mar. 2009, at 1-2) (Docket No. 949-
28
                                                 36), 14, at 140-142 (W. Palley Dep.

                                             Exhibit B
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 1
            OPPOSING PARTIES’
 2             ALLEGEDLY                          MOVING PLAINTIFFS’
 3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                         EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
                                             20:9 to 21:5, 69:19-23) (Docket No.
                                             949-41).
 7
                                             Mutch Report, at 7-1 to 7-8 (Docket
 8                                           No. 903-204); Mutch Rebuttal Report,
 9                                           at § 3.4 (Docket No. 949-78).
10                                           Immaterial because the fact rests on a
11                                           legal argument. Fed. R. Evid. 703.

12                                           Immaterial because Kekropia admits it
                                             is the current owner of the Patsouras
13
                                             Property, RSUMF 33, and Plaintiffs do
14                                           not have to trace “releases” or
                                             “threatened releases” of hazardous
15
                                             substances back to a specific defendant
16                                           or to a specific defendant’s period of
                                             ownership or operation.
17

18                                           Further, Kekropia admits hazardous
                                             substances, including PCE and TCE,
19                                           have been detected in soils at the
20                                           Patsouras Property, RSUMF 34, and
                                             hazardous substances, including PCE
21                                           and TCE, have been detected in OU-2
22                                           Groundwater below or downgradient of
                                             the Patsouras Property, RSUMF 35.
23

24   571. There is no evidence that the      571. Undisputed the quoted testimony
25
     steam cleaning process used by Pally    is accurate but incomplete and
     Supply contained chlorinated organic    immaterial.
26   compounds like tetrachloroethene
     (PCE) and trichloroethene (TCE).        Supporting Evidence:
27

28

                                         Exhibit B
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Case
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 1
            OPPOSING PARTIES’
 2             ALLEGEDLY                            MOVING PLAINTIFFS’
 3          UNCONTROVERTED                       RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                           EVIDENCE
 4        SUPPORTING EVIDENCE
 5

 6
     Supporting Evidence:                       Pls.’ RFJN, Exs. 85 (Industrial Waste
                                                Survey, Jun. 19, 1970) (Docket No.
 7   Ex. T to Otten Decl., Mutch Dep., p.       903-89), 93 (City of Santa Fe Springs,
     709, 11-14: “Q Did your research of        Industrial Waste Disposal Permit
 8   the historic operational data for Palley   Application, May 18, 1970) (Docket
 9   Supply indicate that chlorinated VOCs      No. 903-97), 92 (Los Angeles County
     were used in the steam cleaning            Fire Department Memorandum re
10
     process? A I don't believe so, no.”        Palley Property (Jan. 1996)) (Docket
11                                              No. 903-96) (concluding VOC’s in
     Ex. T to Otten Decl., Mutch Dep., p.
12                                              eastern portion of property extend to
     712:14-21; 712:24-713:1: “Q Mr.
                                                groundwater; clarifier is contaminated
13   Mutch, I'm going to try to phrase my
                                                to groundwater with VOC’s);
     question a little differently, because
14                                              Valenzuela Opp’n Decl., Exs. 8, at 66
     you're not answering my question.
                                                (Environmental Audit, Inc.,
15   Aside from your general suspicions
                                                Supplemental Subsurface Investigation,
     about what was done during that era,
16                                              Mar. 3, 1997, at 3) (Docket No. 949-
     my question is: What evidence, if any,
                                                35), 7, at 50 (Environmental Audit,
17   did you find that contradicts the
                                                Inc., Subsurface Investigation Report,
     statements made by Palley Supply
18                                              Dec. 18, 1995, at 12) (Docket No. 949-
     about what they used in their steam
                                                34), 9 at 77-78 (Environmental Audit,
19   cleaning operation? THE WITNESS:
                                                Inc., Summary of Site Assessments,
     I don't believe there is any evidence
20                                              Mar. 2009, at 1-2) (Docket No. 949-
     from 1978 as to the contents of
                                                36), 14, at 140-142 (W. Palley Dep.
21   different cleaning materials that Palley
                                                20:9 to 21:5, 69:19-23) (Docket No.
     Supply was using.
22                                              949-41).
     Ex. T to Otten Decl., Mutch Dep., p.
23                                              Mutch Report, at 7-1 to 7-8 (Docket
     713, Ins. 3-7: “Q Did your research of
                                                No. 903-204); Mutch Rebuttal Report,
24   the historic operational data indicate
                                                at § 3.4 (Docket No. 949-78).
     that Talco used any chlorinated
25
     organic solvents at the property during    Immaterial because the fact rests on a
26   its tenure? A I don't recall coming to     legal argument. Fed. R. Evid. 703.
     that conclusion. I don't think so.”
27
                                                Immaterial because Kekropia admits it
28                                              is the current owner of the Patsouras

                                           Exhibit B
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 1
            OPPOSING PARTIES’
 2             ALLEGEDLY                          MOVING PLAINTIFFS’
 3          UNCONTROVERTED                     RESPONSE AND SUPPORTING
           MATERIAL FACTS AND                         EVIDENCE
 4        SUPPORTING EVIDENCE
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 6
                                             Property, RSUMF 33, and Plaintiffs do
                                             not have to trace “releases” or
 7                                           “threatened releases” of hazardous
 8
                                             substances back to a specific defendant
                                             or to a specific defendant’s period of
 9                                           ownership or operation.
10
                                             Further, Kekropia admits hazardous
11                                           substances, including PCE and TCE,
                                             have been detected in soils at the
12
                                             Patsouras Property, RSUMF 34, and
13                                           hazardous substances, including PCE
                                             and TCE, have been detected in OU-2
14
                                             Groundwater below or downgradient of
15                                           the Patsouras Property, RSUMF 35.
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                                         Exhibit B
                                           147
     Case 2:14-cv-06456-GW-E Document 1065-1 Filed 05/02/22 Page 151 of 151 Page ID
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 1
      Re:        Arconic, Inc., et al. v. APC Investment Co., et al.
 2               United States District Court, Central District Case No. 2:14-cv-06456-
 3
                 GW-E

 4                 PROOF OF SERVICE – ELECTRONIC TRANSMISSION
 5
 6               STATE OF CALIFORNIA/COUNTY OF San Francisco
 7               I am a citizen of the United States and an employee in the County of San
 8    Francisco. I am over the age of eighteen (18) years and not a party to the within
 9    action. My business address is EDLIN GALLAGHER HUIE + BLUM, 500
10    Washington Street, Suite 700, San Francisco, California 94111.
11               On May 2, 2022, I electronically served the document(s) via USC CDCA
12    ECF website, described below, on the recipients designated on the Transaction
13    Receipt located on the USDC CDCA ECF website.
14
15              SEPARATE STATEMENT OF UNCONTROVERTED FACTS ISO
                CROSS MOTIONS FOR SUMMARY JUDGMENT [PATSOURAS
16
                                   PROPERTY]
17
      On the following parties:
18
19          PLEASE SEE SERVICE LIST PROVIDED BY USDC CDCA WEBSITE
20
21               I declare under penalty of perjury that the foregoing is true and correct and
22    that this document is executed on May 2, 2022, at San Francisco, California.
23
24                                          /s/ Bridgette C. Burdick
25                                          BRIDGETTE C. BURDICK
26
27
28

      3400469

                                                     1
                                              PROOF OF SERVICE
